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For Opinion See 269 F.3d 528

                                            United States Court of Appeals,
Fifth Circuit.
                       THE HOUSTON EXPLORATION COMPANY, Plaintiff-Appellee,
                                               v.
                       HALLIBURTON ENERGY SERVICES, INC., Defendant-Appellant.
                                         No. 00-30724.
                                       December 21, 2000.

Appeal from a Final Judgment in Cause No. 98-CV-1302-J, in the United States District Court for the Eastern
District of Louisiana the Honorable Carl J. Barbier, Presiding

                                  Brief of Appellant Halliburton Energy Services, Inc.

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ergy Services, Inc.
                            *IV STATEMENT REGARDING ORAL ARGUMENT

Oral argument is needed. The district court entered judgment against appellant Halliburton Energy Services, Inc.
(“Halliburton”) for gross negligence, even though the district court found that any damage resulting from Hal-
liburton's conduct was the result of an innocent and understandable mistake, which occurred despite the good in-
tentions of Halliburton's employees. The district court also ignored ample evidence that the negligence of the
plaintiff, The Houston Exploration Co. (“THEC”) and non-party R&B Falcon Drilling (U.S.), Inc. contributed to
the damages suffered by it, unjustifiably depriving Halliburton of the defense of comparative fault. Because of
the importance of the issues before the Court, and because oral argument may help clarify the issues presented,
Defendant-Appellant Halliburton respectfully requests the opportunity to be heard at oral argument.

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                                     *1 STATEMENT OF JURISDICTION

Jurisdiction in the district court was founded on admiralty and maritime jurisdiction pursuant to 28 U.S.C. §
1333(1). Jurisdiction in this Court is proper under 28 U.S.C. §§ 1291, 1294, which provide for appellate review
of final decisions of the United States district courts.

                                           STATEMENT OF ISSUES

Halliburton appeals from a judgment for gross negligence, entered by the district court after a three-day bench
trial, even though the district court found that Halliburton committed a “mistake,” despite its own good inten-
tions. The district court's findings cannot support a judgment for gross negligence, based on well-established
precedents stating that gross negligence requires a mental state more culpable that mere inadvertence or mistake.
Additionally, the district court disregarded evidence that the negligence of The Houston Exploration Company
and/or its drilling contractor caused a portion of the damages, but disregarded such evidence based on a mis-
taken view of the doctrine of intervening and superseding cause. Accordingly, the issues on appeal are:

1. May Halliburton be held liable for gross negligence, even though the district court found that Halliburton had
only committed a “mistake,” that Halliburton intended in good faith to perform its services proficiently, and
even though the *2 district court found no evidence that Halliburton disregarded a risk of serious harm or prop-
erty damage?

2. Whether Halliburton may be deprived of its defense of release, even though the release executed by plaintiff
expressly released Halliburton from liability for its own negligence, even though the release is enforceable under
Louisiana and federal law, and even though Halliburton did not commit gross negligence?




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3. Whether Halliburton may be deprived of its right to assert a defense of comparative fault, even though the dis-
trict court found evidence of fault on the part of the plaintiff, and even though the district court erroneously in-
terpreted the doctrine of intervening and superseding cause to preclude Halliburton's defense of comparative
fault?

4. Whether the court committed reversible error by effectively denying Halliburton a right to a jury trial by
basing its findings and conclusions on the Outer Continental Shelf Lands Act (“OCSLA”), even though the court
assumed jurisdiction under federal maritime law?

5. Whether the district court abused its discretion when it admitted and relied on expert testimony disclosed
shortly before trial in violation of its court-ordered deadline?

                                        *3 STATEMENT OF THE CASE

The Houston Exploration Company (“THEC”), the plaintiff-appellee, filed this lawsuit against Halliburton En-
ergy Services, Inc. (“Halliburton”), seeking damages in excess of five million dollars for Halliburton's actions
that allegedly caused a gas well blowout on a drilling rig in the Gulf of Mexico off the Louisiana coast. (CR
     [FN1]
245)         THEC brought its action under Rule 9(h) of the Federal Rules of Civil Procedure, invoking the
court's admiralty jurisdiction. THEC later amended its complaint to assert the claims of its subrogated insurers
for five million dollars paid to THEC as reimbursement for its claims, and subsequently amended a second time
to allege that Halliburton's negligence or gross negligence caused the blowout. (CR 228, 497)

        FN1. The following record references are used in this brief: “CR” refers to the clerk's record; “TR”
        refers to the trial transcript; “doc” refers to docket number; and “RE” refers to Record Excerpts.

Halliburton denied it was responsible for the losses and asserted the claims were barred by the unambiguous
terms of the contract between Halliburton and THEC, which required that THEC release, defend and indemnify
Halliburton. (CR 215) Pursuant to Rule 14(c), Halliburton asserted a third-party claim for indemnity or contribu-
tion against the drilling contractor, R&B Falcon Drilling (U.S.), Inc. (“Falcon”). (CR 202) Falcon, in turn, asser-
ted a counterclaim for defense and indemnity against THEC. (CR 176) Halliburton dismissed its third-party
claim *4 against Falcon prior to trial, but continued to assert that Falcon's negligence caused or contributed to
the blowout. (CR 76)

Halliburton filed a motion for judgment on partial findings pursuant to Rule 52(c) at the close of THEC's case,
asserting that the indemnity contract was valid and enforceable, and that the evidence did not show gross negli-
gence as a matter of law. (CR 252) At the close of all the evidence, the district court took the matter under con-
sideration on the submission of post-trial briefs.

On April. 18, 2000, the district court entered Findings of Fact and Conclusions of Law, finding the actions of
Halliburton's employees were grossly negligent and the sole proximate cause of the blowout. (CR 506-29; RE
“D”) The trial court concluded that the indemnity clause of the parties' contract was unenforceable to protect
Halliburton from liability for its gross negligence. In its second amended judgment of May 12, 2000, the court
entered final judgment in favor of THEC and its insurers for $6,991,948, including $1,991,948 for loss of pro-
duction, prejudgment interest, and costs. (CR 751; RE “C”) Halliburton timely filed its notice of appeal on June
12, 2000. (CR 660; RE “B”)

                                            STATEMENT OF FACTS




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The district court so blurred the line between ordinary negligence and gross negligence that the substantive dis-
tinction, intended to differentiate between negligent actions that call for compensation and those that demand
punishment of *5 the actor, has been lost. In fact, a close reading of the district court's findings, assuming them
to be completely accurate, reveals that Halliburton's actions were not negligent, but, rather, were entirely con-
sistent with the exercise of ordinary care. At worst, the actions rise only to the level of ordinary negligence.

If the actions of Halliburton's employees were the sole proximate cause of the accident--which Halliburton em-
phatically denies--the actions were merely simple inadvertence untainted by the intent, willfulness, or reckless-
ness necessary to support a finding of gross negligence. To deprive Halliburton of its bargained-for indemnifica-
tion by equating these actions with gross negligence erases the barrier that has long divided negligent acts,
simple inadvertence, or acknowledged oversight from the heedless and wanton disregard of responsibility re-
quired to support a finding of gross negligence. Indeed, the district court described Halliburton's conduct as a
“mistake,” which occurred despite Halliburton's best intentions. (CR 512)

                        A. The Indemnification Contract Between Halliburton and THEC

Halliburton provides services and specialized test tools to the oil and gas exploration industry. (TR 21, 22, 33,
156, 195) Halliburton plays a small role in the overall venture of bringing in an oil or gas well, consisting of
supplying personnel and valves, gauges, packers, and other tools that are used in drill-stem test strings or bot-
tomhole assemblies. (TR 32-33) As is customary, and as found *6 by the district court, THEC contracted with
                                                                                                   [FN2]
Halliburton for the drill-stem testing operations in this case pursuant to a work order agreement.       (CR 508;
Joint Exh. 15; TR 24-25, 76-78, 153, 323) Halliburton charged THEC a total of $78,500 for all three phases of
testing services and equipment on the C-1 well, charging only $416 per day for use of the IPO valve at issue.
(Joint Exh. 35, p. 1, item 6)

        FN2. No Master Service Agreement existed between THEC and Halliburton. (TR 152)

The clear, unequivocal, and conspicuous terms and conditions of the work order contract, which THEC's com-
pany men are authorized to sign (TR 153, doc. 90-Sessions depo. at 16), required THEC to release, indemnify,
and hold Halliburton harmless for property damage and loss resulting from loss of well control, including any
property damage and loss occurring as a result of any negligence on the part of Halliburton. (Joint Exh. 15; TR
         [FN3]
120-21)         The contract *7 further provided that, in any event, the exclusive remedy, and Halliburton's sole
liability, would be limited to the replacement cost of services and materials. (CR 132, Def. Exh. 15)

        FN3. The language in Section “C” of the terms and conditions, printed in large and conspicuous red
        type, is clear and unequivocal:
        Release and Indemnity - customer agrees to release Halliburton Group from any and all liability for any
        and all damages whatsoever to property of any kind owned by, in the possession of, or leased by cus-
        tomer and those persons and entities customer has the ability to bind by contract. Customer also agrees
        to defend, indemnify and hold Halliburton Group harmless from and against any and all liability,
        claims, costs, expenses, attorney's fees and damages whatsoever for personal injury, illness, death,
        property damage and loss resulting from: Loss of well control; devices to control a wild well whether
        underground or above the surface; reservoir or underground damage, including loss of oil, gas, other
        mineral substances or water; surface damage arising from underground damage; damage to or loss of
        the well bore; subsurface trespass or any action in the nature thereof; fire; explosion; subsurface pres-
        sure; radio activity; and pollution and its clean-up and control.




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         Customer's release, defense, indemnity and hold harmless obligations will apply even if the liability and
         claims are caused by the sole, concurrent, active or passive negligence, fault, or strict liability of one or
         more members of the Halliburton Group, in seaworthiness of any vessel, or any defect in the data,
         products, supplies, materials or equipment furnished by Halliburton Group, whether in the design, man-
         ufacturer, maintenance or marketing thereof or from a failure to warn of such defect... Customer's re-
         lease, defense, indemnity and hold harmless obligations apply whether the personal injury, illness,
         death, property damage or loss is suffered by ... customer, or any other person or entity and the custom-
         er will support such obligations assumed herein with liability insurance to the maximum extent allowed
         by applicable law.

         Section “E” of the terms and conditions, also in red, sets forth Halliburton's express warranty, limits the
         implied warranties and limits its liability and available remedies and provides, in relevant part, that
         “Halliburton's sole liability and Customer's exclusive remedy in any cause of action (whether in con-
         tract, tort, breach of warranty or otherwise) arising out of the sale, lease or use of any equipment,
         products or materials is expressly limited to the replacement of such on their return to Halliburton or, at
         Halliburton's option, to the allowance to Customer of credit for the cost of such items. In no event shall
         Haliburton be liable for special, incidental, indirect, consequential, or punitive damages....”

Because the district court erroneously determined that Halliburton was guilty of gross negligence, it refused to
                                                                          [FN4]
enforce the indemnity terms of the contract between THEC and Halliburton.

         FN4. The trial court did not address the issue of whether the contract was otherwise valid and enforce-
         able. (CR 522-23 n.8; RE “D”)

                                            B. The Blowout of Well C-1

THEC owned a natural gas well, designated C-1, which was located on the Outer Continental Shelf in the Gulf
of Mexico, offshore of Louisiana. (CR 246) In *8 May 1997, THEC had drilled and completed the well, using
the mobile drilling vessel PHOENIX II, which was owned and operated by R&B Falcon Drilling (US), Inc. (TR
32) THEC contracted with various vendors to provide services for different aspects of the project. (TR 32-33)
For example, the drilling contractor, Falcon, furnished well-control safety devices such as blowout preventers to
arrest any gas “kick” in the well, which results from pressured gas rising to the surface. (TR 32-33, 230)

THEC contracted with Halliburton to provide downhole equipment for use in subsurface testing procedures for
the three levels of natural gas formations that had been discovered. (TR 33) This testing equipment included cir-
culating valves and backup circulating valves, which are not designed as well-control devices. (TR 195-96, 559)
The principal Halliburton circulating valve is the OMNI valve, which circulates mud or fluid through the well in
the course of the well-testing operations. (TR 156)

Another Halliburton circulation valve is the “Internal Pressure Operating” or “IPO” valve, which serves as a
back-up if the OMNI valve becomes inoperable. (TR 23; 559; doc. 90-Sessions depo. 67-68) The IPO valve is
designed to operate when there is a difference between pressure inside and outside the drill pipe. During normal
drilling operations, the pressure in the well inside and outside of the drill pipe is the same. There is no differen-
tial pressure. The IPO activates when *9 pins placed in the valve shear under pressure. (TR 157-158) Each pin in
the valve is designed to withstand a differential pressure of up to 610 psi. In this case, the bottom hole pressure
of the well was approximately 2700 psi so the IPO valve was pinned with five pins to withstand pressure of up
to 3050 psi. In order for the drill crew to activate the IPO valve and circulate through it, it was necessary to in-




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crease pressure inside the drill pipe so that the psi inside the pipe exceeded 3050 psi. (TR 165) At that pressure,
the pins shear, and the IP valve ports open, allowing the well fluid to circulate inside and outside the drill stem.

On May 16, Halliburton sent two OMNI and two IPO valves to the well site. (TR 175; Exh. 5) Halliburton's tool
operator, David Lemaire, was responsible for checking the tools, supervising the assembly of the tools into the
tool string, and monitoring their use during the testing. (TR 155) Mr. Lemaire has been with Halliburton for
twenty-six years, and was an experienced tool operator. (TR 195) According to Halliburton procedure, Mr.
                                              [FN5]
Lemaire set the IPO valve with five pins.             During the first test on May 27, the OMNI valve became
clogged with sand. (TR 161-62) To activate the IPO valve, THEC intentionally increased pressure in the well to
a level that sheared the five pins in the IPO valve, and the valve performed its backup function of circulating the
fluid in the well. (TR 161-62) At the *10 conclusion of the test, this IPO valve was retrieved but could no longer
be used, and was returned to Halliburton's yard. (TR 172) The second, unused IPO valve remained on the rig.
(TR 175) Halliburton sent a third IPO valve to the rig to replace the first sheared one. (TR 172, 175)

        FN5. For safety reasons, Halliburton sends all valves to the work site with one pin. The tool man at the
        site was responsible for inserting the proper number of pins, a procedure that also required the tool op-
        erator to physically inspect the valve at the worksite. (TR 292-93; 296)

On May 28, the second test was performed. (TR 189) Lemaire selected and aligned an OMNI and an IPO valve
for the drill crew to connect to the drill string. (TR 33, 176) Following Halliburton's standard policies and pro-
cedures and specifications for this particular job, Lemaire made certain that he inserted five pins in the IPO
       [FN6]
valve.         (TR 176, 207) Before these valves and other Halliburton tools were connected to the string and
lowered into the hole, however, a delay occurred. (TR 176-77) Because he was not needed on the floor, Lemaire
stepped away. (TR 176-77) In his absence, the drilling crew, which was not under his supervision, moved his
tools and equipment. (TR 176-77) When Lemaire came back, he picked up what he believed was the properly
pinned IPO valve and inserted it in the test string. (TR 177, 201) Because the drilling crew had moved *11 the
tools, however, Lemaire mistakenly picked and inserted the remaining IPO valve with only one pin installed,
rather than the valve with five pins. (TR 179-80) The drilling crew lowered this IPO valve, along with the
OMNI, into the well and ran the second test. (TR 33) During the second test, the OMNI did not become clogged,
and therefore the backup IPO valve was not activated. (TR 193, 198) Because the differential pressure on the
IPO valve never exceeded 610 psi, the single pin did not shear. (TR 193, 198) The second test was completed
successfully, and the crew retrieved the assembled Halliburton tools from the hole, leaving the assembly intact
in readiness for the third and final test. (TR 206)

        FN6. The trial court first appeared to cast doubt upon whether Mr. Lemaire actually pinned an IPO
        valve with five pins before the second test by twice repeating that Mr. Lemaire “claimed” to have
        dressed the valve with five pins. The court later, however, noted that “it was intended by all concerned,
        including Halliburton, that the IPO valve ... would be dressed with five pins.” (CR 512), a finding that
        belies the court's ultimate conclusion that Halliburton acted with utter disregard. Moreover, the evid-
        ence conclusively showed that Mr. Lemaire had, indeed, pinned a valve with five pins before the second
        test. Mr. Costlow testified that the properly pinned valve was returned to Halliburton and was later
        traced to another job. (TR 207)

After the second test, Lemaire left the rig and was replaced by Phillip Costlow, another experienced Halliburton
tool operator. (TR 180) Before Costlow left Halliburton's offices, he met with Lemaire, who told Costlow that
the IPO valve already installed in the pipe assembly and used in the second test, had five pins in it, had not been




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activated during the second test and thus could be used for the third test. (TR 180, 206-07) Both Costlow and
Lemaire were cognizant of, and duly concerned with, the need for proper pinning of the IPO. (TR 180, 206-07)
After Costlow arrived on the rig on May 30, he reasonably relied on Lemaire's statement that the IPO valve
already connected to the assembly was pinned correctly. (TR 180, 206-07)

*12 On May 31, 1997, the previously assembled test string was lowered into the well for the third test. (TR 211)
Costlow did not request a breakdown of the test string so he could open the IPO valve and re-inspect to determ-
ine whether it had five pins in it. (TR 210-11) Costlow was present for the third test. (TR 210-216) Prior to com-
pletion of the test, Costlow advised Tom Sessions, the THEC company man, to reverse circulate below the
OMNI valve, but Sessions failed or refused to do so. (TR 227-28, 230) THEC's negligent failure to circulate be-
neath the OMNI valve at this point during the third test allowed the gas to accumulate, ultimately causing the
pressure or “kick” that blew the well out later that day. (TR 576-77) In any event, because the OMNI valve did
not clog up during the third test, the IPO valve was not activated. (TR 577-78) Again, the differential pressure
on the IPO valve was not sufficient to shear the single pin in the valve. Upon completion of the third test, Hal-
liburton's job was completed.

At approximately 3:30 in the afternoon, the drilling crew began to pull the pipe and the Halliburton valves out of
the hole. (TR 216) But having already failed to properly circulate below the OMNI, (TR 227-28), THEC and
Falcon compounded the consequences of that error during the “trip out.” For example, THEC and Falcon failed
to maintain proper hydrostatic pressure in the well and failed to recognize and act upon early warning signals
that the well was *13 unbalanced, including inconsistent volumes of fluid required to compensate as the drill
pipe was removed from the well. (TR 542-63)

At or about 7:15 PM, the Petron well flow charts indicated gas had begun to flow into the well, but THEC and
Falcon did not immediately recognize or respond to this flow. (TR 349, 553, 575) At approximately 7:30 PM, a
Halliburton employee alerted the drill crew that the well was flowing. (TR 98-100, 555-56) In that 15 minute in-
terval, the drilling crew had raised the IPO valve above the level of the drill floor and had begun to break the
IPO valve out of the tool string. (TR 218-19; Doc. 88 - Morgan depo. at 54) But before the IPO valve could be
removed, the gas that had accumulated in the well began to flow and created a “kick,” causing the pipe to rise
four feet and strike the top drive, and actually forcing the pipe to “bow.” (TR 220; doc. 88- Morgan depo. at
18-19) Had the drilling crew properly monitored or detected the well flow, the well could have been shut in
when the IPO valve was below the surface. (TR 556-59) If that had occurred, the IPO pin would not have been
sheared. (TR 400-01)

When the gas in the well began flowing, the drilling crew reacted to the kick and rook steps to shut in the well
by closing the blowout preventers and hydril, which sealed off the annulus. (TR 220-21, 229) The drilling crew
then reconnected the tool string, including the IPO valve. (TR 101-02, 219-21) At that point, the well appeared
to be under control. (TR 221) Over the next hour and a *14 half, the rig personnel pumped fluid into the well,
bled off some of the gas to relieve pressure, and monitored the well. (TR 102-03, 220-21) During this time, the
pressure in the well rose to approximately 960 psi, at which time the single pin in the IPO valve sheared--and the
well blew out. (TR 221) Within a few minutes, all of the personnel on the rig evacuated in an escape capsule and
were rescued unharmed. (TR 221-22)

The district court found the blow-out resulted from the “mistake” of Lemaire and Costlow in failing to use the
IPO which Lemaire had properly pinned despite their intention to do so. (CR 521) While the court found this
mistake endangered not only the well, but also the lives of all the personnel on the rig, the district court cited no




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juncture at which either Lemaire or Costlow disregarded this danger. Indeed, Lemaire and Costlow were present
on the rig for the tests. To assume (without evidence) that they disregarded the risk of danger to those around
them on the rig is to assume (equally without foundation) that they also knowingly endangered their own lives.
No evidence supports such the extraordinary conclusion that Lemaire and Costlow lacked the basic urge for self-
preservation.

               C. THEC's and Falcon's Actions That Caused, or Contributed to, the Well Blowout

The district court's factual findings give short shrift to the wealth of evidence showing that THEC and Falcon
were negligent in discharging their responsibilities to monitor the well and keep the gas pressure in check to
avert the *15 risk of a blowout. In fact, the district court pointedly declined to absolve THEC and Falcon of their
negligence in causing the “kick” in the well. (CR 521, 526) Instead, the court relied on its intervening and super-
seding cause analysis to place the blame for the accident on Halliburton. (CR 526)

During the drilling, completion, and testing of a well, the risk of the well's gas rising to the surface inadvertently
is a serious one. (TR 543) The gas pressure in the well is controlled by a column of fluid whose total weight,
combined with the pipe in the hole, equals or exceeds the pressure from the underground formations. (TR 544;
549) When this formation pressure exceeds the weight of the fluid and pipe, a blowout can occur. (TR 578-79)
The responsibility of keeping the gas pressures in check rests with the operator of the well (THEC), the operat-
or's company men, and the drilling crew. (TR 118-19, 196, 227-29, 554-57, doc. 88-Morgan depo. at 23-24)
THEC had two company men on board the PHOENIX II, Tom Sessions, an employee, and James Hileman, an
outside consultant. (TR 94; doc. 90-Sessions depo. at 23-24)

To monitor the stability of the well, THEC rented a Petron chart system. (TR 240) This highly sophisticated sys-
tem monitors critical factors, such as temperature, volumes, and pressures, which are displayed on screens in the
offices of the THEC company man and Falcon's toolpusher, and at the driller's console. (TR 239-41, 554-55)
Additional safety measures include warning lights and *16 alarms at the driller's console if well instability is de-
tected. (TR 554-55) It is the driller's responsibility to calibrate the system to the specific well conditions. (TR
563)

The C-1 well had characteristics that made it susceptible to instability because the drilling fluid used to stabilize
the well was being lost in the formation. (TR 547-48) In other words, the weight of the fluid or mud that kept the
bottom hole gas in check was constantly diminishing, and had to be replaced periodically. (TR 551) In addition
to this risk factor, THEC overbalanced the bottom hole upward pressures with only 70 psi rather than the cus-
tomary 200-300 psi, leaving a razor-thin margin of error, especially in light of the need for constant replenish-
ment of the fluid. (TR 544-54)

Witnesses for both THEC and Halliburton testified the THEC company man wielded the ultimate authority and
responsibility for operations concerning the well bore. (TR 119; 196-97; doc. 88-Morgan depo. at 35; doc.
90-Sessions depo. at 12) Moreover, the drilling contractor in this case, Falcon, furnished the well-control safely
devices to arrest any gas kick, including blowout preventers and the top drive. Both THEC and Falcon were neg-
ligent in discharging their duties to ensure well safety, and this negligence was a proximate cause of the well
blowout and resulting loss.

 *17 1. THEC and Falcon failed to maintain primary control of the well through the use of drilling fluid by fail-
ing to create a sufficient overbalance in hydrostatic pressure to keep the gas in the formation from flowing to the
                                                      surface.




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A number of factors within THEC's control contributed to the loss of hydrostatic pressure in the well bore, ulti-
mately resulting in the blowout. (TR 542-63) Against Halliburton's advice, THEC failed to circulate the well be-
low the OMNI valve, which left a column of gas in the well when THEC began to extract the test string out of
the well (the “trip”). (TR 227-30) Moreover, THEC failed to maintain a safety factor of at least 200 psi above
equilibrium. (TR 554, 349, 399) The crew began the trip even though the well was losing fluid and thereby de-
creasing the margin of pressure sufficient to safely suppress the gas. (TR 557, 549-55)

                     2. THEC and Falcon failed to detect and respond to changes in the well

By about 7:15 PM, the Petron well flow charts indicated gas had begun to flow into the well, but THEC and Fal-
con failed to act on this information. (TR 349, 553, 575) Had they noticed the developing problem reflected in
the charts, they could have closed the well when the IPO valve was still below the surface and below the blo-
wout preventers. (TR 556-57) Several early warnings that significant *18 changes were occurring in the well
bore were either missed or ignored by the crew. (TR 555-56, Exh. 19 at 18, 558-60)

By the time overflowing water from the trip tank alerted the drilling crew to the flow of gas around 7:30 PM,
they had raised the IPO to a height approximately eight feet above the drilling floor. (TR 98-101, doc.
88-Morgan depo at 20-21; doc. 90-Sessions depo. at 66) The crew had already disconnected the IPO valve from
the tool string, and were preparing to remove it, when pressure from the surge of gas pushed the IPO valve and
tool string up the derrick and into the bottom of the top drive. (doc 88-Morgan depo at 17-20, Exh. 2 at 48, Exh.
3 at 47).

Contrary to the district court's findings, THEC and Falcon never fully regained control of the well. Had THEC
responded quickly by closing off the well by other available means at this point, the well would not have blown.
Instead, THEC risked using the IPO valve as a blowout preventer, though it was not designed or built for that
purpose.

                      3. THEC failed to use appropriate equipment to prevent the blowout.

THEC ignored clear signs that the well still had a gas kick in it. After shut in, the crew measured 500 pounds of
surface pressure on the well. (TR 102, 576) While the well was obviously unstable, THEC chose to refasten the
IPO valve connections and let the IPO remain above the rig floor, unprotected, outside the safe and intended op-
erating pressures within the hole. (TR 558-59, 473-74) Thus, *19 THEC improperly placed the IPO valve in the
role of blowout protector instead of using sheer rams or other appropriate blowout preventers to shut in the well.
(TR 577-78) THEC and Falcon waited for the pressure to stabilize before attempting to regain control by
“bullheading,” or pumping fluid down the drill stem. (doc 88-Morgan depo. at 21, 41) During this time, the pres-
sure inside the drill stem and exposed IPO continued to increase. (TR 221) When the pressure reached 960
pounds, the pin in the IPO sheared, causing the ports to open and allowing gas to escape-the blowout. (TR 221)

The cumulative effect of THEC's and Falcon's negligent actions in failing to discharge their responsibilities over
the drilling operation caused, or substantially contributed to, the blowout and subsequent losses. The district
court clearly erred when it found THEC's and Falcon's actions too remote to cause or contribute to the blowout.

SUMMARY OF THE ARGUMENT

The district court's findings of fact and conclusions of law--on their face-- reveal the court's failure to distin-
guish between ordinary negligence and gross negligence. The facts are essentially undisputed. Halliburton's em-




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ployee made an inadvertent mistake by substituting an IPO valve that had not been prepared for one that he had
previously properly prepared. When the IPO valve was pressed into service for a purpose for which it was not
intended, it failed. The district court equated an honest oversight with the reckless, virtually willful actions that
are punishable as gross negligence. In doing so, the court erased a fundamental, legally defined distinction
between the mental state required for gross negligence--a wanton and reckless disregard or want of care--and the
mere inadvertence of mistake. Rather than showing gross neglect, the most the facts show is that the Halliburton
employees had no reason to suspect the valve had only one pin. Moreover, they had no reason to suspect or
know that the likely result of the failure to insert pins in the valve was a well blowout. Thus, there was no reason
the employees knew of or disregarded a risk of a blowout. They also had no reason to expect the valve would be
required to withstand well pressure after the test was complete and the valve had been extracted from the well.

As a result of the court's finding of gross negligence, the court excused the plaintiff, THEC, from its “red letter”
indemnity contract with Halliburton, based on the narrow exception that such contracts do not cover intentional
misconduct or gross negligence. Because Halliburton's actions were not grossly negligent, the court's failure to
enforce the clear, unambiguous terms of the parties' agreement constitutes legal error. Contracts that limit liabil-
ity for negligence are valid and enforceable. In this case, two sophisticated business entities chose to allocate the
risk of loss of a well blowout through the work order contractual provisions, or “red letter” clauses, a common
practice in the industry. THEC's claim that its “company man,” the person in charge of the well project, did not
have authority to bind the company is meritless. On the contrary, case law holds that a person in such a position,
with implied authority, can bind the company to this type of contract. Accordingly, THEC cannot avoid the
terms of the contract. Moreover, THEC had ample notice of Halliburton's indemnity provision. The language of
indemnification is conspicuously printed in red, and referred to on the front of the work order immediately
above the signature line.

The district court also failed to apply the doctrine of comparative fault to allocate the responsibility for the blo-
wout, as required under both maritime and Lousiana law. The district court failed to make findings of the com-
parative fault of Halliburton, THEC and Falcon and apportion the damages, even though there was evidence-
-which the court recognized--implicating THEC and Falcon in causing the blowout. Instead, the court erro-
neously interpreted the doctrine of intervening and superseding cause to preclude Halliburton's defense of com-
parative fault. Under the court's factual findings, Halliburton's actions were, at most, a contributing cause of the
blowout. The negligence of THEC and Falcon caused the “kick” in the well in the first place. Even if THEC and
Falcon's conduct is not considered a superseding cause absolving Halliburton from all liability, THEC's and Fal-
con's proportionate fault must be determined because their actions were an “intervening” cause that, when com-
bined with Halliburton's actions, resulted in the blowout.

Although THEC brought this case under the admiralty statute and both parties throughout most of the case con-
sidered the case as arising under maritime law, the district court based its findings and conclusions on the Outer
Continental Shelf Lands Act (“OCSLA”). If OCSLA applied to this dispute, then the district court lacked admir-
alty jurisdiction.

Under admiralty law, a party is not entitled to a jury; under OCSLA, the court applies the law of the nearest state
and a jury trial is available. If, indeed, OCSLA applies, then Halliburton was deprived of the fundamental right
to request a jury trial. The district court's conclusion at the end of the trial that OCSLA applied, as reflected in
the conclusions of law, did not give Halliburton a fair and sufficient opportunity to demand and enforce its right
to a jury trial before the trial.




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Finally, the trial court abused its discretion when it admitted and relied on expert testimony to determine
THEC's claimed damages for lost production, evidence that was produced immediately before trial in violation
of a court-ordered deadline. Because THEC changed its damage calculation at the last minute, Halliburton was
unfairly surprised and was denied the opportunity to test THEC's evidence and rebut it with its own experts.

                                         *23 STANDARDS OF REVIEW

On appeal from a judgment after a bench trial, the appellate court reviews the findings of fact for clear error and
the legal issues de novo. Gebreyesus v. F.C. Schaffer & Assocs., Inc., 204 F.3d 639, 642 (5th Cir. 2000). A find-
ing of fact is clearly erroneous “when although there is evidence to support it, the reviewing court on the entire
evidence is left with the definite and firm conviction that a mistake has been committed.” Walker v. Braus, 995
                 th
F.2d 77, 80 (5 Cir. 1993). Factual findings made under an erroneous view of controlling legal principles,
however, are reviewed de novo. Id.; Delta S.S. Lines, Inc. v. Avondale Shipyards, Inc., 747 F.2d 995, 1000 (5th
Cir. 1984). Moreover, applying legal principles to “essentially undisputed facts” is subject to de novo review.
United States v. Singer Mfg. Co., 374 U.S. 174, 194, 83 S. Ct. 1773, 1783 (1963); Walker, 995 F.2d at 80.

                                       ARGUMENT AND AUTHORITIES

   I. THE DISTRICT COURT ERRED IN FINDING THE ACTIONS OF HALLIBURTON'S EMPLOYEES
                                  GROSSLY NEGLIGENT

In this case, the district court misapplied the legal principles distinguishing between ordinary and gross negli-
gence to the essentially undisputed facts of this case. Whether the conduct found by the court rises, as a matter
of law, to the level of gross negligence, requires de novo review by this Court. Even under the less *24 stringent
clearly erroneous standard, the district court clearly erred in finding the conduct of Halliburton's employees to
be grossly negligent.

              A. The Legal Standards for Finding Gross Negligence Are Not Satisfied in This Case

The district court did not correctly apply the legal standard pertaining to gross negligence to Halliburton's con-
duct. While this is a contract action, the distinction between ordinary negligence and gross negligence is critical,
as the district court excused THEC from its “red letter” indemnity contract with Halliburton, based on the nar-
row exception that such contracts do not cover intentional misconduct or gross negligence.

Even accepting the district court's predicate findings of fact, and considering all the circumstances as evidenced
in the record, the district court erred when it equated an honest oversight with the reckless, virtually willful ac-
tions that are punishable as gross negligence. Plainly, the actions of Halliburton's employees, as found by the
district court, are not actions that fit the legal definitions of gross negligence used by courts, i.e, “reckless and
wanton misconduct,” “entire absence of care,” “complete neglect,” “utter disregard.” See, e.g., Orthopedic &
Sports Injury Clinic v. Wang Laboratories, Inc., 922 F.2d, 220, 224 n.3. (5th Cir. 1991); Miles v. Melrose, 882
F.2d 976, 989 (5th Cir. 1989); Ambrose v. New Orleans Police Dep't Ambulance Serv., 639 So. 2d 216, 219-220
(La. 1994).

*25 Regardless of whether federal or Louisiana law applies, gross negligence has a well-defined legal meaning
distinctly separate, and different, from ordinary negligence. In maritime cases, the Fifth Circuit has defined
gross negligence as reckless and wanton misconduct. See Miles, 882 F.2d at 989 (applying maritime law). Gross
negligence is distinguished from ordinary negligence in that it encompasses harm that is “willfully inflicted” or




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is caused by the wanton or reckless disregard for the safety of others. See Todd Shipyards Corp. v. Turbine
Serv., Inc., 674 F. 2d 401, 411 (5th Cir. 1982).

Stated differently, “[o]rdinary negligence is based on the fact that one ought to have known the results of his
acts, while ‘gross negligence’ rests on the assumption that one knew the results of his acts.” Computalog U.S.A.,
Inc. v. Blake Drilling and Workover Co., Inc., 1996 WL 720761 at *2 (E.D. La. Dec. 9, 1996) (applying mari-
                                          [FN7]
time law) (citation omitted) (RE “H”).            Likewise, Louisiana state courts have defined gross negligence as
the “want of even slight care and diligence” and the “want of that diligence which even careless men are accus-
tomed to exercise.” E.g., State v. Vinzant, 7 So. 2d 917 (La. 1942). “There is often no clear distinction between
willful, wanton, or reckless conduct and gross negligence and the two have tended to merge and take on the
same meaning.” *26Falkowski v. Maurus, 637 So. 2d 522 (La. Ct. App. 1993) (citation omitted); accord,
Hendry Corp. v. Aircraft Rescue Vessels, 113 F. Supp. 198 (E.D. La.1953) (gross negligence described as ...
“entire absence of care” ... “utter disregard ... “complete neglect”).

        FN7. See also Barber v. Texaco, Inc., 720 F.2d 381, 384 (5th Cir. 1983) (reversing jury finding of gross
        negligence and stating that “[g]ross negligence is differentiated from simple negligence by the mental
        attitude of the defendant: a plaintiff must show that the defendant knew about the danger, but demon-
        strated by his acts or omissions that he didn't care.”) (applying Texas law).

Here, the trial court's finding does not properly apply the fundamental principle that gross negligence embraces
a mental state that does not exist for ordinary negligence. The evidence in this case exhibits a glaring absence of
the conscious disregard, equivalent to knowledge that harm will occur, that must exist for a proper finding of
gross negligence with respect to the actions of Halliburton's employees, Costlow and Lemaire. Affirmance of the
district court's finding will open the door to unjustified nullification of indemnity terms in commercial maritime
contracts and punitive damage awards in cases where mere inadvertence or oversight leads to an accident.

                       B. The Evidence Does Not Support a Finding of Gross Negligence.

David Lemaire made a simple mistake due to an unexpected mix up of the IPO tools, an honest mistake that any
person could have made under the circumstances. Phil Costlow understandably relied on Lemaire for informa-
tion that the test string, including the IPO valve, was adequately prepped for the third test. Although the court
emphasized noncompliance with Halliburton's “policies” *27 on drilling rigs, it is uncontroverted that Lemaire
correctly pinned an IPO valve, at the site, in accordance with Halliburton's practices. (TR 176-77, 180, 190-91,
198-99, 207) Thereafter, nothing occurred that should have caused either man to doubt that the IPO valve used
was pinned correctly.

                 1. Lemaire and Costlow had no reason to know the IPO valve had only one pin

The district court's finding of gross negligence is largely premised on its conclusion that Lemaire and Costlow
should have visually inspected or otherwise re-confirmed they were using the properly pinned IPO valve at some
point after Lemaire correctly pinned an IPO valve for use in the second test. There is insufficient evidence,
however, to support a finding that either man had reason to know something was amiss, or that the IPO valve
would be called upon to prevent a blowout.

Lemaire knew that he had correctly pinned an IPO valve, a fact which is not contradicted. Even though the Fal-
con crew moved the tools used in the test string, Lemaire testified that he believed that he picked up the same
IPO valve that he correctly pinned only a few hours earlier (TR 179-80, 198-99, 201), and there is no evidence




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that shows his honestly held belief amounts to “reckless or wanton disregard.” Indeed, the second well test went
off without a hitch. (TR 193) In addition, Costlow had no reason to doubt Lemaire's word that the IPO valve,
                                                                                [FN8]
*28 which was already incorporated into the test string, was properly pinned.          And, because the differential
pressures in the second surge test apparently did not exceed even 610 psi, Costlow and Lemaire had no reason to
suspect that the IPO valve, which they believed to contain five shear pins, had sustained damage. (TR 193) The
third test also did not create differential pressures exceeding the capacity of the IPO valve; the actions of THEC
and Falcon as the crew removed the test string from the well hole created the pressure differential that triggered
the blowout.

        FN8. If Tom Sessions' assumption that Costlow had “circulated the well”-- which was Sessions' re-
        sponsibility as THEC's company man in charge of the well operation--is not even an act of negligence,
        Costlow's reliance on Lemaire's assurance that the IPO valve was properly pinned cannot possibly be
        “gross negligence.” (TR 227-28; CR 518 n.7)

The evidence established that Lemaire and Costlow did not know, expect or intend to use the wrong IPO valve.
(TR 176-77; 180; 190-91, 198-99, 206-07, 210-11) Additionally, the court's finding that Costlow could have
easily rechecked the IPO valve overlooks evidence that Costlow would have had to disconnect and reassemble
the tool string, which was already prepared for the test, to make such an inspection (TR 206-07) Costlow had no
reason to believe that was necessary.

      *29 2. There is no evidence that Costlow and Lemaire should have expected a well blowout to occur

The record also fails to demonstrate that Lemaire and Costlow had any reason to suspect or know that the likely
result of failure to insert five pins in the IPO valve was a well blowout. There was no evidence of past blowouts
involving IPO valves or incorrectly pinned valves of any kind. It does not follow, from the evidence of Hallibur-
ton's policy of pinning IPO valves onsite, that its employees knew of and disregarded the risk that a blowout
could result.

In fact, due to the negligent actions of THEC and Falcon, the IPO valve was pressed into service as a surrogate
blowout preventer, a purpose for which it is not intended. (TR 196, 559-60) Moreover, Costlow and Lemaire had
no reason to expect the IPO valve would be required to withstand pressure at the well surface after the test was
complete. Rather, after the first test, Costlow and Lemaire had reason to believe the IPO valve would be with-
drawn from the well with open ports, after operating as intended and as it did in the first test. Absent the unusu-
al, unexpected, and unintended use of the IPO valve as an above-surface blowout preventer, Lemaire's oversight
would have been harmless. Further, had the IPO valve been activated, as it was in the first test, it could not have
been utilized as a stop-gap measure once the well “kick” occurred. (TR 576-78)

*30 Not surprisingly, case law that addresses the issue of ordinary versus gross negligence demonstrates that
Halliburton's actions do not rise above ordinary negligence. In Wang, for example, defendants obtained sum-
mary judgment on the gross negligence issue, even though a Wang employee used the Plaintiffs only backup
disk to test a malfunctioning computer and thereby destroyed five years of medical and accounting data. 922
F.2d at 224; cf Henderson v. Norfolk Southern Corp., 55 F.3d 1066, 1071 (5th Cir. 1995) (applying Texas gross
negligence principles, this Court reversed a district court finding of gross negligence where failure to inspect a
tractor-trailer was the legal cause of a fatal accident); Computalog U.S.A., Inc. v. Blake Drilling and Workover
Co., Inc., 1996 WL 720761 at *2 (E.D. La. Dec. 9, 1996) (granting summary judgment enforcing an indemnity
provision under maritime law, despite negligent acts that caused an accident on a drilling rig). Similarly, in this




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case, there is no evidence that Lemaire and Costlow knew that a blowout was likely to result from the failure to
properly pin the IPO valve. The IPO valve is neither designed nor intended to operate above the drilling surface
as a makeshift blowout preventer.

The district court's legal conclusion that the undisputed facts revealed that Halliburton's employees' actions con-
stituted gross negligence is in error and should be reversed. In the alternative, the trial court's factual findings
concerning *31 the gross negligence of Halliburton's employees are clearly erroneous, and Halliburton is en-
titled to reversal on the finding of gross negligence.

    II. THE DISTRICT COURT ERRED IN REFUSING TO ENFORCE THE INDEMNITY CONTRACT.

The district court's failure to enforce the parties' work order contract, including the indemnification and limita-
tion of liability clauses, constitutes legal error. As set forth above, the gross negligence exception is not implic-
ated by the district court's factual findings. THEC's other defenses to enforcing the contract fail as a matter of
law, based on the undisputed evidence. Accordingly, this Court should enforce the applicable terms of the
parties' contract.

                                     A. Indemnity Contracts Are Enforceable.

Contracts limiting liability for negligence are generally valid and enforceable. See, e.g., Nicor Supply Ships As-
socs. v. General Motors Corp., 876 F.2d 501, 504 (5th Cir. 1989) (upholding limit under general maritime law);
Coastal Iron Works, Inc. v. Petty Ray Geophysical, 783 F.2d 577, 580-83 (5th Cir. 1986) (same); see generally
Perkins v. Rubicon, Inc., 563 So. 2d 258, 259-60 (La. 1990); Polozola v. Garlock, Inc., 343 So. 2d 1000,
1003-04 (La. 1977). Because no valid exception exists to excuse enforcement of the parties' agreement, the dis-
trict court erred by declaring the provision of the parties' contract limiting liability invalid and by refusing to en-
force it.

*32 Parties choose to limit their liability to one another for a variety of reasons, including the allocation of risk
of loss. See, e.g., Jigg the Third Corp. v. Puritan Marine Ins. Underwriters Corp., 519 F.2d 171, 176 (5th Cir.
1975) (holding that parties may allocate risk of loss in rational manner). The parties in this case expressly alloc-
ated the risk of loss of a well blowout. The release and indemnity provision protects Halliburton from liability
for “property damage and loss resulting from: Loss of well control.” (Exh. 15). Insurance was obtained accord-
ingly and the risk allocation is common in the industry; in fact, in this very case THEC honored a similar provi-
sion in its contract with Falcon. (TR 152)

Similar “red letter” clauses have been upheld in similar circumstances. For example, in Todd Shipyards Corp. v.
Turbine Serv., Inc., 674 F.2d 401 (5th Cir. 1982), this Court upheld a limitation of liability clause when there
was no dispute that the parties were sophisticated business entities with no disparity in relative bargaining
power. Id. at 410. Both Halliburton and THEC are sophisticated business parties. In addition, Halliburton and
                                                                                                           [FN9]
THEC had used similar work order contracts previously, which militates in favor of enforcing the clause.
See Campbell v. Sonat Offshore Drilling, Inc., 979 F.2d 1115, 1120 (5th Cir. 1992) *33 (reasoning that standard
provision from prior dealings were binding). Indeed, the record shows that THEC was aware of the indemnity
                                 [FN10]
provision and acquiesced to it.         As the parties in this case contemplated and addressed the risk, their
                                                                                               th
agreements should be respected. See Fontenot v. Mesa Petroleum Co., 791 F.2d 1207, 1214 (5 Cir. 1986) (“[a]
contract of indemnity should be construed to cover all losses, damages, or liabilities which reasonably appear to
have been within the contemplation of the parties”) (citing Corbitt v. Diamond M. Drilling Co., 654 F.2d 329,
      th
333 (5 Cir. 1981)).




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        FN9. THEC contracted with Halliburton and signed Halliburton work orders containing limitations
        clauses on numerous occasions. (TR 24) (THEC's drilling superintendent signed close to 100 Hallibur-
        ton work orders) (TR 121); (THEC signed Halliburton work orders before and after the blowout); TR
        127; 152-153 (THEC officer testified that Halliburton did work under work orders for years).

        FN10. THEC's Westmoreland testified that THEC and Halliburton could not reach agreement on a mas-
        ter service agreement, because the parties could not agree on indemnity provisions. (TR 132). Neverthe-
        less, THEC continued to use Halliburton, using Halliburton work orders, as Halliburton required. (TR
        152-153). In fact, during December 1999 and January 2000, THEC personnel were told not to sign Hal-
        liburton work orders, but that order was later withdrawn, as THEC relented because it wanted Hallibur-
        ton to work on THEC's wells. (TR 78). Thus, THEC made a conscious decision to accept the limitations
        inherent in the indemnity agreement.

While courts are reluctant to enforce limitation of liability clauses to excuse gross negligence or intentional mis-
conduct, under both maritime and Louisiana law Halliburton's conduct in this instance did not rise to that level
as a matter of law, as discussed infra in Part I. The record evidence did not support the district court's finding
that Halliburton's employees Lemaire and Costlow had the required mental state to constitute gross negligence.
Because this was the district court's sole basis for disregarding Halliburton's release and indemnity provision,
the judgment below should be reversed.

                      *34 B. THEC's Other Defenses to the Clause Fail as a Matter of Law.

While THEC raised many other defenses to the contract, the district court declined to address them. (CR 522, FF
25 n.8). None of the defenses is supported by the record. Accordingly, the district court's legal conclusions re-
garding the release and indemnification contract should be reversed, and judgment rendered in favor of Hallibur-
ton or, in the alternative, the case should be remanded for any necessary factual findings relating to the enforce-
ability of the release.

                                                   1. Authority

THEC claimed that its own “company man” did not have authority to bind it. This Court rejected a similar argu-
ment in comparable circumstances in Coastal Iron Works, 783 F.2d 577, 582-83 (5th Cir. 1986), holding that a
ship's captain had implied authority, as master of the ship, to enter a repair contract containing an indemnity
clause. In the present case, THEC's “company man” at the rig, James Hileman, signed the contract after negoti-
ations between THEC's drilling manager William Wright and Halliburton's salesman Mark Favret. (TR 34-36;
78-80; 120). Hileman was in charge of overseeing the general operation of the well and had ultimate authority
                                                                                     [FN11]
over the well bore subject to the blowout, as well as the contractors. (TR 95; 119).         Accordingly, THEC
cannot avoid the terms of the *35 contract. See Grillet v. Sears, Roebuck & Co., 927 F.2d 217, 220 (5th Cir.
1991) (“A party cannot be permitted to retain the benefits received under a contract and at the same time escape
the obligation imposed by the contract.”)

        FN11. Hileman admitted that he believed he had the authority to sign the work orders, (TR 122-123).
        THEC's officer also admitted that “company men” like Hileman are authorized to sign work orders. (TR
        153)

                                                     2. Notice




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As stated above, THEC was aware both of Halliburton's indemnity provision and Halliburton's unwillingness to
perform services without one. See supra n. 11. Further, the mere fact that the indemnity provision was on the re-
verse side of the work order does not nullify the clause. See Coastal Iron Works, 783 F.2d at 582; (CR 522 n.8).
Similar to the contract enforced in Coastal Iron Works, the Halliburton work order states, above the signature
line, that the release and indemnity provisions are contained on the reverse side. (Exh. 15; TR. 19-120; RE “E”).
This language is printed in red, to set it apart from remaining text on the front of the work order, which is prin-
ted in black. (Exh. 15; TR 120-121; RE “E”). Accordingly, THEC had notice of the indemnity provisions as a
matter of law. See Hudson Waterways Corp. v. Coastal Marine Serv., Inc., 436 F. Supp. 597, 604-05 (E.D. Tex.
1977) (past business dealings provided sufficient notice to vessel owner that release of liability clause was part
of every repair contract) (cited with approval in Campbell, 979 F.2d at 1120).

Based on the clear, unambiguous terms of the indemnity contract between Halliburton and THEC, this Court
should reverse and render a take-nothing *36 judgment against THEC. In the alternative, if the Court finds that
fact issues concerning the enforceability of the indemnity provision exist, the Court should reverse and remand
to the district court for a determination of the contract issue.

 III. THE DISTRICT COURT ERRONEOUSLY FAILED TO APPLY THE DOCTRINE OF COMPARATIVE
                                       FAULT.

Halliburton raised the defense of comparative fault and was entitled to relief if Halliburton could show that
THEC and Falcon were responsible for a portion of the damages suffered by THEC. Halliburton put on ample
proof that THEC and/or Falcon were responsible, wholly or in part, for the blowout. The sole basis on which the
district court deprived Halliburton of its affirmative defense was its erroneous application of the law of interven-
ing and superseding causes. In fact, the doctrine of intervening and superseding causes, properly applied in this
case, supported, rather than defeated, Halliburton's defense of comparative fault.

The district court failed to apply the comparative fault doctrine to allocate responsibility for the blowout, as re-
quired under maritime law and Louisiana state law. In general, when an injury results from the negligence of
more than one party, the comparative fault of all involved must be determined and the damages must be appor-
tioned accordingly. The district court failed to make findings of the comparative fault of Falcon, THEC, and
Halliburton, and it failed to apply the comparative fault doctrine to apportion liability, based on an erroneous in-
terpretations of the “superseding” cause doctrine.

  *37 A. The District Court Improperly Failed to Determine the Relative Fault for the Blowout of All Involved.

The comparative fault doctrine has applied in maritime cases for 25 years. The United States Supreme Court, in
United States v. Reliable Transfer Co., 421 U.S. 397, 95 S. Ct. 1708 (1975), held that “when two or more parties
have contributed by their fault to cause property damage in a maritime collision or stranding, liability for such
damage is to be allocated among the parties proportionately to the comparative degree of fault.” Id. at 411, 95 S.
Ct. at 1715-16. See also Hal Antillen N.V. v. Mount Ymitos MS, 147 F.3d 447, 452 (remanding case for a determ-
ination of comparative fault and apportionment of liability); Pennzoil Prod. Co. v. Offshore Express, Inc., 943
                   th
F.2d 1465, 1469 (5 Cir. 1991). Louisiana also applies comparative fault principles. See La. Civ. Code Ann. art.
      [FN12]
2323.         See also Clement v. Frey, 666 So.2d 607, 611 (La. 1996); Harvey v. T.H.E. Ins. Co., 764 So.2d
354, 361 (La. Ct. App. 2000). The district court erred as a matter of law by failing to allocate liability among
THEC, Falcon, and Halliburton, according to their respective share of the blame.

        FN12. While art. 2323(c) states that comparative negligence does not apply where the injury is caused




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         by an intentional tortfeasor, gross negligence is not considered an intentional tort under Louisiana law.
         See Labbe v. Chemical Waste Management, Inc., 756 So.2d 613, 617 (La. Ct. App. 2000); Micele v.
         CPC of Louisiana, Inc., 709 So.2d 1065, 1068 (La. Ct. App. 1998). Moreover, as set forth in part -- be-
         low, Louisiana does not apply because this case is covered by maritime law.

     *38 B. Halliburton's Comparative Fault Defense Is Not Defeated by the Superseding Cause Doctrine.

The district court apparently rejected Halliburton's defense of comparative negligence based on a misinterpreta-
tion of the intervening and superseding cause doctrine. The doctrine does not apply in this case to relieve THEC
and Falcon of liability for their negligent acts, which occurred after the negligent installation of the IPO valve by
Halliburton and which, combined with the IPO valve, resulted in the blowout.

Under both federal maritime law and Louisiana law, an intervening and superseding cause severs the causal
chain linking prior conduct to an injury. Even if a defendant's conduct is a “cause-in-fact” or “but for” cause, a
subsequent superseding cause may be the sole “legal,” or “proximate” cause of an injury. See generally Exxon
Co. v. Sofec, Inc., 517 U.S. 830, 116 S. Ct. 1813 (1996); Nunley v. M/V Dauntless Colocotronis, 727 F.2d 455,
464 (5th Cir. 1984) (en banc) (adopting principles set forth in Restatement (Second) of Torts when determining
whether intervening force “supersedes” prior negligence and thereby precludes finding of proximate cause);
Donaghey v. Ocean Drilling & Exploration Co., 974 F.2d 646, 649 (5th Cir. 1992) (“Under the general maritime
law, a party's negligence is actionable only if it is a legal cause of the plaintiffs injuries.”); Allied Chemical
                                                       th
Corp. v. Hess Tankship Co., 661 F.2d 1044, 1060 (5 Cir. 1981) *39 (“A subsequent negligent act does not ex-
cuse prior negligence except in the most unusual circumstances. It would only mean that all actors, past and
present, must divvy up the liability.”); see also, e.g., Ford v. Pennzoil, 974 F. Supp. 559, 566 (E.D. La. 1997),
                      th
aff'd, 200 F.3d 816 (5 Cir. 1999) (table).

Under the facts found by the district court, Halliburton's conduct on May 28 and early on May 31 is, at most, a
contributing cause of the blowout. Accordingly, while Halliburton may be subject to liability for its comparative
fault, its conduct was not the sole proximate cause of the blowout and Halliburton cannot be solely responsible
for THEC's damages. The negligence of THEC and Falcon caused the kick in the first place. Even if THEC and
Falcon's conduct is not considered a superseding cause that operates to shield Halliburton from all liability,
THEC and Falcon's proportionate fault must be determined because their actions were an “intervening” cause
that, when combined with Halliburton's actions, resulted in the blowout. See Conclusion of Law No. 5.

The district court improperly relied on Mendoza v. Mashburn, 747 So.2d 1159 (La. App. 5th Cir. 1999), in hold-
ing Halliburton completely and solely responsible for the blowout, notwithstanding Falcon and THEC's acknow-
ledged fault in causing the kick. See, e.g., Conclusion of Law No. 5. Despite the district court's reliance on Men-
doza, its holding supports the application of comparative fault. Mendoza involved a traffic accident that resulted
in multiple injuries. The *40 trial court disregarded the jury's assessment of comparative fault, concluding that
one actor's negligence was superseded by the later negligent acts of others. Id. at 1163. The appellate court re-
versed and reinstated the jury's findings regarding comparative fault. Id. at 1169. Thus, the Mendoza court's
statement, “[a]n initial tortfeaser will not be relieved of the consequences of his negligence unless the interven-
ing cause superseded the original negligence and alone produced the injury,” quoted by the district court in this
case, does not require imposition of all liability on the initial tortfeasor in the absence of a superseding cause.
See id. at 1168. Rather, the Mendoza court merely held that comparative negligence principles will apply in situ-
ations involving multiple tortfeasors where proximate cause is not severed by a superseding cause. Accordingly,
this Court should reverse the judgment of the district court and remand the case for an assessment of the propor-




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tion of liability of all of the actors involved in the events underlying the May 31 blowout, and apportion respons-
ibility for THEC's damages accordingly.

The record shows, and the district court acknowledged, that the blowout occurred due to the combination of
THEC's and Falcon's negligence, which created the kick and caused the IPO valve to be used for the unintended
purpose of a blowout preventer, and Halliburton's negligence in installing the wrong IPO valve. Accordingly,
the Court should reverse the judgment, due to the district court's erroneous application of law, and remand the
case for an apportionment of *41 comparative fault of the blowout and a proper apportionment of liability for
damages.

 IV. THEE DISTRICT COURT DEPRIVED HALLIBURTON OF ITS RIGHT TO A JURY TRIAL IF OCSLA
                                      APPLIES.

THEC brought this suit alleging jurisdiction under federal maritime law. (CR 245) During the course of the litig-
ation, the parties presumed the application of federal law, relying on statutory and case law. See, e.g., 43 U.S.C.
§ 1333(a)(2); Smith v. Penrod Drilling Corp., 960 F.2d 456, 459 (5th Cir. 1992). In its findings of fact and con-
clusions of law, however, the district court ultimately applied the Outer Continental Shelf Lands Act, 43 U.S.C.
§ 1331 et seq. (OCSLA).

If the district court properly applied OCLSA, then it committed reversible error by effectively denying Hallibur-
ton its right to a jury trial. If OCLSA applies to the dispute between THEC and Halliburton, then the district
court lacked admiralty jurisdiction. See Offshore Logistics, Inc. v. Tallentire, 477 U.S. 207, 218 (stating that the
underlying operative assumption of OCSLA is that “admiralty jurisdiction generally should not be extended to
accidents in areas covered by OCSLA”).

In the absence of admiralty jurisdiction, Halliburton was entitled to a jury trial. See Fontenot v. Dual Drilling
                               th
Co., 179 F.3d 969, 972-73 (5 Cir. 1999). Halliburton did not knowingly or intentionally waive its right to a
                                                          th
jury trial. See Jennings v. McCormick, 154 F.3d 542 (5 Cir. 1998) (stating that the “right to jury *42 trial is too
important ... to find a knowing and voluntary relinquishment of the right in a doubtful situation.”) This Court has
held that a party has not waived its right to a jury trial if it has “an insufficient opportunity to assert its rights.”
                                         th
Bennett v. Pippin, 74 F.3d 578, 587 (5 Cir. 1996). In Bennett, a county which had been previously dismissed
was reinstated only one hour before the bench trial began. The Court held that the county's participation in the
bench trial did not constitute a waiver of its right to a jury trial, given that one hour before trial was an
“insufficient opportunity” to request a jury trial. Id.

In Bennett, the complaint contained a jury demand. Id. at 586. This relieved the county from any obligation to
demand a jury. Id. Conversely, in the present case, the plaintiff pleaded and the Court proceeded under admiralty
jurisdiction. (CR 245). This was essentially an election not to have a jury, and Halliburton had no basis for de-
manding a jury, as it believed the district court had admiralty jurisdiction. See Brotherhood Shipping Co. v. St.
Paul Fire & Marine Ins. Co., 985 F.2d 323, 326 (no jury trial when plaintiff has pleaded under FED. R. CIV. P.
9(h)). The district court's conclusion that OCSLA applied, as reflected in its conclusions of law issued after the
trial, did not give Halliburton a fair and sufficient opportunity to demand and enforce its jury trial right before
                                                           th
the trial. See Bereslavsky v. Kloeb, 162 F.2d 862, 864 (6 Cir. 1947) (holding that party cannot “waive a right
[to jury trial] when there is not basis for choice”). Accordingly, the *43 Court should reverse the judgment and
remand the case for a new trial, if it determines that OCSLA applies.

V. THE DISTRICT COURT'S RELIANCE ON EXPERT EVIDENCE OF LOST PRODUCTION DISCLOSED




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               IMMEDIATELY BEFORE TRIAL UNFAIRLY PREJUDICED HALLIBURTON.

The district court admitted and relied upon expert testimony disclosed by THEC shortly before trial in violation
of a prior court-ordered deadline. (TR 5) (denying Halliburton's motion in limine) THEC presented its calcula-
tions of lost production to Halliburton on February 15, 2000, a month before trial, even though the district
court's order required disclosure earlier and Halliburton had outstanding discovery requests covering this in-
formation. Halliburton objected to the lost production evidence at a pre-trial conference the next day, on Febru-
ary 16, and the district court stated that it would exclude the lost production evidence if it required expert testi-
mony.

Notwithstanding the district court's ruling, THEC's damages witness, James Westmoreland, testified in his de-
position that he relied upon the calculations of an engineer in order to prepare the lost production evidence. (CR
278; Ex. B at 42-43). On March 8, days before trial, THEC changed its damage calculation and claimed that lost
production amounted to $2,037,848.00. Halliburton renewed its objection to the evidence through a motion in
limine, seeking to enforce the district court's February 16 ruling and on grounds of unfair surprise. (CR 278).
The *44 district court, however, relied on the testimony when awarding $1,991.948.00 in damages for lost pro-
          [FN13]
duction.         In doing so, Halliburton was unfairly prejudiced and was denied a full and fair opportunity to
test this evidence and present conflicting testimony.

         FN13. The lost production figure was reduced based on an admission that $45,900.00 in operating costs
         could be required to produce the gas.

It is within the sound discretion of the trial court to exclude relevant evidence if its probative value is substan-
tially outweighed by the danger of unfair prejudice, delay, or unfair surprise. F&S Offshore, Inc. v. KO Steel
Castings, Inc., 662 F.2d 1104 (5th Cir. 1981). See Book v. Nordrill, 826 F.2d 1457, 1460-61 (5th Cir.1987)
(affirming district court's exclusion of testimony on an expert report exchanged one business day before trial);
Young v. City of New Orleans, 751 F.2d 794 (5th Cir. 1985) (affirming trial court's exclusion of medical testi-
mony where plaintiffs counsel failed to disclose the report until the last business day prior to trial).

Accordingly, the district court abused its discretion in admitting the late-produced evidence. The portion of the
district court's judgment concerning lost production should be reversed and THEC should not be permitted to re-
cover such damages. In the alternative, the Court should remand the issue to the district court to permit a full
and fair opportunity to litigate its merits.

                                                *45 CONCLUSION

Halliburton Energy Services, Inc., respectfully requests that the Court reverse and render judgment that The
Houston Exploration Company take nothing on their claims against Halliburton. In the alternative, Halliburton
requests that the Court reverse and remand to the district court for a determination of the validity of the indem-
nity contract or, in the alternative, for a determination of the comparative fault of the parties and Falcon, and
grant it whatever other relief to which it is entitled.

THE HOUSTON EXPLORATION COMPANY, Plaintiff-Appellee, v. HALLIBURTON ENERGY SERVICES,
INC., Defendant-Appellant.
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                                                            and that such breach caused damages in form of
                                                            contract price, remedial costs, and lost income, and
           Court of Appeal of Louisiana,                    by further alleging that breach was intentional or
                   Third Circuit.                           was result of gross fault. LSA-C.C.P. art. 856;
                                                            LSA-C.C. art. 3556, subd. 13 (Repealed).
   SEVARG CO., INC., Plaintiff-Appellant,
                  v.                                        [2] Pleading 302       34(1)
 ENERGY DRILLING CO., Defendant-Appellee.
                                                            302 Pleading
                   No. 90-668.                                  302I Form and Allegations in General
                  Dec. 18, 1991.                                   302k34 Construction in General
          Rehearing Denied Jan. 29, 1992.                                  302k34(1) k. In General. Most Cited
            Writ Denied April 3, 1992.                      Cases
                                                                 Pleadings must be construed reasonably so as
     Operator of oil well brought action against
                                                            to afford litigants their day in court, to arrive at
drilling contractor for breach of contract, alleging
                                                            truth, and to do substantial justice.
that contractor failed to comply with mud control
program and that such failure was intentional or            [3] Pleading 302       228.9
result of gross fault. The 7th Judicial District Court,
Parish of Concordia, W.C. Falkenheiner, J., par-            302 Pleading
tially maintained exception of no cause of action,             302V Demurrer or Exception
and operator appealed. The Court of Appeal,                        302k228.8 Peremptory Exceptions
Yelverton, J., held that: (1) operator stated viable                       302k228.9 k. In General; Relating to
cause of action, and (2) contract's indemnity provi-        Forms. Most Cited Cases
sions were null to extent that they, in advance, ex-           (Formerly 302k228.8)
cluded or limited contractor's liability for intention-          When it can reasonably do so, court should
al or gross fault that caused damage to operator.           maintain petition against peremptory exception so
                                                            as to afford litigant opportunity to present his evid-
    Reversed.                                               ence.
                  West Headnotes                            [4] Pleading 302       228.11

[1] Mines and Minerals 260          109                     302 Pleading
                                                               302V Demurrer or Exception
260 Mines and Minerals
                                                                  302k228.8 Peremptory Exceptions
   260III Operation of Mines, Quarries, and Wells
                                                                      302k228.11 k. No Cause of Action. Most
        260III(C) Rights and Liabilities Incident to
                                                            Cited Cases
Working
               260k109 k. Contracts for Testing or          Pleading 302       228.17
Working. Most Cited Cases
    Oil well operator had viable cause of action            302 Pleading
against drilling contractor for breach of contract             302V Demurrer or Exception
based on allegations that parties had contract, that              302k228.16 Hearing and Matters Considered
contractor breached contract by maintaining mud                         302k228.17 k. In General. Most Cited
weight and water loss rates at unacceptable levels,         Cases




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   (Formerly 302k228.16)                                          Indemnity provisions of oil well drilling con-
                                                             tract were null to extent that they, in advance, ex-
Pleading 302        228.19                                   cluded or limited liability of contractor for inten-
                                                             tional or gross fault that caused damage to operator.
302 Pleading
                                                             LSA-C.C. art. 2004.
   302V Demurrer or Exception
      302k228.16 Hearing and Matters Considered              [7] Pleading 302       18
            302k228.19 k. Admissions in General.
Most Cited Cases                                             302 Pleading
                                                                 302I Form and Allegations in General
Pleading 302        228.20                                            302k18 k. Certainty, Definiteness, and Par-
                                                             ticularity. Most Cited Cases
302 Pleading
                                                                  Malice, intent, knowledge, and other conditions
   302V Demurrer or Exception
                                                             of mind of person may be alleged generally. LSA-
       302k228.16 Hearing and Matters Considered
                                                             C.C.P. art. 856.
          302k228.20 k. Facts. Most Cited Cases
    Purpose of exception of no cause of action is to         *1279 Liskow & Lewis, Joseph C. Giglio, Lafay-
determine sufficiency in law of petition and is tri-         ette, for plaintiff-appellant.
able on face of papers; for purpose of determining
issues raised by such exception, well-pleaded facts          Gold, Weems, Bruser, Sues & Rundell, Dee D.
in petition and any annexed documents must be ac-            Drell, Alexandria, for defendant-appellee.
cepted as true.

[5] Pleading 302       228.11                                Before LABORDE, YELVERTON and KNOLL,
                                                             JJ.
302 Pleading
   302V Demurrer or Exception
                                                             YELVERTON, Judge.
      302k228.8 Peremptory Exceptions
                                                                  Sevarg Co., Inc., as operator, entered into a
           302k228.11 k. No Cause of Action. Most
                                                             contract with Energy Drilling Co., as contractor, for
Cited Cases
                                                             Energy to drill an oil well for Sevarg in Rapides
     General rule is that where petition states cause
                                                             Parish. The well was not a success. Sevarg filed
of action as to any ground or portion of demand,
                                                             suit against Energy for damages based on a breach
exception of no cause of action should be denied;
                                                             of contract. Sevarg alleged in its petition that the
only recognized exception to such rule is when sep-
                                                             breach was the failure to comply with the mud con-
arate and distinct causes of action are included in
                                                             trol program specified in the contract. The contract
one petition.
                                                             was attached to the petition. Sevarg alleged that the
[6] Indemnity 208       30(5)                                failure to comply with the terms of the contract res-
                                                             ulted in skin damage, which in turn inhibited pro-
208 Indemnity                                                duction. Sevarg alleged that Energy intentionally
   208II Contractual Indemnity                               maintained deficient mud properties in order to ac-
       208k26 Requisites and Validity of Contracts           celerate the drilling process and to save money for
           208k30 Indemnitee's Own Negligence or             itself. Sevarg further alleged that the skin damage
Fault                                                        was caused by the defendant through its intentional
             208k30(5) k. Contractors, Subcontract-          and bad faith breach of the contract. Damages were
ors, and Owners. Most Cited Cases                            itemized: (a) the price paid under the contract,
   (Formerly 208k3)                                          $193,100; (b) the costs of completing, equipping,




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operating, reworking the well and attempting to                  The sections of the contract said to preclude a
remedy the defective performance, $400,000 +; and           cause of action were 18.8, 18.14, and 18.15. These
(c) the lost production income and profits, $325,000        sections read as follows:
+.
                                                                 18.8 Underground Damage: Operator agrees
     The written contract contained certain indem-            to defend and indemnify Contractor for any and
nity obligations. Energy filed an exception of no             all claims against Contractor resulting from oper-
cause of action grounded on *1280 these obliga-               ations under this Contract on account of injury to,
tions in the contract. The trial judge partially main-        destruction of, or loss or impairment of any prop-
tained the exception by ordering the last two items           erty right in or to oil, gas, or other mineral sub-
of damages stricken from the petition, overruling             stance or water, if at the time of the act or omis-
the exception as to Item (a) of damages, the claim            sion causing such injury, destruction, loss, or
for $193,100 for the return of the price paid under           impairment, said substance had not been reduced
the contract.                                                 to physical possession above the surface of the
                                                              earth, and for any loss or damage to any forma-
     Sevarg appealed. We reverse the judgment                 tion, strata, or reservoir beneath the surface of the
which partially maintained the exception of no                earth.
cause of action, and overrule the exception in its
entirety.                                                        18.14 Consequential Damages: Neither party
                                                              shall be liable to the other for special, indirect or
     Energy also filed an exception of no right of            consequential damages resulting from or arising
action in the trial court. That exception was over-           out of this Contract, including, without limita-
ruled. By answer to the appeal, Energy appealed the           tion, loss of profit or business interruptions,
overruling of its exception of no right of action, as         however same may be caused.
well as the trial court's decision overruling the ex-
ception of no cause of action as to Item (a) of dam-            18.15 Indemnity Obligation: Except as other-
ages. We dismiss Energy's answer to the appeal.               wise expressly limited herein, it is the intent of
The rulings appealed by Energy were interlocutory             parties hereto that all indemnity obligations and/
and are not appealable. La.C.C.P. art. 2083; Bank of          or liabilities assumed by such parties under terms
Jena v. Clark, 452 So.2d 428 (La.App. 3rd Cir.),              of this Contract, including without limitation,
writ denied, 458 So.2d 476 (La.1984).                         paragraphs 18.1 through 18.14 hereof, be without
                                                              limit and without regard to the cause or causes
     EXCEPTION OF NO CAUSE OF ACTION                          thereof (including pre-existing conditions), the
     [1] Although the trial court did not give reasons        unseaworthiness of any vessel or vessels, strict li-
for judgment, its apparent reason for partially main-         ability, or the negligence of any party or parties,
taining the exception of no cause of action was the           whether such negligence be sole, joint or concur-
asserted ground for that exception: Energy based its          rent, active or passive. The terms and provisions
exception on the ground that Sevarg had agreed to             of paragraphs 18.1 through 18.14 shall have no
indemnify it for liability for the very damages               application to claims or causes of action asserted
claimed in this lawsuit. Energy argued that because           against Operator or Contractor by reason of any
the indemnity agreement was contained in the con-             agreement of indemnity with a person or entity
tract, and because the contract was attached to the           not a party hereto.
petition, on the face of the papers the plaintiff did
not have a cause of action for the damages itemized              [2][3][4] Pleadings must be construed reason-
as (b) and (c), above.                                      ably so as to afford litigants their day in court, to
                                                            arrive at the truth, and to do substantial justice.




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Kuebler v. Martin, 578 So.2d 113 (La.1991). When                 [7] Finally, Energy cannot interpose the indem-
it can reasonably do so, the court should maintain a        nity provisions of the contract as effectively can-
petition against a peremptory exception so as to af-        celing Sevarg's cause of action. Sections 18.8,
ford the litigant an opportunity to present his evid-       18.14, and 18.15 of the contract, given the inter-
ence. Id. The purpose of an exception of no cause           pretation espoused by Energy, are null, because
of action is to determine the sufficiency in law of         they, in advance, exclude or limit the liability of
the petition and is triable on the face of the *1281        Energy for intentional or gross fault that causes
papers; for the purpose of determining the issues           damage to Sevarg. La.C.C. art. 2004 provides in
raised by this exception, the well pleaded facts in         part:
the petition and any annexed documents must be
accepted as true. Id.                                         “Any clause is null that, in advance, excludes or
                                                              limits the liability of one party for intentional or
     [5] The general rule is that where a petition            gross fault that causes damage to the other party.”
states a cause of action as to any ground or portion
of a demand, the exception of no cause of action                Ramirez v. Fair Grounds Corp., 575 So.2d 811
should be denied. Ward v. Tenneco Oil Co., 564              (La.1991).
So.2d 814 (La.App. 3rd Cir.1990). The only excep-
                                                                 For the foregoing reasons, the judgment of the
tion to this rule that has been recognized is when
                                                            trial court is reversed, and the exception of no cause
separate and distinct causes of action are included
                                                            of action is overruled, at Energy's costs.
in one petition. Id.
                                                                REVERSED.
     Sevarg's petition clearly set forth a cause of ac-
tion for breach of contract. The three items of dam-        La.App. 3 Cir.,1991.
age stated were the alleged elements of damages             Sevarg Co., Inc. v. Energy Drilling Co.
suffered as a result of the breach. Sevarg alleged          591 So.2d 1278
the existence of a contract, attaching it to the peti-
tion. Sevarg alleged a breach, specifically that the        END OF DOCUMENT
mud weight and water loss rates were maintained at
unacceptable levels. Sevarg alleged damages as a
result of the breach, particularizing the damages.

     [6] In addition, Sevarg alleged that Energy's
breach was intentional or was the result of gross
fault. Malice, intent, knowledge and other condi-
tions of mind of a person may be alleged generally.
LSA-C.C.P. art. 856; Zeagler v. Town of Jena, 503
So.2d 1137 (La.App. 3rd Cir.1987). Therefore,
Sevarg's allegation that Energy's breach relative to
the mud supply program was intentional sets forth a
well-pleaded fact, as is the allegation that the
breach was the result of Energy's gross fault. Gross
fault is defined as “that which proceeds from inex-
cusable negligence or ignorance; it is considered as
nearly equal to fraud.” LSA-C.C. art. 3556(13). The
petition's allegations must be accepted as true when
ruling on an exception of no cause of action.




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                                                           total loss arising from one of the perils specified in
                                                           the policy. The company pleaded non assumpsit
        Supreme Court of the United States                 and payment, with leave to give in evidence the
            ORIENT MUT. INS. CO.                           matters set forth in its affidavit of defense, which
                       v.                                  was adopted as a special plea. Those matters will
              ADAMS and another.                           sufficiently appear from the facts which will now
                                                           be stated.
                 October 24, 1887.
                                                                According to the bill of exceptions, there was
    In Error to the Circuit Court of the United
                                                           evidence in behalf of the plaintiffs tending to show
States for the Western District of Pennsylvania.
                                                           that, without willfulness or design on the part of her
      **68 This writ of error brings up for review a       captain, the vessel was carried, April 28,
judgment against the Orient Mutual Insurance               1880,-before the expiration of the policy,-over the
Company of New York, upon a policy whereby that            falls of the Ohio river, at Louisville, Kentucky, and
company insured the defendants in error in the sum         sunk, receiving damage in a sum equal to 50 per
of $5,000 on the steamer Alice, of the agreed valu-        cent. of her agreed value; and that on the eighteenth
ation of $27,000, against perils ‘of the seas, lakes,      of May, 1880, it being apparently impracticable to
rivers, canals, fires, and jettisons that should come      float her off and repair her, the vessel was aban-
to the damage of said vessel or any part thereof.’         doned to the insurers as a total loss, and the sum
The policy provided, among other things, that the          due under the policy demanded.
company should be free from all claim for loss or
                                                                The evidence introduced by the company ten-
damage ‘arising from or caused by * * * barratry, *
                                                           ded to establish these facts: The master of the Alice
* * or occasioned by the bursting of boilers, the
                                                           was C. F. Adams, one of the assured, and a son of
collapsing of flues, explosion of gunpowder, the de-
                                                           the other plaintiff. Before the sailing of the vessel
rangement or breaking the engine or machinery, or
                                                           he had the reputation of being a ‘drinking’ man,
any consequence resulting therefrom, **69 unless
                                                           and of that fact his father was informed. On her ar-
the same be caused by unavoidable external viol-
                                                           rival at Louisville, on the morning of April 28,
ence;’ that there should be ‘no abandonment as for
                                                           1880, the master gave the usual signal (which was
a total loss on account of said vessel grounding or
                                                           transmitted to the engineer) that he had no present
being otherwise detained, or in consequence of any
                                                           need of the engines. The joint of the mud-value was
loss or damage, unless the injury sustained be equi-
                                                           out of order, threatening damage to the freight, and
valent to fifty per centum of the agreed value in this
                                                           making repairs necessary. The steam was thereupon
policy; that the aforesaid vessel is, and shall be at
                                                           blown off in order to make repairs. The captain,
all times during the continuance of this policy, tight
                                                           coming on board, saw that repairs were going on,
and sound, sufficiently found in tackle and appur-
                                                           and knew that the mud-valve connected with the
tenance thereto, competently provided with mas-
                                                           boiler needed repairs. The work of repairing made
ters, officers, and crew, and in all things and means
                                                           in necessary to blow off steam. The captain sub-
for the safe employment thereof;’ and that ‘in no
                                                           sequently went on deck, and, without making in-
case whatever shall the assured have the right to
                                                           quiry of the engineer as to the condition of the
abandon until it shall be ascertained that the recov-
                                                           steam or receiving any notice from him that the
ery and repairs of said vessel are impracticable, nor
                                                           steam was ready, tapped his bell at 8:30 A. M. as a
sell the wreck, or any portion thereof, without the
                                                           signal to let go the boat. At that time there was not
consent of the company.’ The insured sued as for a
                                                           sufficient steam to propel the vessel. It is the cus-




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tom of the river, for the master, before giving the        captain before exhausting steam, and that it was not
order to let go, to inquire of the engineer as to the      the custom for the captain to have notice from the
condition of the steam, and await his reply that           engineer that steam was ready before giving the or-
steam is ready before giving the order to let go. At       der to let go.’ The plaintiffs, in further reply,
the time of the accident the vessel was in a position      offered to prove by the plaintiff C. F. Adams ‘that
to be carried over the falls, if she was let go without    the steamer, at the time of loss, was insured in sev-
steam on. Upon being let go she was carried by the         en companies for a total insurance of eighteen thou-
current down the river and over the falls, and, strik-     sand dollars, and, after the notice of abandonment,
ing a pier, was badly damaged; in consequence of           six of them, representing an insurance of $13,000,
which she sunk soon thereafter below the bridge in         settled with the insured, and, as part of the settle-
about eighteen feet of water. There was also evid-         ment, released to the latter all interest in the steam-
ence in behalf of the company, tending to show that        er as she lay; that, after the marshal's sale of the
the vessel was but slightly injured, and, in the           boat, the plaintiffs claimed to own the 13-18 of the
spring of 1881, was floated and removed from the           proceeds of sale, and that when the claim for the
place at which she sunk, and put in the condition in       entire proceeds was made it was, as to form, under
which she was before sinking, for a sum little less        the advice of counsel; but the plaintiffs did not in-
than $6,000; that when she was raised the plaintiffs       tend thereby to waive the abandonment theretofore
refused to pay the expense thereof; that after May         made, or to keep, as against the Orient Insurance
18, 1880, the plaintiffs sold her furniture and appar-     Company, the 5-18 of the proceeds of sale.’ This
el without the company's consent, and that on or           was offered as bearing upon the question of waiver
about the twenty-eighth of April, 1880, they put her       of abandonment of the Alice; to which offer the de-
into the possession of the Cincinnati Underwriters'        fendant objected; but the objection was overruled,
Wrecking Company, which thereafter had the right           and the testimony of the witness admitted. The de-
of possession until the vessel was seized by the           fendant excepted to the overruling of the objection,
United States marshal under process, in December,          and to the admission of the testimony.
1880, upon maritime liens. To further maintain the
issues on its **70 behalf the defendant-the bill of                          West Headnotes
exceptions states-produced in evidence an exempli-
                                                           Insurance 217        2254
fication of the record of a certain cause, entitled ‘
Cincinnati Underwriters' Company against The               217 Insurance
Steamer Alice,’ etc., in the United States district           217XVI Coverage--Property Insurance
court for the district of Kentucky, as tending to                217XVI(D) Ocean Marine Insurance
show that after the eighteenth May, 1880, the                       217k2250 Evidence
claimants, by the answers and petitions in that suit,                  217k2254 k. Admissibility. Most Cited
claimed to be the owners of the vessel, her furniture      Cases
and apparel; that the Alice was subject to maritime           (Formerly 217k658)
liens, in a considerable sum, existing on the eight-
eenth of May, 1880; that she was sold under a de-          Insurance 217        2255
cree to satisfy the same, the plaintiffs receiving a
part of the proceeds of sale; that the plaintiffs ad-      217 Insurance
mitted that she was slightly damaged, and they had            217XVI Coverage--Property Insurance
refused, after she was raised, to pay the expense of             217XVI(D) Ocean Marine Insurance
raising her. Thereupon the plaintiffs offered evid-                 217k2250 Evidence
ence tending to show that ‘it was the custom of the                      217k2255 k. Weight and Sufficiency.
river that the engineer should give notice to the          Most Cited Cases




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   (Formerly 217k492.1)                                     “the derangement or breaking of the engine or ma-
     The fact that a vessel abandoned as a total loss       chinery, or any consequence resulting therefrom.”
was recovered and repaired a year later is not “the         Held, that the “consequence” referred to was an im-
best evidence” that it was practicable to recover and       mediate or proximate, and not a remote, con-
repair it at the time of the loss.                          sequence, and that, even if the mud valve could be
                                                            considered part of the machinery, the derangement
Insurance 217        2230                                   of it, which appeared to have been repaired before
                                                            the order to let go was given, was not a proximate
217 Insurance
                                                            cause of the loss.
    217XVI Coverage--Property Insurance
       217XVI(D) Ocean Marine Insurance                     Insurance 217       2237
           217k2218 Risks Covered and Exclusions
                 217k2230 k. Proximate Cause. Most          217 Insurance
Cited Cases                                                    217XVI Coverage--Property Insurance
    (Formerly 217k413)                                             217XVI(D) Ocean Marine Insurance
     Upon the arrival of the insured steamboat at                      217k2233 Losses and Amounts Payable
Louisville, Ky., it was found that the joint of the                            217k2237 k. Abandonment. Most
mud valve was out of order. Steam was blown off             Cited Cases
to make repairs, and upon the return of the captain,           (Formerly 217k470)
who knew that repairs were going on, there was not               A policy provided that there should be “no
sufficient steam to propel the vessel. The captain,         abandonment as for a total loss, * * * unless the in-
without inquiring as to the condition of the steam,         jury sustained be equivalent to 50 per cent. of the
according to the custom of the river, gave the signal       agreed value.” That value was $27,000. The vessel
to let go. This was done, and the boat was carried          was carried over the falls at Louisville, Ky., and
by the current down the river, and over the falls,          sunk, April 28, 1880. She was abandoned as a total
and, striking a pier, was sunk, and abandoned as a          loss May 18, 1880. The company raised her in the
total loss. At the time of the accident the vessel was      spring of 1881, and put her in the condition she was
in a position to be carried over the falls if she was       in before the accident, at an expense of less than
let go without steam on. Held that, the proximate           $6,000. Held, that the right to abandon was to be
cause of the loss being a peril of the river against        determined by the facts as they existed May 18,
which the vessel was insured, the misconduct of the         1880, and that if it was then impracticable to recov-
master was no defense to an action on the policy, in        er and repair the boat, the place where she lay, the
the absence of proof that it was affected by fraud or       uncertainty as to when, if at all, a rise would come
design.                                                     to float her off, and all the other attendant circum-
                                                            stances, being taken into consideration, the sub-
Insurance 217        2230                                   sequent floating off of the vessel would not change
                                                            the result.
217 Insurance
   217XVI Coverage--Property Insurance                      *68 James Lowndes, for plaintiff in error.
       217XVI(D) Ocean Marine Insurance
          217k2218 Risks Covered and Exclusions             D. T. Watson, for defendants in error.
                217k2230 k. Proximate Cause. Most
Cited Cases
                                                            Mr. Justice HARLAN, after stating the facts in the
   (Formerly 217k413)
                                                            foregoing language, delivered the opinion of the
     A policy provided that the company should be
                                                            court.
free of all claim for loss or damages occasioned by




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     *71 The first assignment of error relates to the       which was a case of insurance against fire on land,
instructions upon the general question whether the          the court said that ‘a loss by fire, occasioned by the
insured, by anything done or *72 omitted to be              mere fault *73 or negligence of the assured, or his
done, had defeated their right to recover on the            servants or agents, and without fraud or design, is a
policy. The court, at the request of the plaintiffs,        loss within the policy, upon the general ground that
and against the objections of the company, instruc-         the fire is the proximate cause of the loss, and also
ted the jury that ‘where a loss under a policy of in-       upon the general ground that the express exceptions
surance, such as the one in suit, happens from the          in policies against fire leave this within the scope of
perils of the river, it is not a defense to the insur-      the general terms of such policies.’ In the sub-
ance company that the remote cause of loss was the          sequent case of Waters v. Insurance Co., 11 Pet.
negligence of the insured or his agents;’ and that          224, it was said in reference to the case of Insur-
‘the mere fault or negligence of the captain of the         ance Co. v. Lawrence, that ‘the court then thought
vessel by which the Alice was drifted into the cur-         that in marine policies, whether containing the risk
rent, and drawn over the falls, will not constitute a       of barratry or not, a loss whose proximate cause
defense for the company, unless the jury should be          was a peril insured against, is within the protection
satisfied that the captain acted fraudulently or will-      of the policy, notwithstanding it might have been
fully, with design in so doing.’ The theory of the          occasioned remotely by the negligence of the mas-
defense was disclosed by the request to instruct the        ter and mariners.’ To the same effect are Insurance
jury that if they ‘are satisfied from the evidence that     Co. v. Coulter, 3 Pet. 237; Insurance Co. v. Sher-
the accident and loss was caused by the misconduct          wood, 14 How. 352; and Insurance Co. v. Trans-
of Capt. Charles F. Adams, that then the plaintiff          portation Co., 117 U. S. 325, 6 Sup. Ct. Rep. 750,
cannot recover.’ This request was denied, but the           1176. But it is insisted that the court should have
court said to the jury: ‘This is true if the jury is sat-   granted the request of the company, to the effect
isfied that the conduct of the captain is properly          that it was not liable if the accident and loss were
characterized. If he designedly or recklessly ex-           caused by the ‘misconduct’ of the master. Had that
posed the vessel to the dangers of navigation at the        request been granted, in the form asked, the jury
falls, knowing that she was not in a condition to en-       might have supposed that the company was relieved
counter them, he was guilty of misconduct such as           from liability if the master was chargeable with
would relieve the defendant from liability; but if the      what is sometimes described as gross negligence, as
proximate cause of the loss was the stranding of the        distinguished from simple negligence. Hence the
vessel, this was covered by the policy, and the de-         court properly said, in effect, that the misconduct of
fendant is not relieved from liability by showing           the master, unless affected by fraud or design,
that the loss was remotely ascribable to the negli-         would not defeat a recovery on the policy. The
gence of the captain or the other officers or em-           principle upon which the court below acted was
ployes.’ We do not perceive anything **71 in these          that expressed by Chief Justice GIBSON in Insur-
instructions of which the insurance company can             ance Co. v. Insley, 7 Pa. St. 229, when he said that
rightfully complain. The court proceeded upon the           ‘public policy requires no more than that a man be
ground that, if the efficient and, therefore, proxim-       not suffered to insure against his own knavery,
ate cause of the loss was a peril of the river, the         which is not to be protected or encouraged by any
company could not escape liability by showing that          means; for though the maxim respondeat superior
the loss was remotely caused by mere negligence in          is applicable to the responsibility of a master for the
not ascertaining, before giving the signal to let the       acts of his servants, yet the insured, so long as he
vessel go, that she had steam enough for her proper         acts with fidelity, is answerable neither for his ser-
management. The court committed no error in so              vants nor for himself.’ Williams v. Insurance Co., 3
ruling. In Insurance Co. v. Lawrence, 10 Pet. 517,          Sum. 276.




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     The next assignment of error is that the court        the ground of the exercise of that right. We do not
erred in ruling that the loss was not within the ex-       think the court mistook the meaning of the contract,
press exceptions of the *74 policy. The specifica-         or erroneously instructed the jury. The jury were
tion, under this assignment, is that the loss was the      distinctly told that the right to *75 abandon de-
consequence of the derangement of the mud-valve,           pended upon the fact that it was impracticable to re-
and, therefore, within the exception that the com-         cover and repair the vessel. But how were the jury
pany should be free of all claim for loss or damage        to determine the existence of that fact? The contract
occasioned by ‘the derangement or breaking of the          provided as a condition precedent to the right to
engine or machinery, or any consequence resulting          abandon that it be ‘ascertained that the recovery
therefrom.’ The ‘consequence’ here referred to is          and repairs of said vessel are impracticable.’ But in
an immediate or proximate, not a remote, con-              what mode ascertained? How was the insured to de-
sequence. Even if the mud-valve is a part of the ma-       termine whether the recovery and repair of the ves-
chinery of the vessel, within the meaning of the           sel was impracticable at the time of abandonment?
policy, its derangement cannot be said to have been        Why, manifestly, as the jury were told, by taking
the proximate cause of the loss. So far as the bills       into consideration where the vessel lay, the uncer-
of exception show, the repairs of the mud-valve had        tainty as to when (if at all) a rise would come to
been completed before the order was given to let           float her off, and all the other attendant circum-
the vessel go.                                             stances. While the damage must at the time have
                                                           been equivalent to 50 per cent. of the agreed value,
     It is also contended that the court erred in its      and while the fact that the repairs subsequently
instructions as to the abandonment of the vessel by        made amounted to only $6,000 tended to show that
the plaintiffs. The court told the jury, in substance,     the actual damage was not so great as claimed, that
that the assured were entitled to abandon the vessel,      fact is not decisive of the right to abandon. For as
if, on May 18, 1880, it was impracticable to recover       said in Bradlie v. Insurance Co., 12 Pet. 378, 397;
and repair it, and if the damage from the perils of        ‘If the abandonment when made is good, the rights
the river amounted to 50 per cent. of the agreed           of the parties are definitely fixed, and do not be-
value; that the right to abandon was to be determ-         come changed by subsequent events; if, on the oth-
ined from the facts as they existed on that day; that      er hand, the abandonment when made is not good,
if the right then existed, and the plaintiffs availed      subsequent circumstances will not affect it, so as,
themselves of it, the subsequent floating off of the       retroactively, to impart to it a validity which it had
vessel in the winter or spring of 1881 would not           not at the origin.’ Rhinelander v. Insurance Co., 4
**72 change the result; and that in determining            Cranch, 29; Marshall v. Insurance Co., Id., 202.
whether the injuries to the vessel from the perils of      Again: ‘In many cases of stranding, the state of the
the river were to the extent of 50 per cent. of her        vessel at the time may be such, from the imminency
agreed value, the jury should take into considera-         of the peril, and the apparent extent of expenditures
tion the ‘place where the Alice lay, and the uncer-        required to deliver her from it, as to justify an aban-
tainty as to when (if at all) a rise would come to         donment; although by some fortunate occurrence
float her off, and all other circumstances in the          she may be delivered from her peril without an ac-
case.’ The argument in behalf of the company is            tual expenditure of one-half of her value after she is
that these instructions disregarded the express terms      in safety. Under such circumstances, if, in all hu-
of the contract between the parties; that while the        man probability, the expenditures which must be
rule laid down by the court made the probability of        incurred to deliver her from her peril are, at the
the stipulated loss, at the time of abandonment, the       time, so far as any reasonable calculations can be
test of the right to abandon, the policy made the ac-      made, in the highest degree of probability, beyond
tual existence of the stipulated proportion of loss        half value, and if her distress and peril be such as




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would induce a considerate owner, uninsured, and
upon the spot, to withhold any attempt to get the
vessel off, because of *76 such apparently great ex-
penditures, the abandonment would doubtless be
good.’ In the same case the court quote with ap-
proval the following language of Kent: ‘The right
of abandonment does not depend upon the cer-
tainty, but on the high probability, of a total loss,
either of the property or of the voyage, or both. The
insured is to act, not upon certainties, but upon
probabilities, and if the facts present a case of ex-
treme hazard, and of probable expense exceeding
half the value of the ship, the insured may abandon;
though is should happen that she was afferwards re-
covered at a less expense.’ 3 Kent, Comm. 321.

     In this connection it is assigned for error that
the court erred in ruling that the fact of the actual
repair of the vessel for less than 50 per centum of
her agreed value was not evidence relevant to the
issue as to the amount of damage done to the Alice.
This statement as to the ruling of the court is
scarcely accurate. The court refused, and properly,
to tell the jury that the fact that the vessel was re-
covered and repaired was ‘the best evidence’ that it
was practicable to recover and repair it. That fact,
however, went to the jury as evidence, and they
were at liberty, under the instructions, to give it due
**73 weightin connection with all the other circum-
stances, in determining whether the recovery and
repair of the vessel were, within the principles an-
nounced in other instructions, impracticable at the
time of the abandonment.

    Upon the whole case we are of opinion that no
error of law was committed to the prejudice of the
company, and the judgment is affirmed.

U.S. 1887
Orient Mut Ins Co v. Adams
123 U.S. 67, 8 S.Ct. 68, 31 L.Ed. 63

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                                                                Where water from river leaked into car float,
                                                           causing car float to list and settle, and the listing
  United States Court of Appeals Second Circuit.           and settling caused some of the railroad cars on the
 NEW YORK, NEW HAVEN AND HARTFORD                          car float with their cargo to slide into the river, loss
  RAILROAD COMPANY, Libelant-Appellant,                    resulted from a “peril of the seas” within meaning
                         v.                                of policies of marine insurance.
William Stanger GRAY, one of the Lloyd's under-
writers, and Orion Insurance Company, Ltd., Insur-         [2] Insurance 217        2220(1)
ance Company Member of the Institute of London
       Underwriters, Respondent-Appellees.                 217 Insurance
                                                               217XVI Coverage--Property Insurance
               No. 86, Docket 24187.                              217XVI(D) Ocean Marine Insurance
               Argued Dec. 7, 1956.                                  217k2218 Risks Covered and Exclusions
               Decided Jan. 16, 1957.                                   217k2220 Perils of the Sea
                                                                              217k2220(1) k. In General. Most
     Insured brought action against insurers on two        Cited Cases
policies of marine insurance to recover for loss sus-          (Formerly 217k403)
tained when railroad cars with insured goods rolled             Loss results from a “peril of the seas” within
off car float as result of listing of car float, which     meaning of a policy of marine insurance, if damage
had taken on water. The United States District             is done by fortuitous action of the sea.
Court for the Southern District of New York, Cash-
in, J., 144 F.Supp. 356, entered a decree dismissing       [3] Insurance 217        2220(1)
the libel, and the insured appealed. The Court of
Appeals, Frank, Circuit Judge, held that alleged           217 Insurance
gross negligence of insured in placing railroad cars          217XVI Coverage--Property Insurance
and insured goods on car float, which had taken on                217XVI(D) Ocean Marine Insurance
water and was listing, so that cars slid into river,                 217k2218 Risks Covered and Exclusions
did not constitute ‘wilful misconduct’ which would                      217k2220 Perils of the Sea
bar recovery on policies on marine insurance.                                  217k2220(1) k. In General. Most
                                                           Cited Cases
    Decree reversed with direction to enter a de-             (Formerly 217k403)
cree in favor of insured.                                       Fact that the sea is calm when loss occurs does
                                                           not prevent the loss from resulting from a “peril of
                  West Headnotes                           the seas” within meaning of policy of marine insur-
                                                           ance.
[1] Insurance 217       2220(1)
                                                           [4] Insurance 217        2231
217 Insurance
   217XVI Coverage--Property Insurance                     217 Insurance
      217XVI(D) Ocean Marine Insurance                        217XVI Coverage--Property Insurance
         217k2218 Risks Covered and Exclusions                   217XVI(D) Ocean Marine Insurance
            217k2220 Perils of the Sea                              217k2218 Risks Covered and Exclusions
                 217k2220(1) k. In General. Most                         217k2231 k. Negligence. Most Cited
Cited Cases                                                Cases
   (Formerly 217k403)                                         (Formerly 217k416)




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Insurance 217       2232                                   217 Insurance
                                                              217XVI Coverage--Property Insurance
217 Insurance                                                     217XVI(D) Ocean Marine Insurance
   217XVI Coverage--Property Insurance                               217k2218 Risks Covered and Exclusions
      217XVI(D) Ocean Marine Insurance                                    217k2230 k. Proximate Cause. Most
         217k2218 Risks Covered and Exclusions             Cited Cases
                 217k2232 k. Wrongful Acts. Most              (Formerly 217k413)
Cited Cases                                                    In action on policies of marine insurance, the
   (Formerly 217k416)                                      niceties of the doctrine of so-called “proximate
    Negligence, whether or not gross, but for which        cause,” employed in negligence suits, applied in a
accident would not have occurred, will not serve as        limited manner only.
a defense to an action on a policy of marine insur-
ance, and only wilful misconduct, measuring up to          [8] Insurance 217        2255
knavery or design, will suffice.
                                                           217 Insurance
[5] Insurance 217       2232                                   217XVI Coverage--Property Insurance
                                                                  217XVI(D) Ocean Marine Insurance
217 Insurance                                                        217k2250 Evidence
    217XVI Coverage--Property Insurance                                   217k2255 k. Weight and Sufficiency.
       217XVI(D) Ocean Marine Insurance                    Most Cited Cases
          217k2218 Risks Covered and Exclusions                (Formerly 217k417.1, 217k665(4))
                 217k2232 k. Wrongful Acts. Most                In action on policies of marine insurance for
Cited Cases                                                loss sustained when insured's railroad cars rolled
    (Formerly 217k417)                                     off car float and into river as result of listing of car
     Alleged gross negligence of insured in placing        float, evidence was insufficient to sustain finding
railroad cars and insured goods on car float, which        that gross negligence of insured was the sole cause
had taken on water and was listing, so that cars slid      of the loss.
into river, did not constitute “wilful misconduct”
which would bar recovery on policies of marine in-         [9] Insurance 217        2255
surance.
                                                           217 Insurance
[6] Admiralty 16       118.7(1)                               217XVI Coverage--Property Insurance
                                                                  217XVI(D) Ocean Marine Insurance
16 Admiralty                                                         217k2250 Evidence
   16XII Appeal                                                           217k2255 k. Weight and Sufficiency.
      16k118 Review                                        Most Cited Cases
          16k118.7 Findings of Court                          (Formerly 217k417.1, 217k665(4))
              16k118.7(1) k. In General. Most Cited             In action on policies of marine insurance for
Cases                                                      loss sustained when insured's railroad cars rolled
    Determinations by judge of federal District            off car float and into river as result of listing of car
Court of the existence of negligence and wilful mis-       float, evidence was insufficient to sustain finding
conduct were not findings of fact but were legal           that loss was inevitable because of the way the car
conclusions, and were therefore not binding on             float was loaded and her condition.
Court of Appeals on appeal.
                                                           [10] Insurance 217         2997
[7] Insurance 217       2230




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217 Insurance                                                    A typewritten rider read in part as follows:
   217XXIV Avoidance                                        ‘$500,000 in all any one accident with limits as be-
       217XXIV(B) Particular Kinds of Insurance             low on all goods, wares, merchandise, baggage, and
          217k2995 Ocean Marine Insurance                   other property; including articles excepted in the
               217k2997 k. Seaworthiness of Vessel.         printed part of this policy; and on advanced charges
Most Cited Cases                                            and on freight charges up to point of occurrence of
   (Formerly 217k273)                                       loss; belonging to the assured or held by it in trust
     In action on policies of marine insurance for          or custody as carrier or forwarder, and for which it
loss sustained when insured's railroad cars rolled          may be liable, while same is in or on cars on Floats
off car float and into river as result of listing of car    owned or employed by said Railroad Company,
float, insurers correctly disclaimed the defense of         and/or while said cars are being hauled on or off
an implied warranty of seaworthiness, where the             said vessels; and on cars belonging to the assured
policies were time policies.                                or in its use or possession, while the same are on
                                                            said floats or being hauled on or off of said vessels.
[11] Insurance 217         2997                             While said floats are conveying said cars in and
                                                            through the waters of New York Harbor, or to and
217 Insurance
                                                            from Mott Haven on the Harlem River and, to and
    217XXIV Avoidance
                                                            from Oak Point on the East River, or to and from
       217XXIV(B) Particular Kinds of Insurance
                                                            Jersey City on the North River, or while lying in
          217k2995 Ocean Marine Insurance
                                                            said harbor, or in any of said waters, or while being
               217k2997 k. Seaworthiness of Vessel.
                                                            loaded or unloaded. * * * This policy covers acci-
Most Cited Cases
                                                            dents occurring between 1st January, 1951 and the
    (Formerly 217k273)
                                                            31st September, 1951, both days inclusive, Eastern
     Rule codified in the English Marine Insurance
                                                            Standard Time.’
Act that where, with privity of assured, ship is sent
to sea in an unseaworthy state, insurer is not liable            Appellant brought suit against appellees in ad-
for any loss attributable to unseaworthiness; did not       miralty on the policies. After a trial, the judge
relieve insurers from liability for loss which oc-          entered a decree dismissing the libel. His findings
curred when railroad cars and insured goods rolled          of fact and legal conclusions and opinion read as
off car float and into river, where the car float had       follows: ‘On February 9, 1951 libelant's steel Car-
not been “sent to sea” but was still moored at the          float No. 60, a three track float, approximately 327
time of the accident.                                       feet long, with a depth of 10 feet 6 inches, a draft
                                                            (light) of 3 feet and divided into 17 separate com-
     *461 The appellees, underwriters, issued to ap-
                                                            partments, was located in the Harlem River Basin
pellant two policies of marine insurance,*462
                                                            off libelant's Mott Haven Yard. On the carfloat
identical in form, covering railroad cars and their
                                                            were fastened thirteen empty gondola cars, five on
contents while afloat on appellant's carfloats. The
                                                            the starboard side, five on the portside and three in
printed portion of each policy stated the coverage in
                                                            the middle track. On the morning of February 9th
part as follows: ‘Touching the Adventures and Per-
                                                            libelant's employees commenced loading the gon-
ils which we the Assurers are contented to bear and
                                                            dola cars with steel concrete reinforcing rods.
do take upon us in this Voyage, they are, of the
                                                            Sometime after 2:00 P.M. libelant's employees be-
Seas * * * and all other Perils, Losses and Misfor-
                                                            came aware that the bow of the carfloat was settling
tunes that have or shall come to the Hurt, Detriment
                                                            and libelant's Assistant Marine Superintendent and
or Damage of the said goods and Merchandises and
                                                            Marine Supervisor, among others, were duly in-
Ship, &c., or any Part thereof * * *’
                                                            formed.




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     ‘Sometime after 3:00 o'clock the Marine Super-             ‘It is our view that this case is determined by
visor inspected the float and found water in the           the fact that the losses incurred were not caused by
various compartments as follows: Compartments              ‘Perils of the Sea.’ On the facts in this case it is the
No. 1- 4 feet; No. 2- 1 1/2 feet; No. 4- 2 feet; No.       Court's opinion that the immediate cause, and the
7- 1 foot; No. 8- 2 1/2 feet; No. 12- 2 feet. The car-     only cause of the accident, was libelant's gross neg-
float was needed the next day in its regular transfer      ligence. On February 9th, as early as 3:00 P.M., li-
business and the loading operation was continued           belant's managing agents had full knowledge of a
until 6:00 P.M. at which time 801 tons of steel had        situation which merely had to continue to exist in
been loaded into twelve of the thirteen cars on the        order to result in the accident which eventually did
float. One of the cars located on the portside of the      occur and could have been worse. Libelant's Marine
stern end of the float was empty, and the one along-       Supervisor and Assistant Marine Superintendent
side of it was only partly filled. Libelant's Marine       with full knowledge of the facts, and in the face of
Supervisor and Assistant Marine Superintendent,            a series of warnings, apparently in the interest of
when loading operations ceased, knew the carfloat          speed deliberately continued to load a listing car-
was down at the bow with a free-board of less than         float with a heavy cargo of steel. The only order
ten inches with a list to the port; had water in four      which we believe they gave in the interest of safety
of its compartments and that it was scheduled to be        was that the carfloat was to be towed stern first.
towed to Oak Point sometime during the night.
                                                                ‘The libelant in this case went to great pains to
     ‘Libelant's Marine Supervisor and Assistant           show that a certain amount of leakage in a vessel of
Marine Superintendent went home for the day at             the Carfloat No. 60 type was usual and to be expec-
6:00 P.M. leaving instructions that the carfloat was       ted. There is not a scintilla of evidence that any-
to be towed stern end first. During the course of the      thing happened other than this leakage from the
evening the carfloat's bow continued to settle and         time the loading of the steel ceased and the time
this fact was reported to libelant's office.               when the vessel lost its cargo, which could properly
                                                           be described as a ‘Peril of the Sea.’ Libelant, by
     ‘Sometime after 11:00 o'clock a floatman (from        6:00 P.M., through the gross negligence of its man-
libelant's tug Transfer II which had been dispatched       aging employees had rendered the Carfloat No. 60
to move the float) discovered that the forward end         unseaworthy and had placed the railroad cars and
of the float was under water which was pouring             the goods insured by respondents in such a perilous
through the ventilators into the *463 No. 3 com-           position that loss was inevitable in the absence of
partment. The tug did not attempt to move the float        remedial action. Libelant's failure to take any action
in this condition. At about 12:30 A.M. on February         in the face of repeated warnings from 6:00 P.M. to
10th the gondola cars on the starboard side of the         12:30 A.M. was a continuation of the same type of
float broke their chains and rolled forward off the        negligent conduct which created the situation.
float into the river and five cars on the portside fell
off the side of the float by reason of the backlash.           ‘Although it is the tendency of the courts to
According to stipulation the damage to the cargo           construe insurance policies strictly against the in-
and railroad cars amounted to $42,438.85. An ex-           surer, Henjes v. Aetna Ins. Co. (2 Cir.), 132 F.2d
amination of the float after the accident revealed a       715, the insured cannot, by their own wilful mis-
small hole in the port bow corner and a number of          conduct, enlarge the insurers' risk to include the or-
loose rivets in the lower bow angle.                       dinary and inevitable action of the sea with respect
                                                           to an unseaworthy vessel. Union Insurance Co. v.
    ‘Conclusions of law.                                   Smith, 124 U.S. 405, 8 S.Ct. 534, 31 L.Ed. 497;
                                                           Western Assurance Co. of Toronto, Canada v.
    ‘Libel is dismissed.




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Shaw, 3 Cir., 1926, 11 F.2d 495.’                           68, 31 L.Ed. 63, the master, before his vessel had
Kirlin, Campbell & Keating, New York City, Ed-              steam up, negligently gave orders to cast off into
ward L. Smith, New York City, for libelant-appel-           the current of a river; as a result, the vessel was car-
lant.                                                       ried over a waterfall and sank. In affirming a judg-
                                                            ment, on a verdict in favor of the plaintiffs, under a
Dow & Symmers, New York City, for respondent-ap-            policy insuring them against ‘perils of the seas,’ the
pellees, Daniel L. Stone-bridge and Raymond W.              Court said, 123 U.S. at page 73, 8 S.Ct. at page 71:
Mitchell, New York City, of counsel.                        ‘But it is insisted that the court should have granted
                                                            the request of the company, to the effect that it was
Before CLARK, Chief Judge, and FRANK and                    not liable if the accident and loss were caused by
LUMBARD, Circuit Judges.                                    the ‘misconduct’ of the master. Had that request
                                                            been granted, in the form asked, the jury might
FRANK, Circuit Judge.                                       have supposed that the company was relieved from
     The trial judge denied recovery because he held        liability if the master was chargeable with what is
that the loss incurred was not caused by any ‘peril         sometimes described as gross negligence, as distin-
of the seas.’ As his findings show, the loss occurred       guished from simple negligence. Hence the court
as follows: The ‘sea’ (i.e., water from the river)          properly said, in effect, that the misconduct of the
leaked into the carfloat; this caused the vessel to list    master, unless affected by fraud of design, would
and settle; this, in turn, caused some of the rail-         not defeat a recovery on the policy. The principle
road's cars and their cargo to slide into the river;        upon which the court below acted was that ex-
then the vessel lurched and other cars and their            pressed by Chief Justice Gibson in American Ins.
cargo also fell into the river. The judge held that         Co. v. Insley, 7 Pa.St. 223, 230, when he said that
railroad's employees had been guilty of ‘gross neg-         ‘public policy requires no more than that a man be
ligence’ which was ‘the immediate cause and the             not suffered to insure against his own knavery,
only cause of the accident.’ The ‘gross negligence’         which is not to be protected or encouraged by any
                                                                    FN3A
consisted of taking a chance that the carfloat could        means;          for though the maxim respondeat su-
be towed in spite of its known condition.                   perior is applicable to the responsibility of a master
                                                            for the acts of his servants, yet the insured, so long
     *464 [1][2][3][4][5] The loss resulted from a          as he acts with fidelity, is answerable neither for his
‘peril of the seas.’ ‘It is enough that damage be           servants nor for himself.‘‘ See also Dudgeon v.
done by the fortuitous action of the sea. For in-           Pembroke, 2 A.C. 284; Trinder, Anderson & Co. v.
stance, where cargo was damaged by the incursion            Thames and Mersey Mar. Ins. Co. (1895), 2 Q.B.
of seawater through a hole in a pipe gnawed by rats,        114; Waters v. Merchants' Louisville Ins. Co., 11
the House of Lords held this to be a peril of the           Pet. 213, 221-223, 9 L.Ed. 691.
       FN1
seas.'     That the sea is calm makes no difference.
FN2                                       FN3
      Negligence, whether or not ‘gross,'      but for          In Olympia Canning Co. v. Union Marine Ins.
which the accident would not have occurred, will            Co., 9 Cir., 10 F.2d 72, 74, the court said: ‘In Dav-
not serve as a defense to such a policy. Only ‘wilful       idson v. Burnand, L.R. 4 C.P. 117, the policy in-
misconduct,’ measuring up to ‘knavery’ or                   cluded perils of the sea. While the vessel was load-
‘design,’ will suffice; and neither the evidence nor        ing in the harbor her draft was increased by the
the judge's findings of fact show such conduct.             weight of cargo until the discharge pipe was
True, the judge, in the last paragraph of his opinion,      brought below the surface of the water. The cock of
referred to the gross negligence as if it constituted       that pipe had been negligently left open. Water
wilful misconduct. There we think he erred. In Ori-         flowed into the hold causing injury to cargo.
ent Insurance Co. v. Adams, 123 U.S. 67, 8 S.Ct.            Willes, J., could find no distinction between loss




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from an accident happening through the negligence               [8][9] We do not agree with the trial judge that
of the crew of another vessel and loss from accident       the libelant's gross negligence was the sole cause of
happening from the negligence of the crew of the           the accident. Nor do we agree with his conclusion
vessel on which the loss was occasioned, all such          that the ‘loss was inevitable’ because of the way the
                                                                                                       FN7
distinction having been swept aside by Dixon v.            carfloat was loaded and of her condition.        The
Sadler, 5 M. & W. 405. Keating, J., was of the             evidence shows a concatenation of fortuitous cir-
same opinion, as was also Brett, J., who, speaking         cumstances (including misunderstanding by the dis-
of the manner in which the injury occurred said:           patcher of some of the reports made to him about
‘The water got in, not by the happening of any or-         the vessel's listing).
dinary occurrence in the ordinary course of the
*465 voyage, but by the accidental circumstances                *466 Cases cited by appellees are inapposite:
of some cock having been left open by the negli-           Union Ins. Co. v. Smith, 124 U.S. 405, 8 S.Ct. 534,
gence of the crew. This is, in my opinion, sufficient      31 L.Ed. 497, related to a policy which expressly
to make the underwriter liable. Cases of like pur-         excepted perils ‘consequent upon’ and ‘arising
port are Devaux v. J'Anson, 5 Bing. (N.C.) 515, and        from’ or ‘caused by incompetency of the master’ or
Walker v. Maitland, 5 Barn. & Ald. 171.’ We find           ‘want of ordinary care and skill in navigating said
                                                                                               FN8
no case which overrules or calls in question the           vessel,’ and ‘all unseaworthiness.'     Diethelm &
doctrine of the foregoing authorities. Guided              Co. v. The Flying Trader, D.C.S.D.N.Y., 141
thereby, we reach the conclusion that by the mari-         F.Supp. 271, involved no insurance policy; it was a
time laws and customs of England the loss in the           suit against an ocean carrier which defended on the
case at bar was proximately caused by the overturn-        ground that bills of lading excluded damage due to
ing of the vessel under the impulse of tidal and           perils of the sea (and which was nevertheless re-
river currents, although the accident would not have       quired to pay for damage to cargo injured in a mod-
occurred, but for the negligent loading of cargo           erate gale). In Chicago S.S. Lines v. U.S. Lloyds,
taken on board at Tacoma; that the overturning of          D.C.N.D.Ill., 2 F.2d 767, affirmed, 7 Cir., 12 F.2d
the vessel was a peril of the sea, within the provi-       733, the policy contained an express warranty
                                                                                            FN9
sions of the insurance contract; and that the action       against the master's negligence.      Henjes v. Aet-
of the sea was the immediate cause of the accident.        na Ins. Co., 2 Cir., 132 F.2d 715, 720, also related
In Smith v. Scott, 4 Taunt. 125, Lord Mansfield            to a breach of an express warranty.
said: ‘I do not know how to make this out not to be
                                                                Western Assur. Co. of Toronto, Canada v.
a peril of the sea. What drove the Margaret against
                                                           Shaw, 3 Cir., 11 F.2d 495, a case cited by the trial
the Helena? The sea. What was the cause that the
                                                           judge, concerned a policy expressly excepting all
crew of the Margaret did not prevent her from run-
                                                           claims arising ‘from the want of ordinary care and
ning against the other? Their gross and culpable
                                                           skill in loading and stowing the cargo.’ Such, or re-
negligence; but still, the sea did the mischief.“
                                                           lated cases, we need not consider, since appellees
     [6][7] A determination by a trial judge of the        close their brief with the statement: ‘It has never
existence of negligence is not a finding of fact but a     been maintained by the insurers that the policies in
                  FN4                                      suit contain an express or implied warranty of sea-
legal conclusion.     So, too, is a determination as
to ‘wilful misconduct.’ Accordingly, the judge's           worthiness; neither has it been maintained that they
statement as to such conduct is not binding on us.         contain an express ‘due care’ warranty.'
And, as this is not a tort action, the horrendous
                                                                [10][11] Appellees correctly disclaimed de-
niceties of the doctrine of so-called ‘proximate
                                       FN5                 fense of an implied warranty of seaworthiness,
cause,’ employed in negligence suits,        apply in                                     FN10
                                             FN6           since these are time policies.       However, ap-
a limited manner only to insurance policies.
                                                           pellees, referring to the Engligh Marine Insurance




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Act (1906) as purporting to codify the English ‘case               States, 2 Cir., 158 F.2d 575, 577-578; Dale
law,’ cite Section 39(5) of that Act which provides:               v. Rosenfeld, 2 Cir., 229 F.2d 855, 858.
‘In a time policy there is no implied warranty that
the ship shall be seaworthy at any state of the ad-                FN5. See discussion of ‘proximate cause’
venture, but where, with the privity of the assured,               in Hentschel v. Baby Bathinette Corp., 2
the ship is sent to sea in an unseaworthy state, the               Cir., 215 F.2d 102, 105 ff. (dissenting
insurer is not liable for any loss attributable to un-             opinion).
seaworthiness.’ Appellees contend that the emphas-
                                                                   FN6. See, e.g., Green, Proximate and Re-
ized words relieve them of liability here. We think
                                                                   mote Cause, in Green, Essays on Tort and
not. We assume, arguendo, (1) that the evidence
                                                                   Crime (1933) 1 at 15-16.
showed the ‘privity of the assured’ and (2) that, in
each of the numerous trips made by this busy car-                  FN7. There is much to be said for the fol-
float, it was ‘sent to sea’ when it left its moorings.             lowing statement made in its brief by ap-
Even so, we reject appellees' contention. For, when                pellant: ‘It was also the result of the ac-
the loading occurred and when the accident                         tions of the sea upon her in that condition,
happened, the carfloat had not been ‘sent to sea’ but              the place and way she was moored, the
was still moored. The rider to the policy expressly                words chosen by those reporting her trim
provides that the insurance applies while *467 the                 to the dispatcher, and a thousand other cir-
vessel is thus moored and ‘while being loaded.’                    cumstances. As a matter of hindsight,
                                                                   every happening is the inevitable result of
    We reverse with directions to enter a decree in
                                                                   its causes, but as a matter of foresight, no
favor of appellant for its stipulated loss, together
                                                                   one can predict what causes will be operat-
with interest and costs.
                                                                   ing at any given moment. Therein lies the
         FN1. 2 Arnold, Marine Insurance (14th                     element of fortuity that must form an ele-
         ed.) Section 812.                                         ment of a recoverable insurance loss. * * *
                                                                   It is against the unpredictable happen-
         FN2. Judge Rifkind in Compania T.                         stance of loss through whatever set of cir-
         Centro-Americana v. Alliance Ass. Co.,                    cumstances * * * that men take out insur-
         D.C., 50 F.Supp. 986, 991; Olympia Can-                   ance policies. * * * Loss was not inevitable
         ning Co. v. Union Marine Ins. Co., 9 Cir.,                until water started pouring down Carfloat
         10 F.2d 72.                                               60's ventilators less than a half hour before
                                                                   the loss occurred. Many unpredictable cir-
         FN3. For criticism of the differentiation                 cumstances brought about the failure to re-
         between ‘negligence’ and ‘gross negli-                    store the float to an even and level keel by
         gence,’ see, e.g., Kelly v. Malott, 7 Cir.,               pumping some water into the stern com-
         135 F. 74, 76; The New World v. King, 16                  partments or taking any of the other steps
         How. 469, 474, 14 L.Ed. 1019.                             which would have prevented the accident
                                                                   to which the district court decision refers
         FN3A. Cf. P. Samuel & Co. v. Dumas
                                                                   as a failure to take ‘remedial action.’ An
         (1924), A.C. 431, 446, 453, where the ship
                                                                   easily rectified maladjustment in trim oc-
         was wilfully scuttled by the direction of
                                                                   curring in the course of loading, failure to
         the owner.
                                                                   set brakes or the existence of controllable
         FN4. Barbarino v. Stanhope S.S. Co., 2                    leakage * * * did not render the loss non-
         Cir., 151 F.2d 535, 555; Kreste v. United                 fortuitous nor bar a recovery from the un-
                                                                   derwriters therefor in the absence of a war-




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        ranty of seaworthiness or against negli-                   The statement of the so-called American
        gence. The law of insurance is not like the                rule in 204 F. at page 258 was also obiter,
        law of torts to be used as an instrument of                since the court found no want of diligence.
        coercion upon assureds to improve operat-                  So too was the statement in the Henjes
        ing practices. Assureds do not go into the                 case supra, where there was a breach of an
        insurance market to buy themselves an                      express promissory warranty.
        overseer.'

        FN8. Moreover, the court affirmed a judg-          C.A.2 1957.
        ment for the plaintiff.                            New York, New Haven and Hartford R. Co. v. Gray
                                                           240 F.2d 460, 1957 A.M.C. 616
        FN9. The case related to an alleged aban-
        donment and the correct interpretation of          END OF DOCUMENT
        the ‘Inchmaree’ clause in a hull insurance
        policy; the loss resulted from a defective
        condition of the hull created by a repair in
        drydock, a cause outside the coverage un-
        less within an ‘Inchmaree’ clause. The
        question was whether the assured had
        brought itself within the express condition
        precedent to coverage under that clause,
        i.e., the exercise of due diligence to guard
        against latent defects.

        FN10. There are statements in the follow-
        ing cases that the rule may be somewhat
        different in this country, i.e., that, although
        there may be no implied warranty of sea-
        worthiness in a time policy, yet if the ves-
        sel is in port where repairs may be made,
        the insured cannot recover for any loss
        subsequently occurring when the vessel is
        at sea which is caused by the want of dili-
        gence in making the repairs; Union Ins.
        Co. v. Smith, 124 U.S. 405, 8 S.Ct. 534, 31
        L.Ed. 497; New York & P.R.S.S. Co. v.
        Aetna Ins. Co., 2 Cir., 204 F. 255, 258;
        Henjes v. Aetna Ins. Co., 2 Cir., 132 F.2d
        715, 719. However, as pointed out supra,
        the statement in the Union Ins. Co. case
        was obiter for the case involved an express
        warranty against unseaworthiness. That
        this was obiter is noted in the New York &
        P.R.S.S. Co. case, 204 F. 255, 258 (and
        had been noted by Judge Learned Hand in
        the district court, 192 F. 212, 214-215).




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                                                          fact that vessel which sank was in an allegedly un-
                                                          seaworthy condition, there was no breach of limited
  United States Court of Appeals Fifth Circuit.           warranty of seaworthiness in American Institute
TROPICAL MARINE PRODUCTS, Inc., Appel-                    Time Hull Policy containing an Inchmaree clause,
                      lant,                               and the insurance was effective.
                        v.
BIRMINGHAM FIRE INSURANCE COMPANY                         [2] Insurance 217      2228
       OF PENNSYLVANIA, Appellee.
                                                          217 Insurance
                   No. 16071.                                217XVI Coverage--Property Insurance
                 Aug. 13, 1957.                                 217XVI(D) Ocean Marine Insurance
         Rehearing Denied Sept. 11, 1957.                          217k2218 Risks Covered and Exclusions
                                                                         217k2228 k. Inherent Causes. Most
     Shipowner brought action against insurer to re-      Cited Cases
cover for loss of vessel which was insured under an          (Formerly 217k416)
American Institute Time Hull Policy containing an
Inchmaree clause. The United States District Court        Insurance 217       2231
for the Southern District of Florida, Emett C. Cho-
ate, J., entered judgment adverse to the shipowner,       217 Insurance
and the shipowner appealed. The Court of Appeals,            217XVI Coverage--Property Insurance
John R. Brown, Circuit Judge, held that where there             217XVI(D) Ocean Marine Insurance
was no explanation as to what caused leak, which                   217k2218 Risks Covered and Exclusions
resulted in sinking and loss of vessel, the loss was                     217k2231 k. Negligence. Most Cited
within the coverage of the policy, whether the de-        Cases
fect could have been discovered and therefore res-           (Formerly 217k416)
ulting unseaworthiness was due to the negligence of            Where there was no explanation as to what
the master, or whether the defect was not discover-       caused leak, which resulted in sinking and loss of
able by the master or shipowner and therefore was         vessel insured under an American Institute Time
latent.                                                   Hull Policy containing an Inchmaree clause, the
                                                          loss was within the coverage of the policy, whether
    Judgment reversed and rendered for shipowner.         defect could have been discovered, so that resulting
                                                          unseaworthiness was due to negligence of master,
                 West Headnotes                           or whether the defect was not discoverable by the
                                                          master or shipowner and was therefore a latent de-
[1] Insurance 217      2997
                                                          fect.
217 Insurance
                                                          [3] Insurance 217      2231
   217XXIV Avoidance
      217XXIV(B) Particular Kinds of Insurance            217 Insurance
         217k2995 Ocean Marine Insurance                     217XVI Coverage--Property Insurance
             217k2997 k. Seaworthiness of Vessel.               217XVI(D) Ocean Marine Insurance
Most Cited Cases                                                   217k2218 Risks Covered and Exclusions
   (Formerly 217k273)                                                   217k2231 k. Negligence. Most Cited
    Where there was no showing that shipowner or          Cases
any one in privity with shipowner knew of alleged            (Formerly 217k416)




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    Negligence of assured or his agent is no de-                 The Sea Pak left Cockburn Harbour, South Cai-
fense to a marine policy.                                   cos Islands, on August 9, 1954. It proceeded to a
                                                                                                       FN2
                                                            fishing anchorage in the lee of Long Key.       This
*116 Wilbur E. Dow, Jr., New York City, Arthur L.           was a distance of about eight miles. The fishing an-
Willner, Miami, Fla., for appellant.                        chorage was protected from the prevailing winds
                                                            and from the sea and the water, and the anchorage
Douglas D. Batchelor, David W. Dyer, Miami, Fla.,
                                                            remained calm all the time the Sea Pak was
for appellee, Smathers, Thompson & Dyer, Miami,
                                                            anchored there. The vessel remained at anchor in
Fla., of counsel.
                                                            about 15 feet of water in this protected area until
                                                            approximately 5:00 a.m. on August 13. During this
Before TUTTLE, JONES and BROWN, Circuit                     time the vessel was collecting conch from small
Judges.                                                     skiffs that were fishing in that area.

JOHN R. BROWN, Circuit Judge.                                    At about noon on August 12, the Master no-
     This appeal by the shipowner tests the correct-        ticed that the Sea Pak was beginning to take on an
ness of the adverse judgment of the District Court          unusual amount of water and that the automatic
after a trial without a jury denying recovery under         pump was working more than normally necessary.
an American Institute Time Hull Policy for a sink-          During that afternoon and night the leaking became
ing from unknown causes. So uncontradicted are              progressively worse. An inspection of the vessel re-
the facts, as found or as controlling, that the District    vealed that the water was coming from underneath
Judge's findings of fact were an almost verbatim            a refrigerated space in the forward part of the ship.
adoption of those proposed by the plaintiff                 Because of the construction of the interior of the
Shipowner, the losing party. The case turned finally        vessel, the bilge underneath this area was inaccess-
in the Judge's analysis upon successive presump-            ible. Shortly before daylight on August 13, the
tions.                                                      Master felt that the leak had developed to such an
                                                            extent that he should attempt to return to Cockburn
    Except for a few editorial changes involving no         Harbour.
matter of substance, ours is a *117 direct recital,
with an occasional paraphrase, of the Judge's find-              As soon as it was daylight, or about 5:00 a.m.,
ings.                                                       on Friday the 13th, the anchor was raised and the
                                                            boat proceeded around the south end of Long Key
     The policy was for the period August 14, 1953          into the open waters of Turks Island Passage in an
to August 14, 1954. The vessel was valued at                effort to return to Cockburn Harbour. At this time,
$30,000. The Sea Pak was a wooden hull vessel ori-          the sea on the wind-ward side of Long Key was
ginally built for the United States Coast Guard. She        choppy and there was a moderate breeze. These
was 71'7' long, 13'6' wide was drew 4'6' of water. In       conditions were not unusual for that area and were
                                                FN1
the summer of 1953, she had been overhauled                 not such as would ordinarily have caused the vessel
in Miami and in August 1953 was in good condi-              any difficulty.
tion and seaworthy. She Left Miami in August 1953
and was operated from that time until her loss in               After the vessel got underway, the leak contin-
and around Caicos Islands in the Bahamas. She had           ued to get progressively worse and before the ship
not been hauled out of the water subsequent to Au-          could reach Cockburn Harbour, the leak had pro-
gust 1953, although she had been placed in shallow          gressed to such an extent that the vessel's engine
water and her bottom scrubbed on several occasions          was drowned out. The vessel then drifted back
while she remained afloat.                                  along the shoreline of Long Key until the Master
                                                            ordered the crew to abandon her. The four men on




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board then rowed ashore in a 14' rowboat which             policy form, the Calmar Steamship Corp. v. Scott,
was being towed astern of the Sea Pak and the Sea          345 U.S. 427, 73 S.Ct. 739, 97 L.Ed. 1125, 1953
Pak eventually sank outside the 100 fathom curve.          A.M.C. 952, with its ‘Pirates, Rovers, Assailing
Because of *118 the depth of the water, no salvage         Thieves * * * and Detainments of * * * Princes * *
attempt was made.                                          *,’ the Court's opinion makes it plain that all he
                                                           thought involved was the initial insuring clause
     The Court concluded, as both plaintiff and de-        which he quoted:
fendant urged and as the physical loss which des-
troyed all evidence required, that ‘there is no ex-             ‘Touching the Adventures and Perils which we,
planation as to what caused the leak which resulted        the said Underwriters, are contented to bear and
in the loss of the vessel.’                                take upon us, they are of the Seas, Men-of-War,
                                                           Fire, Lightning, Earthquake, Enemies, Pirates,
     Proceeding apparently then from an implied            Rovers, Assailing Thieves, Jettisons, Letters of
application which was not spelled out of a pre-            Mart and Counter-Mart, Surprisals, Takings at Sea,
          FN3
sumption        of unseaworthiness because the ves-        Arrests, Restraints and Detainments of all Kings,
sel developed a leak in these calm waters in the lee       Princes and Peoples, of what nation, condition or
of Long Key, the Court held as a legal conclusion          quality soever, Barratry of the Master and Mariners
that in the face of this presumption, there was not a      and of all other like Perils, Losses and Misfortunes
                      FN4
counter presumption         that the loss came within      that have or shall come to the Hurt, Detriment or
the perils covered by the policy. The Shipowner            Damage of the said Vessel, & c. or any part there-
contended that even though the sinking of the ves-         of.’
sel in calm protected waters might give rise to an
inference of unseaworthiness, proof of seaworthi-               This was to overlook a substantial insurance
ness, here admitted, as of the inception of the risk,      undertaking which, history shows, The Spot Pack,
was sufficient upon which the usual presumption            Saskatchewan Government Insurance Office v.
FN5
      would operate that, in the absence of a show-        Spot Pack, Inc., 5 Cir., 242 F.2d 385, 1957 A.M.C.
ing that it occurred from an excepted peril, the loss      655; Ferrante v. Detroit Fire & Marine Insurance
was caused by a peril insured against.                     Co., D.C.Cal., 125 F.Supp.*119 621, 1954 A.M.C.
                                                           2026, was added voluntarily by underwriters, (with
     The Underwriter argues that, accepting these          successive amendments to meet like conditions) to
cases urged by the Shipowner, the counter pre-             expand protection to shipowners and thereby over-
sumption that the loss was from an insured peril,          come court decisions favorable to an underwriter
does not arise unless the owner proves that immedi-        but which, the underwriting fraternity thought un-
ately before the loss the vessel was in a seaworthy        realistic and a denial of coverage reasonably
condition. On this it emphasizes that the Court held       needed. Personified by the name of the vessel giv-
as a fact that the Shipowner had not shown that the        ing rise to the decision, The Inchmaree clause, with
vessel was seaworthy immediately prior to the de-          almost ritualistic uniformity provides generally, and
veloping of the leak.                                      here, specifically:

     But we think that the difficulty with this de-             ‘This insurance also specially to cover * * *
cision stems from the fact that, like the underwriter,     loss of or damage * * * directly caused by the fol-
the Court assumed that the policy only insured ‘* *        lowing:-
* the vessel against loss from extraordinary occur-
rences and does not insure her against those ordin-             ‘Breakdown of motor generators or other elec-
ary perils which vessels must encounter * * *.’ In         trical machinery and and electrical connections
the quaint language which persists in this ancient         thereto, bursting of boilers, breakage of shafts, or




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any latent defect in the machinery or hull,                worthy. On that, the Court did not make such a
(excluding the cost and expense of replacing or re-        finding and perhaps for the reason that, on the re-
pairing the defective part);                               cord before him, it was doubtful that there was suf-
                                                                          FN8
                                                           ficient proof.      There was *120 evidence that
    ‘Negligence of Master, Charterers other than an        two fishermen skindivers (not ship repairmen)
Assured, Mariners, Engineers or Pilots;                    made an underwater inspection a month or so be-
                                                           fore and drove in a few wooden plugs, but whether
    ‘Provided such loss or damage has not resulted
                                                           in blanked off auxiliary openings or elsewhere was
from want of due diligence by the Assured, the
                                                           extremely vague. One diver, who asserted that the
Owners or Managers of the Vessel, or any of them.
                                                           bottom ‘was all right,’ also said that ‘there was no
* * *’
                                                           paint on it, no paint that you would call paint.’ But
    This affords both an additional series of perils       except for the prior inconsistent statements of the
insured against and markedly affects the warranties        two crew members, note 8, supra, the evidence was
of seaworthiness between Shipowner and Under-              uncontradicted from the current master and his im-
writer.                                                    mediate predecessor (who had left the vessel two
                                                           weeks before her sinking for a vacation) that there
     The Court here apparently labored, as did so          were only the usual leaks one expects in a wooden
                                                                                       FN9
many so long under some sort of notion that the            hull vessel. The equivocal       evidence of the un-
owner owed the duty to keep and maintain the ves-          derwater activity of the skindivers was a circum-
sel in seaworthy condition and consequently, to re-        stance which, with other evidence, could be used in
cover, the owner must establish this as a fact. In-        drawing the competing inference that, on the one
                                FN6
deed, the point of departure           between the         hand, this showed careful, prudent diligence in the
plaintiff's proposed and the Court's findings adop-        maintenance of the vessel or, on the other hand, the
                                FN7
ted was over the seaworthiness         of the vessel       existence of an unseaworthy condition. But stand-
immediately prior to the loss.                             ing alone, it was insufficient to prove unseaworthi-
                                                           ness and the remainder of the record would not
     But as we, The Spot Pack, Saskatchewan Gov-           overcome this deficiency.
ernment Insurance Office v. Spot Pack, Inc., supra,
and the Second Circuit, New York, New Haven and                The only thing of substance, pressed so hard
Hartford R. Co. v. Gray, 2 Cir., 240 F.2d 460, 1957        and successfully by the Underwriter on the Court,
A.M.C. 616, certiorari denied 77 S.Ct. 1050, 1             was a presumption, note 3, supra, not evidence, that
L.Ed.2d 915, by almost simultaneous decisions              when a vessel sinks in a calm protected harbour the
have recently pointed out, the owner's obligation          cause, unless otherwise satisfactorily explained,
under a Time Policy, as was this one, is extremely         must have been unseaworthiness.
limited: the vessel is seaworthy at the attachment of
the insurance, but henceforth it is a sort of negative          [1] But even though it is assumed that this rule
warranty, i.e., the owner or those in privity with         would apply when the leak develops while the ves-
him will not knowingly send the vessel to sea in a         sel is at sea and after it has left port, the Court at-
deficient condition.                                       tributed unwarranted consequences to it. On the
                                                           findings, the leak developed after the vessel had
     Here the most that was determined as to unsea-        been out three and one-half days. If it is assumed
worthiness of the MV Sea Pak was the Court's neg-          arguendo that when the Sea Pak left Cockburn Har-
ative finding that the owner had not sustained its         bour on August 9, she was in an unseaworthy con-
burden of proving seaworthiness. This is far from          dition there is absolutely none that the Shipowner
the opposite holding that the vessel was unsea-            or anyone in privity with it knew of that. There was




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thus no breach of the limited warranty of seaworthi-       faintly suggested that he thought the vessel should
ness nor of the insurance and it was effective. The        have been hauled out every six months or so to
Spot Pack, Saskatchewan Government Insurance,              avoid action by wood-destroying worms (an opin-
office v. Spot Pack, Inc., supra. When, as the Court       ion expressed without knowledge of the practice
found, the unseaworthy condition (leak) developed,         following in the Caicos Islands where the evidence
after the vessel was at sea and there were then no         indicated an absence of such wood borers) was not
means by which to remedy it, what happens to the           of that caliber essential to a holding that the
insurance? Does it terminate at the very moment it         Shipowner personally failed to take prudent steps.
is needed most? Cf. Henjes v. Aetna Insurance Co.,
2 Cir., 132 F.2d 715, 1943 A.M.C. 27, certiorari                The defect was certainly latent in a practical
denied 319 U.S. 760, 63 S.Ct. 1316, 87 L.Ed. 1711.         sense. The Court found that that is ‘no explanation
                                                           as to what caused the leak.’ And all are unanimous
     Indeed, far from voiding the policy, it was as to     that it was and could not be determined. As the leak
just such unseaworthiness that the policy was meant        was increasing, the master and engineer determined
to apply. The Inchmaree clause insures against             that it had to be coming from that part of the hull in
damage or loss occasioned by latent defects in ma-         way of the freezer compartment. There was posit-
chinery or hull. Of course, a defect in machinery or       ively no means of checking the inside of the hull in
a defect in a hull means that the vessel is thereby        this space and, of course, lying at anchor eight
unseaworthy since, with such defect, the machinery         miles from port, there were no facilities established
or hull, cannot comply with the classic definition of      for a worthwhile inspection or repair over the side.
‘reasonably suitable’ for the purposes intended. The
Silvia, 171 U.S. 462, 19 S.Ct. 7, 43 L.Ed. 241;                 Since cases should be decided on practicalities
Compania de Navegacion, etc., v. Fireman's Fund            and not theoreticals, the fact that this record stands
Insurance Co., 277 U.S. 66, 48 S.Ct. 459, 72 L.Ed.         uncontradicted that the hull did not leak in this way,
787. The only limitation on *121 this is that the de-      at this place, or in this quantity prior to departure
fect be latent and one not known or discoverable by        from port August 9, or on any one of the interven-
the owner or one in privy with him. This is so be-         ing days up to the afternoon of August 12, demon-
cause, as we held in Spot Pack Saskatchewan Gov-           strates also that if, as some theorize, a butt (the
ernment Insurance Office v. Spot Pack, Inc., supra,        joinder of the ends of two of the hull planks) sprung
                                                                                            FN10
the phrase ‘Provided such loss or damage has not           to permit the leak, there is no         basis for con-
resulted from want of due diligence by the Assured,        cluding that the defect could then have been dis-
the Owners, or Managers of the Vessel’ does not            covered.
include acts of the master or crew members merely
                                                                And if the matter is approached from the view-
imputed on notions of respondent superior.
                                                           point that the Shipowner, without the benefit of any
     Here, of course, the owner was in the United          presumptions, must affirmatively establish that the
                                                                                                           FN11
States and on this record all was left to the master.      particular defect was latent within the classic
There is no evidence that the nonresident owner            meaning of the term, the result is the same. Since
had personal knowledge of this condition, whatever         the Underwriter's assertion*122 of unseaworthiness
existed, or the necessity for any detailed drydock-        is a claim that the hull was defective, it was either
ing, bottom inspection, scraping or repainting. The        latent or not latent. If it was not discoverable prior
policy, as is so often the case, did not prescribe any     to departure for sea by all known and customary
requirement for drydocking or a routine period for         tests, it was latent and covered under the policy. If,
drydocking. That there might have been testimony           on the other hand, it is claimed that the proof
that the bottom paint was gone, and one surveyor           showed that it was discoverable by prudent inspec-
                                                           tions, or that the proof failed to show that prudent




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inspection could not have revealed it, the result is       was no duty owed the Underwriter not to attempt to
that the defect was one which in prudence ought to         make a port of haven. Negligence of the assured or
have been discovered. On this hypothesis, it was           his agent is no defense to a marine policy, New
the Master who should have discovered it. If the           York, New Haven and Hartford R. Co. v. Gray,
Master knew of the leak or the conditions likely to        supra, 240 F.2d at page 464; Orient Mutual Insur-
give rise to leaks, or if the Master, not knowing          ance Co. v. Adams, 123 U.S. 67, 8 S.Ct. 68, 31
that, knew enough that he ought to have discovered         L.Ed. 63; Columbia Insurance Co. of Alexandria v.
this condition, it was his clear duty to his Shipown-      Lawrence, 10 Pet. 507, 35 U.S. 507, 9 L.Ed. 512;
er to do all that prudence required to ascertain and       Waters v. Merchants' Louisville Insurance Co., 11
correct such conditions. The record is uncontra-           Pet. 213, 36 U.S. 213, 9 L.Ed. 691; Patapsco Insur-
dicted that the Master was responsible for the cur-        ance Co. v. Coulter, 3 Pet. 222, 28 U.S. 222, 7
rent upkeep, maintenance and repair of the vessel          L.Ed. 659. And if it is assumed that to attempt the
while she was in the Islands, and that the Shipown-        voyage in the exposed sea with the vessel in this
er had approved all of this maintenance require-           weakened condition was a negligent act, it inevit-
ments. The Master's failure in carrying out this duty      ably was negligence of the master then in sole com-
to his Shipowner was negligence and, under the             mand who alone determined whether to attempt the
Inchmaree clause, this too was specifically covered.       perilous run for sanctuary rather than risk sinking in
                                                           fifteen feet of water, or pressing her bow onto the
     [2] If the defect could have been discovered the      sand shoals. But there again, the more palpable was
resulting unseaworthiness was due to the Master's          the master's negligent choice of these alternatives,
negligence; if it was not discoverable by him or           the more categorical it makes the Inchmaree liabil-
Shipowner, it was latent. Either way the Under-            ity for ‘negligence of master.’
writer turns, the loss is within his expanded cover-
age.                                                            We cannot emphasize too strongly that, as was
                                                           the purpose of the underwriters in making the
     To be remembered also is the fact that this ves-      change, the Inchmaree clause is an expansion of
sel did not sink in a calm sea or in the harbour-like      coverage of considerable magnitude. Unlike so
protection of the lee of Long Key. A leak de-              many cases, *123Union Insurance Co. of Phil-
veloped there, and the leak became increasingly            adelphia v. Smith, 124 U.S. 405, 8 S.Ct. 534, 31
worse. But the sinking of the ship was the direct ac-      L.Ed. 497; Continental Insurance Co. of City of
tion of substantial seas with wind abeam, while run-       New York v. Patton-Tully Transportation Co., 5
ning off the exposed precipitous coast of Long Key         Cir., 212 F.2d 543, 1954 A.M.C. 889; Ideal Cement
in the effort to make the port of haven. It was un-        Co. v. Home Insurance Co., 5 Cir., 210 F.2d 937,
disputed that with the butt sprung, the action of the      1954 A.M.C. 663; Hanover Fire Insurance Co. v.
vessel being pushed ahead by her own power,                Holcombe, 5 Cir., 223 F.2d 844, 1955 A.M.C.
working against the seas, would open up the planks         1531, certiorari denied 350 U.S. 895, 76 S.Ct. 154,
even further. While it is true that these seas were        100 L.Ed. 787, where each policy contained an ex-
not tempestuous, it is just as true that it was the        press warranty of continuing seaworthiness and an
cruel sea working on a troubled hull which changed         exclusion of losses caused by unseaworthiness, a
a possible sinking in fifteen feet of water at the         Time Hull Policy with no warranty of continuing
fishing anchorage into an inevitable total loss as she     seaworthiness but with an Inchmaree clause does in
sunk to the watery grave outside the 100 fathom            fact underwrite unseaworthiness of many types.
curve.
                                                               If a vessel has become unseaworthy due to the
    [3] When the leak was discovered the vessel, as        negligence of master or engineer in the mainten-
we said above, still had insurance. Likewise, there




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ance of the vessel, in putting to sea without ad-                  Her intended trade was known and the
equate equipment, fuel or stores, or without making                policy expressly stated:
required repairs at outports where the master is the
sole principal representative of the owners, the                   ‘Navigation Limits: Warranted confined to
‘cause’ is negligence and this is expressly under-                 inland and coastal waters of the Bahamas,
written. If there is an undiscoverable defect in hull              with occasional trips to the Florida East
or machinery, the resulting unseaworthiness or the                 Coast for repairs.’
                      FN12
damage caused by it         is nonetheless covered.
                                                                   FN2. Because of intervening sand and cor-
     Consequently, this is not the simple case in                  al shoals between the fishing ground and
which a loss due to unseaworthiness affords a                      Cockburn Harbour, the vessel had to go
double-barreled reason for nonpayment- a defense                   outside into the Atlantic Ocean and coast
based upon the breach of the warranty, express or                  well off the seaward side of Long Key, a
implied, or as automatic proof that the loss arose                 coral key about five miles long rising pre-
from this rather than a specified peril (perils of the             cipitously from the water to a height of
sea) insured against. For if the vessel really sank                fifty feet or so and exposed to seas which
because the hull was unseaworthy, or by reason of                  occasionally broke over the top of these
the action of the sea on that unseaworthy hull, as                 high rocky cliffs.
distinguished from the action of the sea alone, this
                                                                   FN3. Paddock v. Franklin Fire Ins. Co., 11
no longer automatically denies recovery. Recovery
                                                                   Pick.Mass., 227; Swift v. Union Mutual
is denied now only if that unseaworthiness is one
                                                                   Marine Ins. Co., 122 Mass. 573; Watson v.
not caused or brought about by the various ele-
                                                                   Providence    Washington      Ins.    Co.,
ments of the Inchmaree clause.
                                                                   D.C.N.C., 106 F.Supp. 244, 1952 A.M.C.
    The judgment denying recovery is therefore re-                 1812, appeal dismissed, 4 Cir., 201 F.2d
versed and here rendered for the plaintiff Shipown-                736, 1953 A.M.C. 337.
er.
                                                                   FN4. The Court cited: Watson v. Provid-
    Reversed and rendered.                                         ence Washington Ins. Co., D.C., 106
                                                                   F.Supp. 244, opinion approved 4 Cir., 201
         FN1. She was rebuilt in Miami under the                   F.2d 736; Klein v. Globe & Rutgers Fire
         immediate supervision of the underwriter's                Ins. Co., 3 Cir., 2 F.2d 137; Jahn v. The
         surveyor who unqualifiedly recommended                    Folmina, 212 U.S. 354, 29 S.Ct. 363, 53
         her for insurance for the annual term and                 L.Ed. 546; Long Dock Mills Elevator Co.
         without any recommendations or require-                   v. Mannheim Ins. Co., D.C., 116 F. 886;
         ments for drydocking, bottom inspection,                  Swift v. Union Mutual Marine Insurance
         repainting or the like. The surveyor testi-               Co., 122 Mass. 573.
         fied:
                                                                   FN5. The Shipowner relies principally
         ‘The hull was checked. A lot of new                       upon: Mattson v. Connecticut Fire Ins. Co.
         planks were put in the ship. The caulking                 of Martford, D.C.Minn., 80 F.Supp. 101;
         was re-caulked. * * * Her stuffing boxes                  Boston Insurance Co. v. Dehydrating Pro-
         were checked and repacked. The vessel                     cess Co., 1 Cir., 204 F.2d 441, 1953
         was completely overhauled to my satisfac-                 A.M.C. 1364; Land v. Franklin National
         tion.’                                                    Ins. Co., 225 S.C. 33, 80 S.E.2d 420; Glens
                                                                   Falls Ins. Co. v. Long, 195 Va. 117, 77




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        S.E.2d 457, 1953 A.M.C. 1841.                            Pak during the six weeks prior to her sink-
                                                                 ing had leaked extensively. The Under-
        FN6. On the specific issue of the cause of               writer's brief asserts ‘the trial judge was
        the loss, there is no real difference. The               certainly free to give the statement such
        court found:                                             weight as he saw fit.’ Of course, that is
                                                                 true as to destroying the credibility of
        ‘7. There is no explanation as to what
                                                                 these witnesses to prove seaworthiness.
        caused the leak which resulted in the loss
                                                                 But the prior inconsistent statements were
        of the vessel.’
                                                                 the only word testimony of unusual abnor-
        Whereas the plaintiff Shipowner proposed                 mal leaks, and they were not admissible to
        this finding:                                            prove that fact. 58 Am.Jur., Witnesses, §
                                                                 770.
        ‘10. The precise cause and nature of the
        leak remained unknown.’                                  FN9. The Underwriter's surveyor as an ex-
                                                                 pert testified:
        FN7. The Court found:
                                                                 ‘The Court: The question is whether an ad-
        ‘8. The Plaintiff has not shown that the                 equate inspection could be made by divers
        vessel was seaworthy immediately prior to                while the ship is in the water?
        the developing of the leak which resulted
        in the loss of the vessel.’                              ‘The Witness: In my opinion, no, sir.’

        The plaintiff Shipowner proposed the exact               FN10. The Underwriter's expert testified:
        opposite:
                                                                 ‘Q. What would cause a butt to spring?
        ‘11. Defendants have not shown that the
                                                                 ‘A. A poor fastening.
        vessel was unseaworthy immediately prior
        to her last voyage nor has there been any                ‘Q. What?
        showing of want of due diligence on the
        part of the assured and owners of the Sea                ‘A. A poor fastening, or the wood is soft
        Pak to make her so.’                                     around the fastening.’

        FN8. To be sure the Underwriter offered as               He did not, of course, undertake to say that
        impeachment the statements of two native                 such poor fastening would have been dis-
        crewmembers, a 17-year-old Engineer and                  coverable. In any event, his testimony was
        the Cook who could ‘write but not read’                  uncontradicted that at least one plausible
        and who claimed he was intoxicated as                    cause might not show up (be discoverable)
        well. These statements were given after                  for some time:
        each was escorted by a local policeman
        and taken before the British Commissioner                ‘Q. She might have strained a butt in the
        of South Caicos as he sat on his dais                    seaway at some previous date, which
        flanked by the Underwriter's American                    showed up later?
        lawyer and an investigator surveyor. These
                                                                 ‘A. That could happen.’
        statements, sharply contradicting their de-
        position evidence that the vessel had had                FN11. ‘A latent defect is one that could not
        no appreciable leaks, stated that the Sea                be discovered by any known and custom-




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        ary test.’ The West Kyska, Waterman S.S.                   seaworthy electrical steering engine.
        Corp. v. United States Smelting, Refining
        & Mining Co., 5 Cir., 155 F.2d 687, at
                                                           C.A.5 1957.
        page 691, 1946 A.M.C. 997, at page 1003,
                                                           Tropical Marine Products, Inc. v. Birmingham Fire
        certiorari denied 329 U.S. 761, 67 S.Ct.
                                                           Ins. Co. of Pa.
        115, 91 L.Ed. 656, and ‘* * * is a hidden
                                                           247 F.2d 116, 1957 A.M.C. 1946
        defect and generally involves the material
        out of which the thing is constructed as           END OF DOCUMENT
        distinguished from the results of wear and
        tear.’ Ferrante v. Detroit Fire & Marine In-
        surance Co., D.C.Cal., 125 F.Supp. 621, at
        page 624, 1954 A.M.C. 2026, at page
        2030. It is ‘A hidden defect * * * not mani-
        fest, but hidden or concealed, and not vis-
        ible or apparent; a defect hidden from
        knowledge as well as from sight; * * * a
        defect which reasonably careful inspection
        will not reveal; one which could not have
        been discovered by inspection * * * by any
        known and customary test.’ 26A C.J.S.
        Defect. p. 133.      Mellon v. Federal Ins.
        Co., D.C.N.Y., 14 F.2d 997; The Bill,
        D.C.Md., 47 F.Supp. 969, 1942 A.M.C.
        1607, affirmed Lorentzen v. Brazil Oitici-
        ca, Inc., 4 Cir., 145 F.2d 470, 1945 A.M.C.
        108.

        FN12. Add to this the endless possibilities
        for other specific Inchmaree coverages not
        quoted in the excerpt above: ‘Accidents in
        loading, discharging or handling cargo, or
        inbunkering,’ e.g., damage to hull from use
        of unseaworthy winch, booms or cargo
        gear; damage to vessel during loading or
        discharging operations resulting from the
        unseaworthiness brought about by such op-
        erations, e.g., listing, faulty trim, overload-
        ing. ‘Explosions on shipboard or else-
        where,’ e.g., from accumulations of gases
        from unseaworthy valves or tanks, mal-
        functioning of pressure relief valves on air
        tanks, manifold headers, etc. ‘Breakdown
        of motor generators or other electrical ma-
        chinery and electrical connections thereto.’
        e.g., collision damage from failure of un-




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                                                           meaning beneficial to the insured is to be given ef-
                                                           fect by resolving doubts against insurer, and such
  United States Court of Appeals Second Circuit.           rule is particularly applicable to a time policy of
  ALLEN N. SPOONER & SON, INC., Libelant-                  marine insurance.
                   Appellant,
                         v.                                [2] Insurance 217       2220(1)
  The CONNECTICUT FIRE INSURANCE CO.,
              Respondent-Appellee.                         217 Insurance
                                                              217XVI Coverage--Property Insurance
             No. 239, Docket 27881.                              217XVI(D) Ocean Marine Insurance
              Argued Feb. 1, 1963.                                  217k2218 Risks Covered and Exclusions
             Decided March 11, 1963.                                   217k2220 Perils of the Sea
                                                                             217k2220(1) k. In General. Most
     Action by insured on a policy of marine hull          Cited Cases
insurance. The United States District Court for the           (Formerly 217k403)
Southern District of New York, Richard H. Levet,               Swells which were caused by a passing freight-
J., 206 F.Supp. 495, dismissed the action, and in-         er and which caused a derrick on insured crane
sured appealed. The Court of Appeals, Hays, Cir-           barge to buckle constituted a “peril of the sea”
cuit Judge, held that swells which were caused by a        within meaning of a marine hull policy on the crane
passing freighter and which caused derrick on in-          barge, where barge was engaged in a delicate sal-
sured crane to buckle constituted a ‘peril of the sea’     vage operation and shipping above and below site
within meaning of policy on the barge, where barge         of the operations had been held up to prevent
was engaged in a delicate salvage operation and            swells.
shipping above and below site of the operations had
been held up to prevent swells.                            [3] Insurance 217       2231

    Reversed and remanded with instructions to             217 Insurance
enter judgment for libelant.                                  217XVI Coverage--Property Insurance
                                                                 217XVI(D) Ocean Marine Insurance
                  West Headnotes                                    217k2218 Risks Covered and Exclusions
                                                                         217k2231 k. Negligence. Most Cited
[1] Insurance 217       1834(1)
                                                           Cases
217 Insurance                                                 (Formerly 217k416)
   217XIII Contracts and Policies
                                                           Shipping 354        141(3)
       217XIII(G) Rules of Construction
             217k1830 Favoring Insureds or Benefi-         354 Shipping
ciaries; Disfavoring Insurers                                 354VII Carriage of Goods
               217k1834 Particular Types of Cover-                 354k139 Limitation of Liability by Contract
age                                                        or Bill of Lading
                   217k1834(1) k. In General. Most                    354k141 Exemption from Particular Risks
Cited Cases                                                or Causes of Loss
   (Formerly 217k146.7(2.1), 217k146.7(2))                               354k141(3) k. Perils of the Seas. Most
     Generally, where language of a policy may             Cited Cases
reasonably be construed in more than one way,                  A shipowner-carrier defending against a cargo




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claim can rely on a perils of the sea exception in a         217XVI Coverage--Property Insurance
bill of lading only if he establishes that neither he            217XVI(D) Ocean Marine Insurance
nor the ship's personnel was negligent, but a perils                217k2218 Risks Covered and Exclusions
of the sea clause in a marine hull policy covers loss                    217k2231 k. Negligence. Most Cited
caused or contributed to by such negligence.              Cases
                                                             (Formerly 217k416)
[4] Insurance 217       2231                                  A provision in a marine policy that insured
                                                          submit in its proof of loss proof that it used due di-
217 Insurance
                                                          ligence to prevent loss or damage was diligence re-
   217XVI Coverage--Property Insurance
                                                          quired by Inchmaree and perils clauses of the
       217XVI(D) Ocean Marine Insurance
                                                          policy, and such provision did not add new exclu-
          217k2218 Risks Covered and Exclusions
                                                          sions to coverage of the policy.
               217k2231 k. Negligence. Most Cited
Cases                                                     *753 Kenneth H. Volk, of Burlingham, Under-
   (Formerly 217k416)                                     wood, Barron, Wright & White, New York City
    Inchmaree clause of a marine policy, extending        (Hervey C. Allen, New York City, of counsel), for
coverage to loss through negligence of the master         libelant-appellant.
provided such loss or damage did not result from
want of due diligence by owners of the ship, in-          Sheldon A. Vogel, of Bigham, Englar, Jones &
sured against negligence of the master even though        Houston, New York City (Joseph J. Magrath, 3d,
also the charterer of the vessel and excluded from        New York City, of counsel), for respondent-ap-
coverage damage due to shoreside failure of the           pellee.
owner's managerial staff properly to prepare or
equip the vessel for service, and therefore damage
                                                          Before LUMBARD, Chief Judge, and SMITH and
to a crane barge resulting from operational negli-
                                                          HAYS, Circuit Judges.
gence of charterer while acting as master was
covered by marine policy containing such clause.          *754 HAYS, Circuit Judge.
                                                              This is an action on a policy of marine hull in-
[5] Insurance 217       3191(7)
                                                          surance. The district court held that the loss on
217 Insurance                                             which appellant sued was not within the coverage
    217XXVII Claims and Settlement Practices              of the policy and dismissed the libel. We reverse
       217XXVII(B) Claim Procedures                       and direct that judgment be entered for the libelant.
          217XXVII(B)2 Notice and Proof of Loss
                                                               Appellant takes no exception to the district
              217k3187 Insurer's Waiver or Estoppel
                                                          court's findings of fact and we accept those findings
                 217k3191 Implied Waiver or Estop-
                                                          as supported by the evidence. We disagree with the
pel
                                                          district court's application of the law to the facts as
                    217k3191(7) k. Denial of Liabil-
                                                          found.
ity. Most Cited Cases
    (Formerly 217k559(2))                                     Libelant's claim arises out of the loss of its
     Insurer under a hull policy waived proof of loss     crane barge, called Pulling Machine No. 12, while
by denying all liability before suit was brought.         the barge was bareboat chartered to Richard W.
                                                          Stasch, doing business as R. W. Stasch & Company
[6] Insurance 217       2231
                                                          Stasch chartered the barge for the purpose of rais-
217 Insurance                                             ing the sunken tanker Empress Bay from the East
                                                          River where it lay in about 60' of water approxim-




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ately mid-channel between the Brooklyn and Man-                The ‘Perils' clause provides:
hattan bridges.
                                                                ‘Touching the adventures and perils which we,
     Pulling Machine No. 12 consisted of a tower,          the said Insurers, are contented to bear and take
or leader frame, about 75 feet in height mounted on        upon us, they are of the Harbors, Bays, Sounds,
a wooden barge 139' long and 38' wide. At all times        Seas and other waters as above named, and Fire, it
prior to the accident in question the barge was well       being the intent of these Insurers to indemnify the
found and seaworthy.                                       Assured for these Insurers' proportion of General
                                                           Average and/or Salvage Charges and/or loss, dam-
     On July 24, 1958 Pulling Machine No. 12 was           age, detriment or hurt to the said vessel arising
engaged in lifting the Empress Bay. It was operat-         from perils aforementioned for which these Insurers
ing under the direction of Stasch who took a posi-         may be liable under this policy; it is a condition
tion on the bow of the No. 12 and transmitted or-          precedent, however, to any liability under this
ders by microphone. While the vessel was so en-            policy, that the Assured establish that any claim,
gaged one of the guy wires supporting the crane            whether for general average charges, salvage ex-
parted and the crane collapsed and was lost over the       penses or loss, damage, detriment or hurt to said
side. The hull of the barge was so severely dam-           vessel, has been directly caused by a peril insured
aged by the collapse of the crane that it was con-         against as aforesaid, and that the Assured further
cededly a constructive total loss.                         *755 establish that such general average charges,
                                                           salvage expenses or loss, damage, detriment or hurt
     The parting of the guy wire which resulted in
                                                           has not arisen from or been caused by, either dir-
the collapse of the crane was caused by the tilting
                                                           ectly or indirectly, any of the following or other ex-
of the barge while the lifting operation was in pro-
                                                           cluded causes, namely: incompetency of the master
gress. The tilting of the barge was caused by the
                                                           or insufficiency of the crew, or want of ordinary
swells from a large vessel which passed the No. 12
                                                 FN1       care in loading or unloading, stowing or broaching
just as it was engaged in the lifting operation.
                                                           the cargo of the vessel; rottenness, inherent defects,
    The loss of the crane could have been preven-          or other unseaworthiness; theft, barratry, or rob-
ted by the use of side slings with which the No. 12        bery. It is further mutually agreed that this policy
was equipped and which would have controlled the           does not cover bursting or exploding of boilers, col-
‘hoist load’ so that the guy wire would not have           lapsing of flues or injury, derangement or breakage
been subjected to the breaking stress. Stasch was          of machinery and/or any expense in consequence
negligent in failing to use the side slings.               thereof or any loss of or damage to any such parts
                                                           and/or to any other parts of the vessel directly or in-
     The district court did not make clear whether,        directly resulting from such occurrences, unless the
in its view, the proximate cause of the loss of the        Assured shall establish that such occurrences were
barge was the negligence of Stasch or the swells           caused solely by sinking, stranding, collision with
from the passing tanker, although it characterized         another vessel or burning. No loss is to be paid
the latter as ‘a culminating factor in causing the ac-     when such loss arises from failure to keep the ves-
cident’. It is not necessary for us to resolve the is-     sel well pumped out.'
sue because in our view the insurance company is
liable on its policy in either case.                           The ‘Inchmaree’ clause provides:

    The No. 12 was covered by a marine insurance                ‘This insurance also specially to cover (subject
policy issued by appellee, two clauses of which are        to the average and all other conditions of this policy
here involved.                                             not conflicting herewith) loss of or damage to hull
                                                           or machinery through the negligence of master,




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mariners, engineers or pilots, or through bursting or           This court interpreted and applied the ‘Perils'
explosion of boilers, breakage of shafts, or through       clause in New York, N.H. & H.R.R. v. Gray, 240
any latent defect in the machinery or hull, provided       F.2d 460 (2d Cir.), cert. denied, 353 U.S. 966, 77
such loss or damage has not resulted from want of          S.Ct. 1050, 1 L.Ed.2d 915 (1957). There the in-
due diligence by the owners of the ship, or any of         sured recovered for losses sustained when water
them, or by the manager, but free from any claim           leaked into a moored carfloat causing the vessel to
for the part in which latent defect existed.'              list and settle, with a resultant loss of certain cargo.
                                                           We held that:
    It is stipulated that libelant's provable damage
under the policy is $32,020 with statutory interest             ‘The loss resulted from a ‘peril of the seas.’ ‘It
from July 24, 1958.                                        is enough that damage be done by the fortuitous ac-
                                                           tion of *756 the sea. For instance, where cargo was
    Appellee was duly notified of the charter party        damaged by the incursion of seawater through a
and agreed to add ‘R. W. Stasch & Co.’ as a named          hole in a pipe gnawed by rats, the House of Lords
assured for the period of the charter.                     held this to be a peril of the seas.’* That the sea is
                                                           calm makes no difference.** Negligence, whether
    The District Court concluded that the loss of
                                                           or not ‘gross' but for which the accident would not
the No. 12 was not covered by either the ‘Perils'
                                                           have occurred, will not serve as a defense to such a
clause or the ‘Inchmaree’ clause because, in its
                                                           policy. ’*2 Arnold, Marine Insurance (14th ed.)
view, (1) the swells created by the passing of a
                                                           Section 812. ‘**Judge Rifkind in Compania T.
large vessel were not ‘perils of the sea’ within the
                                                           Centro-Americana v. Alliance Ass. Co., D.C., 50
‘Perils' clause; and (2) because Stasch was on
                                                           F.Supp. 986, 991; Olympia Canning Co. v. Union
‘owner’ for purposes of the proviso in the
                                                           Marine Ins. Co., 9 Cir., 10 F.2d 72.'
‘Inchmaree’ clause barring recovery for loss result-
ing from want of due diligence by an owner. We                                   FN2
                                                                240 F.2d at 464.      The Gray case governs
hold that the District Court erred on both points.         the present case. See also Cary v. Home Ins. Co.,
                                                           235 N.Y. 296, 300, 139 N.E. 274 (1923); Petrie v.
     [1] In determining the meaning of the terms of
                                                           Phenix Ins. Co., 132 N.Y. 137, 144, 30 N.E. 380
the policy we are guided by what was said in
                                                           (1892); James A. McAllister & Co. v. Western As-
Henjes v. Aetna Ins. Co., 132 F.2d 715, 719 (2d
                                                           surance Co., 218 App.Div. 564, 218 N.Y.S. 658
Cir.), cert. denied, 319 U.S. 760, 63 S.Ct. 1316, 87
                                                           (1st Dept. 1926); Borgemeister v. Union Ins. Soc'y,
L.Ed. 1711 (1943):
                                                           127 Misc. 9, 214 N.Y.S. 548 (City Ct. 1926).
     ‘It is a general rule of construction that where
                                                                [2][3] The Swells which caused the derrick on
the language of a policy of insurance may reason-
                                                           the No. 12 to buckle were a ‘fortuitous action of the
ably be construed in more than one way the mean-
                                                           sea,’ and therefore within the scope of the ‘Perils'
ing beneficial to the insured is to be given effect by
                                                           clause.
resolving fair doubts against the insurer who chose
the language which created them. Ashenbrenner (                Appellee cites us to Continental Ins. Co. v. Pat-
Aschenbrenner) v. United States F. & G. Co., 292           ton Tully Transp. Co., 212 F.2d 543 (5th Cir.,
U.S. 80, 54 S.Ct. 590, 78 L.Ed. 1137; DeHart v.            1954) and Western Assur. Co. v. Shaw, 11 F.2d 495
Illinois Casualty Co., 7 Cir., 116 F.2d 685. That is       (3d Cir.), cert. denied, 273 U.S. 698, 47 S.Ct. 93,
particularly applicable to a time policy of marine         71 L.Ed. 846 (1926), which contained language to
insurance.'                                                the effect that ordinary swells are not perils of seas
                                                           or harbors within the meaning of marine insurance
    I. PERILS OF THE SEA
                                                           policies. The passages relied on by appellee contain




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alternate holdings at best, since in both cases, the       gence by the owners of the ship, or any of them, or
foundered vessels were unseaworthy. Moreover,              by the manager.'
both decisions rest on findings that swells and
waves were not extraordinary under the circum-                  Although the district court included no express
stances. Both rest on the rule that ‘There must be         finding that Stasch was the ‘master’ of the No. 12
some casualty, something which could not be fore-          at the time of the accident, its general findings com-
seen as one of the necessary incidents of the adven-       port such a conclusion, and we hold that Stasch was
ture. The purpose of the policy is to secure an in-        acting as ‘master’ of the No. 12.
demnity against accidents which may happen, not
                                                                There is considerable doubt in our minds as to
against events which must happen.’ The Xantho, 12
                                                           whether he was also the ‘owner’ or ‘manager’ with-
App.Cas. 503, 509 (1887).
                                                           in the meaning of the clause, although, as the dis-
     Whether the loss resulted from a ‘necessary in-       trict court found, his status was that of ‘owner’ for
cident’ of the venture- i.e. from ordinary wear and        a number of other purposes. It seems to us quite
tear- or from an accident which could not be fore-         likely that the reason for appellant's informing the
seen depends, of course, on the nature of the vessel       insurance company of the charter and for having
and operation involved. Compania de Navegacion             Stasch added as a named assured was precisely to
Interior, S.A. v. Fireman's Fund Ins. Co., 277 U.S.        bring Stasch's negligence under the coverage of the
66, 80, 48 S.Ct. 459, 72 L.Ed. 787 (1928); Klein v.        policy, as well as to protect him from a claim of
Globe & Rutgers Fire Ins. Co., 2 F.2d 137 (3d Cir.,        subrogation in case of loss through his negligence.
1924). In the present case, Stasch was engaged in          Certainly Stasch himself could *758 have had no
an extremely delicate operation. Without the use of        claim for the loss of the vessel.
side slings, the No. 12 could tilt only three degrees
                                                                But assuming, arguendo, that Stasch was an
without danger to the derrick. Shipping above and
                                                           owner or manager for purposes of the exclusion
below the site of operations was held up, so as to
                                                           clause, we are persuaded that that exclusion was not
prevent swells. Under these circumstances, the
                                                           intended to apply to the negligence of an owner
swells caused by the *757 passing freighter were
                                                           who is acting as master in the operation of a vessel
unanticipated and extraordinary, and constituted a
                                                           at sea.
‘peril of the sea’ within the meaning of the policy.
FN3
                                                               Although we have found no authority directly
                                                           in point, the few decisions interpreting the words
    II. ‘INCHMAREE’ CLAUSE
                                                           ‘owner’ and ‘master’ lend support to our conclu-
     The ‘Inchmaree’ clause was first included in          sion. In Read v. Agricultural Ins. Co., 219 Wis.
marine insurance policies to overcome the effects          580, 236 N.W. 632 (1935), where plaintiff sued on
of a decision of the House of Lords which was ad-          a policy of marine insurance containing an
                      FN4                                  ‘inchmaree’ clause, the court said:
verse to the assured.      Its purpose was, and is, ‘to
broaden, not restrict, to expand, not withdraw cov-
                                                                ‘There seems to us to be a clear distinction
erage.’ Saskatchewan Government Ins. Office v.
                                                           between the activities of a person acting on behalf
Spot Pack, Inc., 242 F.2d 385, 391 (5th Cir., 1957).
                                                           of the owner in conditioning and launching the boat
It is with this beneficial purpose in mind that the
                                                           and those of a master or other officer acting profes-
clause must be interpreted.
                                                           sionally in the handling of the vessel at sea. If the
    The issue as to coverage under the ‘Inchmaree’         conditioning operations culminate in launching the
clause is whether such coverage is excluded be-            vessel in an unseaworthy condition, it is clear to us
cause Stasch's negligence was ‘want of due dili-           that there is no coverage. If there is negligence in




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the discharge of some professional duty in connec-         of loss ‘that the Assured has used due diligence to
tion with handling the boat during the voyage, the         prevent * * * loss or damage’ as a condition pre-
‘Inchmaree’ clause appears to apply.'                      cedent to any right of action of the assured.

    263 N.W. at 636. See also Founders' Ins. Co. v.             [5][6] Not only was the point not raised in the
Rogers, 281 F.2d 332 (9th Cir., 1960); Baggaley v.         court below, but it is wholly without merit. Even if
Aetna Ins. Co., 111 F.2d 134 (7th Cir., 1940);             we assume, contrary to authority, O'Boyle v. North-
Wigle v. Aetna Cas. & Sur. Co., 177 F.Supp. 932            western Fire & Marine Ins. Co., 49 F.2d 713 (2d
(E.D.Mich.1959);    Yacht      Buccaneer,     1940         Cir., 1931), that the insurer did not waive such
Am.Mar.Cas. 1397 (arbitration, Chicago, 1940);             proof of loss by denying all liability before suit was
Baxendale v. Fane, 66 Lloyd's List L.R. 174, 181           brought, the ‘due diligence’ of the assured to which
(1940).                                                    the proof of loss provision refers is obviously that
                                                           diligence required by the ‘Inchmaree’ and ‘Perils'
     Where the owner or charterer of the vessel also       clauses. Clearly the proof of loss provision was not
acts as its master, the distinction drawn by the           designed to add substantial new exclusions from the
clause can be given effect only if it is read as refer-    coverage of the policy. ‘Courts, in giving effect to
ring to the function that owner-master is performing       that provision in an insurance policy, have never
when the acts causing the accident take place. The         *759 treated the requirement for a proof of loss as a
interpretation urged by the appellee would render          mere trap for the unwary.’ Id. at 716.
the assumption of liability for ‘negligence of (the)
master’ totally ineffective in the present case.               Reversed and remanded with instructions to
                                                           enter judgment for libelant.
     [4] The language of the clause as a whole re-
flects a recognition of the different treatment to be               FN1. Appellee disputes this finding as well
accorded seagoing and preparational carelessness.                   as the finding that the tug used by Stasch
There is no other explanation for the use of the term               for the lifting operation did not cause or
‘negligence’ in referring to the master, and of the                 contribute to the accident. On the basis of
term ‘want of due diligence’ in referring to the                    the evidence in the record we cannot say
owner. Clearly the draftsman had quite different                    that findings are clearly erroneous.
operations in mind. We conclude that the Inch-
maree clause was designed to insure against seago-                  FN2. Appellee attempts to distinguish the
ing or operational negligence of the master                         Olympia Canning Co. and Compania T.
(whether or not he is also the charterer or owner),                 Centro-Americana cases on the ground that
and to exclude from coverage damage due to the                      they were decided under English law.
shoreside failure of the shipowner's managerial
                                                                    A reading of these cases makes clear that
staff properly to prepare or equip the vessel for the
                                                                    the English courts have consistently given
voyage or service she is about to perform.
                                                                    the ‘perils' clause a broad reading. Several
     Since the accident resulted from the operational               early decisions in this country departed
negligence of Stasch while he was acting as master                  from this view, and held that ‘perils of the
of the No. 12, appellant was entitled to recover un-                sea’ pertained only to extraordinary and
der the policy.                                                     calamitous occurrences. See e.g. Haz-
                                                                    ard's Administrator v. New England Mar-
    Finally, appellee contends that recovery is pre-                ine Ins. Co., 8 Pet. 557, 583, 33 U.S. 557,
cluded by the proof of loss provision of the policy.                583, 8 L.Ed. 1043 (1834); Arbib & Houl-
This provision required the assured to submit proof                 berg, Inc. v. Second Russian Ins. Co., 294




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        F. 811, 816 (2d Cir., 1923).                              Steam Co. v. Phenix Ins. Co., 129 U.S.
                                                                  397, 9 S.Ct. 469, 32 L.Ed. 788 (1889):
        We see no reason why we should not seek
        guidance from English authorities. In so                  ‘Collision or stranding is, doubtless, a peril
        doing, we follow, as we did in Gray, a                    of the seas; and a policy of insurance
        course recently approved by the Supreme                   against perils of the seas covers a loss by
        Court:                                                    stranding or collision, although arising
                                                                  from the negligence of the master or crew,
        ‘* * * We and other American courts have                  because the insurer assumes to indemnify
        emphasized the desirability of uniformity                 the assured against losses from particular
        in decisions here and in England in inter-                perils, and the assured does not warrant
        pretation and enforcement of marine insur-                that his servants shall use due care to avoid
        ance contracts. Especially is uniformity de-              them. (Cases cited.) But the ordinary con-
        sirable where, as here, the particular form               tract of a carrier does involve an obligation
        of words employed originated in Eng-                      on his part to use due care and skill in nav-
        land.’ Standard Oil Co. v. United States,                 igating the vessel and carrying the goods;
        340 U.S. 54, 59, 71 S.Ct. 135, 138, 95                    and, as is everywhere, held, an exception,
        L.Ed. 68 (1950).                                          in the bill of lading, of perils of the sea or
                                                                  other specified perils does not excuse him
        FN3. Appellee cites us to several cases in-
                                                                  from that obligation, or exempt him from
        terpreting the phrase ‘perils of the sea’ as
                                                                  liability for loss or damage from one of
        used in bills of lading. E.g., Duche v.
                                                                  those perils, to which the negligence of
        Thomas & John Brocklebank Ltd., 40 F.2d
                                                                  himself or his servants has contributed.'
        418 (2d Cir., 1930; The Rosalia, 264 F.
        285 (2d Cir., 1920); The Giulia, 218 F. 744               129 U.S. at 438, 9 S.Ct. at 470. See also
        (2d Cir., 1914); The Warren Adams, 74, F.                 Arbib & Houlberg, Inc. v. Second Russian
        413 (2d Cir.), cert. denied, 163 U.S. 679,                Ins. Co., 294, F. 811, 816 (2d Cir., 1923).
        16 S.Ct. 1199, 41 L.Ed. 316 (1896); Dieth-
        elm & Co. v. S.S. The Flying Trader, 141                  To the extent that the language in Hecht,
        F.Supp. 271 (S.D.N.Y. 1956), aff'd 244                    Levis & Kahn Inc. v. New Zealand Ins.
        F.2d 542 (2d Cir., 1957).                                 Co., 121 F.2d 442 (2d Cir., 1941) fails to
                                                                  recognize this distinction, we deem it to
        But there is a basic difference between                   have been overruled by New York, N.H. &
        those cases and the present case. A                       H.R.R. v. Gray, 240 F.2d 460, 466 (2d
        shipowner-carrier defending against a                     Cir.), cert. denied, 353 U.S. 966, 77 S.Ct.
        cargo claim can rely on a ‘perils of the                  1050, 1 L.Ed.2d 915 (1957), where we dis-
        seas' exception in a bill of lading only if he            tinguished the Flying Trader case, supra,
        establishes that neither he nor the ship's                on the ground that it involved bills of lad-
        personnel was negligent- i.e. that the loss               ing rather than marine insurance.
        resulted from force majeure. But the
        ‘Perils' clause in a marine hull insurance                FN4. Thames & Mersey Marine Ins. Co. v.
        policy covers loss caused or contributed to               Hamilton, Fraser & Co., 12 App.Cas. 484
        by such negligence.                                       (1887). The clause takes its name from the
                                                                  Steamship Inchmaree involved in that case.
        This distinction was explained by the Su-
        preme Court in Liverpool & Great Western




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C.A.N.Y. 1963.
Allen N. Spooner & Son, Inc. v. Connecticut Fire
Ins. Co.
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                                                            was properly allowed to testify in action brought by
                                                            injured construction worker regarding what in-
           Court of Appeal of Louisiana,                    dustry in general was doing with regard to hot work
                  Fourth Circuit.                           permits procedures, even though he was not desig-
                                                            nated as expert in pretrial order, where plaintiff
     Steven Christopher GRIFFIN, et al.
                                                            knew safety and loss control director's position,
                     v.
                                                            knowledge and expertise prior to trial and called
 TENNECO OIL COMPANY and XYZ Insurance
                                                            him as his own witness, and thus was not
                 Company.
                                                            “ambushed” by testimony.
          Nos. 91-CA-2475, 92-CA-0247.
                                                            [2] Pretrial Procedure 307A        748
                  Sept. 30, 1993.
            Writ Denied Jan. 7, 1994.                       307A Pretrial Procedure
                                                               307AV Pretrial Conference
     Injured employee of construction company
                                                                   307Ak747 Order and Record or Report
brought action against oil company for which he
                                                                         307Ak748 k. Amendment or Modifica-
was performing construction services for injuries
                                                            tion. Most Cited Cases
suffered in fire. The 34th Judicial District Court, St.
                                                                 Trial judge has much discretion in determining
Bernard Parish, David S. Gorbaty, J., held that oil
                                                            whether pretrial order should be modified.
company was not liable for exemplary damages and
that construction company was not required to in-           [3] Trial 388      43
demnify oil company for expenses incurred in de-
fending injured worker's suit for exemplary dam-            388 Trial
ages. Injured worker and oil company appealed.                 388IV Reception of Evidence
The Court of Appeal, Lobrano, J., held that: (1) oil               388IV(A) Introduction, Offer, and Admission
company's safety and loss control director was              of Evidence in General
properly allowed to provide lay testimony on issue                    388k43 k. Admission of Evidence in Gen-
of safety and prevention; (2) injured worker waived         eral. Most Cited Cases
objections to closing argument by not objecting at               Trial judge has great discretion in deciding
that time; and (3) construction company had to in-          whether to receive or refuse testimony objected to
demnify oil company for costs of defending action.          on grounds of failure to abide by rules of civil pro-
                                                            cedure, but any doubt must be resolved in favor of
   Affirmed in part; reversed in part; and re-              receiving testimony.
manded.
                                                            [4] Evidence 157        498.5
                  West Headnotes
                                                            157 Evidence
[1] Pretrial Procedure 307A          753                       157XII Opinion Evidence
                                                                  157XII(A) Conclusions and Opinions of Wit-
307A Pretrial Procedure
                                                            nesses in General
   307AV Pretrial Conference
                                                                       157k498.5 k. Determination of Question
      307Ak749 Effect
                                                            of Competency. Most Cited Cases
         307Ak753 k. Competency of Undisclosed
                                                               (Formerly 157k4981/2)
Witnesses. Most Cited Cases
    Oil company's safety and loss control director          Evidence 157       546




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157 Evidence                                                 388 Trial
   157XII Opinion Evidence                                      388VI Taking Case or Question from Jury
      157XII(C) Competency of Experts                                  388VI(A) Questions of Law or of Fact in
          157k546 k. Determination of Question of            General
Competency. Most Cited Cases                                           388k140 Credibility of Witnesses
    Trial court is vested with broad discretion in                         388k140(1) k. In General. Most Cited
determining which opinion testimony shall be re-             Cases
ceived into evidence, and whether opinion testi-                 Credibility of witnesses is for trier of fact to
mony will be received as “lay” or “expert” testi-            determine.
mony.
                                                             [8] Appeal and Error 30          207
[5] Evidence 157       474(6)
                                                             30 Appeal and Error
157 Evidence                                                       30V Presentation and Reservation in Lower
    157XII Opinion Evidence                                  Court of Grounds of Review
        157XII(A) Conclusions and Opinions of Wit-                  30V(B) Objections and Motions, and Rulings
nesses in General                                            Thereon
             157k474 Special Knowledge as to Sub-                          30k207 k. Arguments and Conduct of
ject-Matter                                                  Counsel. Most Cited Cases
                 157k474(6) k. Due Care and Proper               Trial court's comment to parties in personal in-
Conduct in General. Most Cited Cases                         jury action that they should limit objections during
     Trial court properly allowed defendant oil com-         closing argument to those things critical to their
pany's safety and loss control director to opine on          cases did not forbid counsel to object, and thus,
issue of safety and prevention on cross-examination          where plaintiff failed to object to any comments
based on his experience in refining industry as lay          made during closing argument he waived right to
witness in personal injury action arising out of fire,       complain on appeal.
where director was called as witness by plaintiff
who asked series of questions regarding witness'             [9] Contracts 95      206
experience in refining industry, and director pos-
                                                             95 Contracts
sessed suitable information, experience and training
                                                                95II Construction and Operation
in field to provide lay opinion on subject. LSA-C.E.
                                                                    95II(C) Subject-Matter
art. 701.
                                                                         95k206 k. Legal Remedies and Proceed-
[6] Witnesses 410       331.5                                ings. Most Cited Cases
                                                                  Duty to defend lawsuit should be determined
410 Witnesses                                                by examining language of agreement between
   410IV Credibility and Impeachment                         parties and allegations of petition.
      410IV(A) In General
          410k331.5 k. Competency of Impeaching              [10] Indemnity 208       33(5)
Evidence in General. Most Cited Cases
                                                             208 Indemnity
   (Formerly 410k3311/2)
                                                                208II Contractual Indemnity
    Witness' interest in outcome of lawsuit has no
                                                                   208k33 Particular Cases and Issues
bearing on admissibility of his testimony.
                                                                      208k33(5) k. Contractors, Subcontractors,
[7] Trial 388       140(1)                                   and Owners. Most Cited Cases
                                                                (Formerly 208k9(2))




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Indemnity 208         36                                    ployees, was burned.

208 Indemnity                                               PROCEDURAL HISTORY:
    208II Contractual Indemnity                                  All three employees filed suit against Tenneco
       208k34 Scope and Extent of Liability                 for compensatory damages. Those suits were ulti-
               208k36 k. Costs and Expenses. Most           mately settled. Griffin subsequently amended his
Cited Cases                                                 petition demanding exemplary damages alleging
    (Formerly 208k9(2))                                     Tenneco's wanton and reckless disregard for public
     Construction company was required to indem-            safety in the handling, transportation or storage of
nify oil company for costs of defense of personal           hazardous substances pursuant to Civil Code Art-
injury action brought by employee of construction           icle 2315.3. Tenneco filed a third party claim
company injured in fire at refinery, where agree-           against MRO seeking indemnity pursuant to the
ment provided that construction company would in-           service contract between them. MRO denied indem-
                                                                                                      FN1
demnify oil company for all claims arising out of           nity for either defense costs or damages.
work performed by construction company and ex-
clusion in indemnity agreement for injuries inten-                  FN1. Prior to the compensatory damage
tionally caused by willful misconduct of employees                  claims being settled MRO also denied it
was limited to intentional acts, and thus plaintiff's               owed Tenneco any indemnity. This Court
allegations of wanton and reckless disregard for his                held that indemnity for the compensatory
safety did not preclude indemnification.                            damage claims was owed. Griffin v. Ten-
                                                                    neco Oil Company, 519 So.2d 1194
*1091 Ernest E. Barrow, II,Grant & Barrow, Gret-                    (La.App. 4th Cir.1988), writ denied 521
na, for appellants Steven C. Griffin and Lynn                       So.2d 1154 (La.1988).
Griffin.
                                                                 Griffin's suit for exemplary damages proceeded
                                                                                             FN2
Shelley Hammond Provosty, Montgomery, Barnett,              to trial on December 10, 1990.       The third party
Brown, Read, Hammond & Mintz, New Orleans,                  demand by Tenneco against MRO was severed to
for appellee, MRO Services, Inc.                            be tried separately. *1092 The jury returned a ver-
                                                            dict in favor of Tenneco. Cross-motions for sum-
John G. Gomila, Jr., David R. Nicholson, Jones,             mary judgment were then filed by MRO and Ten-
Walker, Waechter, Poitevent, Carrere & Denegre,             neco relating to the indemnity issue. The issue
New Orleans, for appellant Tenneco Oil Co.                  presented in those motions was whether MRO must
                                                            indemnify Tenneco for the costs and expenses in-
Before BARRY, BYRNES and LOBRANO, JJ.                       curred in defending Griffin's suit for exemplary
                                                            damages. MRO's motion was granted and Ten-
                                                            neco's was denied. Both Griffin and Tenneco ap-
LOBRANO, Judge.                                             peal.
     On October 1, 1985, Steven Griffin was em-
ployed by MRO Services, Inc. working at the Chal-                   FN2. This matter was originally tried in
mette Refinery operated by Tenneco Oil Company.                     January of 1990 and Tenneco was cast in
Tenneco contracted with MRO to perform certain                      judgment. However a new trial was gran-
construction and expansion activities at the re-                    ted.
finery. During operations designed to clear all flam-
mable materials from the plant's fuel gas line prior            Griffin asserts the following errors:
to cutting the line so that it could be rerouted, a fire
                                                              1) The trial court erred in allowing Mr. Lawrence
broke out and Griffin, along with two other em-




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  Raymond Hess to testify as to his opinion about             what the industry in general was doing insofar as
  industry standards;                                         hot work permits procedures?

  2) The trial court erred in qualifying Mr. Hess as          MR. BARROW:
  a “Lay Expert;”
                                                              Objection, Your Honor, He's calling for an expert
  3) The trial court erred in instructing counsel not         opinion and conclusion.
  to object during closing argument;
                                                              BY THE COURT:
  4) The trial court erred in allowing defense coun-
  sel, in closing argument, to repeatedly equate the          Not necessarily. If he has the particular know-
  term “care” to “reckless and wanton;”                       ledge, Mr. Barrow. I understand his position over
                                                              there is safety manager-I don't know. I forgot the
  5) The trial court erred in refusing to order a new         exact terminology.
  trial considering the errors cited in assignment of
  error 1 and 4, above;                                       MR. GOMILA:

     In its appeal, Tenneco argues that the trial court       Safety and loss control director.
erred in denying its indemnity claim against MRO
                                                              BY THE COURT:
for defense costs.
                                                              Safety and loss control director.
ASSIGNMENTS OF ERROR 1 AND 2:
     Plaintiff asserts the trial court erred by allow-        MR. BARROW:
ing Lawrence Raymond Hess to give “expert” testi-
mony as to industry standards. Plaintiff argues that          That doesn't necessarily qualify him as an expert.
Hess was called as a fact witness and during cross
examination, defense counsel announced he would               BY THE COURT:
offer Hess as an expert. Plaintiff's counsel objected
                                                              He's not asking for an opinion at this time. He's
on two grounds. First, Hess was not identified in
                                                              asking for a fact.
the Court's pre-trial order as an expert witness and
therefore plaintiff was “ambushed” in that he had             MR. BARROW:
no opportunity for pre-trial discovery. Second,
plaintiff complains that Hess, as an employee of              Yes, sir.
Tenneco at the time of the accident, had an interest
in preserving his reputation as Supervisor of Safety          BY THE COURT:
and Loss Control and thus was not qualified to
                                                              As I understand it, all he wants to know is a par-
testify.
                                                              ticular fact. If he gets to asking an opinion, then,
    During plaintiff's case in chief, Mr. Lawrence            of course, I will sustain your objection.
Hess, Tenneco's Supervisor of Safety and Loss
                                                              MR. GOMILA:
Control, was called by plaintiff as a fact witness.
On cross-examination by Tenneco, the following                I may seek to qualify him at that time.
transpired with respect to plaintiff's first complaint.
                                                              BY THE COURT:
  “BY MR. GOMILA: (Tenneco's attorney)
                                                              Go ahead. You can ask him a fact question.
  Q. Before October 1 of '85, are you aware of




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    ******                                                    ion and his performance at that time. He certainly
                                                              has an interest in this matter. In that regard and as
  BY MR. GOMILA:                                              such, cannot be regarded as an independent ex-
                                                              pert and must be regarded as part of the-
  Q. Were you aware of what the industry was do-
  ing?                                                        MR. GOMILA:

  MR. BARROW:                                                 I would suggest that argument, Judge, and that
                                                              has not been brought out on cross-examination.
  Now, we're talking about an opinion.
                                                              BY THE COURT:
  MR. GOMILA:
                                                              Gentlemen, this is the way I feel about it: It think
  I asked a question that asks for his awareness.
                                                              that under 701-I don't have my code in front of
  *1093 BY THE COURT:                                         me.

  No, I'm going to sustain that particular portion of         MR. BARROW:
  it. I think Mr. Barrow is right. I think you crossed
                                                              704, Your Honor, I believe.
  the line now.... and now I think what you're ask-
  ing for is an opinion of what the standard was.             BY THE COURT:

  MR. GOMILA:                                                 I think it's been displayed by this Court that un-
                                                              der 701 certainly, Mr. Hess has suitable informa-
  Not exactly, but I would like to explore that with
                                                              tion and experience and training in the field of
  this witness if you will allow me to qualify him.
                                                              safety and prevention to give at least a lay opin-
  BY THE COURT:                                               ion, because I believe that information is suffi-
                                                              cient-
  You may attempt it.
                                                              MR. BARROW:
  (Whereupon, Mr. Gomila lays Mr. Hess' qualific-
  ations before the jury.)                                    And that he not be qualified as an expert.

    ******                                                    BY THE COURT:

  MR. GOMILA:                                                 Would you listen to me, Mr. Barrow.-is suitable
                                                              to provide the jury with information; and without
  Your Honor, at this time I would offer Mr. Hess             misleading the jury, I believe he qualifies under
  as an expert in safety and control loss procedures,         all the provisions of 701, and I will qualify him
  fire prevention and fire fighting.                          as a lay witness and not as an expert witness.

  MR. BARROW:                                                 MR. GOMILA:

  Two objections: one, this witness was never lis-            Your Honor, I would request that you review
  ted, nor was any notice given prior to the moment           704. I believe you have the number right,
  that he would be an expert witness. Two, now, at            whatever the article may be. An expert, as I un-
  the time of this fire, he was in the employ of the          derstand it, is one who has particular training,
  defendant and has at the very least risk his opin-          education and experience sufficient to be of bene-




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  fit to the trier of fact. I don't think that can be dis-   grounds of failure to abide by the rules, but any
  puted about this witness.                                  doubt must be resolved in favor of receiving the
                                                             testimony. Abdon Callais Boat Rentals, Inc. v.
  BY THE COURT:                                              Louisiana Power and Light Company, 555 So.2d
                                                             568 (La.App. 1st Cir.1989), cert. denied, 558 So.2d
  I'm going to qualify him as 701, not 704. You can
                                                             583 (La.1990).
  conduct your examination.
                                                                  In our opinion there was no abuse of discretion
    ******
                                                             in allowing Hess' testimony despite the fact he was
  ... Under 701, if a witness is not testifying as an        not designated an “expert” on the pre-trial order.
  expert, his testimony in the form of opinion is            Plaintiff was not “ambushed” since he called Hess
  limited to those opinions which are rationally             as his own witness. Certainly he was aware of Hess'
                                                                                                               FN3
  based on conception of the witness and helpful to          position, knowledge and expertise prior to trial.
  a clearer understanding for the trier of facts.
                                                                     FN3. On direct, Hess was asked: whether
  MR. BARROW:                                                        or not it was necessary for an individual
                                                                     who was steaming a fuel gas line to secure
  That is correct.                                                   a hot work permit; what procedure should
                                                                     be reviewed to determine whether or not a
  BY THE COURT:                                                      line was being steamed properly in compli-
                                                                     ance with Tenneco's directives; what work-
  I have just declared that I feel that upon hearing
                                                                     ers are allowed to do pursuant to Tenneco's
  the list of qualifications and the information and
                                                                     hot work permits and what is necessary for
  experience and education that Mr. Hess has bene-
                                                                     hot work to resume if a hot work permit is
  fitted, I feel that he meets that criteria and will be
                                                                     canceled; whether it was “proper” pursuant
  able to render opinion based on the qualifications
                                                                     to Tenneco's “rules and guidelines” for a
  under Article 701, but not 704. Do we under-
                                                                     stillman to issue an order to resume hot
  stand?”
                                                                     work without checking certain factors.
PRE-TRIAL ORDER:                                                     After being directed to answer the ques-
    [1][2][3] Louisiana Code of Civil Procedure                      tion, Hess expressed his opinion as to the
Article 1551 allows the trial court to hold pre-trial                proper procedure for resuming hot work
conferences and to render orders that control “the                   without a new written hot work permit.
subsequent course of the action, unless modified at
                                                             EXPERT TESTIMONY:
the trial to prevent manifest injustice.” In this re-
                                                                  Louisiana Code of Evidence Article 701 limits
gard, the trial judge has much discretion in determ-
                                                             a non-expert witness' testimony to those opinions or
ining whether an order should be modified. Neff v.
                                                             inferences which are:
Rose, 546 So.2d 480 (La.App. 4th Cir.1989), writ
denied 551 So.2d 1322 (La.1989). *1094Article                  (1) Rationally based on the perception of the wit-
1551 does not require that the witnesses be desig-             ness; and
nated as fact or expert and does not require a listing
of the subject matter of the testimony. Curry v.               (2) Helpful to a clear understanding of his testi-
Johnson, 590 So.2d 1213 (La.App. 1st Cir.1991). If             mony or the determination of a fact in issue.
a party objects to the offered testimony, a trial              (emphasis added).
judge has great discretion in deciding whether to re-
ceive or refuse the testimony objected to on the                 Article 701 rides in tandem with Article 602




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and is subject to the balancing test of Article 403.                 judge referred to Hess as a “lay expert”
FN4
     See, C.E. Article 701, comments (c) and (d).                    thus causing the jury to give his testimony
                                                                     more weight in determining the ultimate is-
         FN4. Code of Evidence Article 602 states:                   sue of the case. We disagree. The trial
                                                                     court gave a clear explanation in the pres-
           “A witness may not testify to a matter
                                                                     ence of the jury as to why Hess was al-
           unless evidence is introduced sufficient
                                                                     lowed to testify. The trial court clearly
           to support a finding that he has personal
                                                                     stated that Hess was not being qualified as
           knowledge of the matter. Evidence to
                                                                     an expert. Thus, we do not find that the tri-
           prove personal knowledge may, but need
                                                                     al court's reference to Hess as a “lay ex-
           not, consist of the testimony of the wit-
                                                                     pert” led the jury to give more weight to
           ness himself. This Article is subject to
                                                                     Hess' testimony as opposed to that of other
           the provisions of Article 703, relating to
                                                                     witnesses.
           opinion testimony by expert witnesses.”
                                                                 The record supports the conclusion that Hess
           Code of Evidence Article 403 states:
                                                            possessed suitable information, experience and
           “Although relevant, evidence may be ex-          training in the field of safety and prevention to
           cluded if its probative value is substan-        provide a “lay opinion” to the jury. His testimony
           tially outweighed by the danger of unfair        was certainly relevant in that he possessed direct
           prejudice, confusion of the issues, or           and personal knowledge of the facts and circum-
           misleading the jury, or by considerations        stances *1095 leading to plaintiff's injuries and
           of undue delay, or waste of time.”               there is no doubt that it was helpful in the determin-
                                                            ation of a fact in issue.
     [4] The trial court is vested with much discre-
tion in determining first, which opinion testimony               [6][7] Plaintiff's assertion that Hess should not
shall be received into evidence and second whether          have been allowed to give opinion testimony be-
it will be received as “lay” or “expert” testimony.         cause of his employment with Tenneco is not sup-
                                                            ported by any authority. A witnesses' interest in the
     [5] In the instant case, the record shows that         outcome of a lawsuit has no bearing on the admiss-
Hess was initially called by plaintiffs, not by Ten-        ibility of his testimony. The jury was well aware of
neco, and that counsel for plaintiff asked a series of      Hess' employment status. The credibility of wit-
opinion questions relative to Hess' experience in the       nesses is for the trier of fact to determine. Dominici
refining industry, safety and loss control in particu-      v. Wal-Mart Stores, Inc., 606 So.2d 555 (La.App.
lar.                                                        4th Cir.1992).

    On cross-examination, defense counsel also              ASSIGNMENTS OF ERROR 3, 4 AND 5:
asked questions relative to the issue of safety and             [8] Plaintiff asserts the following cumulative
prevention based on Hess' experience in the refin-          errors require that he be granted a new trial:
ing industry. Over plaintiff's objection, the trial
court allowed Hess to give opinion testimony as a             1) The trial court instructed trial counsel not to
“lay witness” pursuant to Article 701 and not as an           object during closing argument thus eliminating
                                  FN5                         counsel's right to participate fully in the trial;
“expert” pursuant to Article 704.      We find no
error in this ruling.
                                                              2) The trial court allowed defense counsel during
         FN5. Plaintiff makes much of the fact that           closing argument to repeatedly equate the term
         in the court reporter's first transcript, the        “care” to “reckless and wanton” an improper and




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  misleading reference.                                     and I ask the lawyers to keep objection to a minim-
                                                            um.” Clearly, there was no instruction by the trial
  3) The trial court allowed defense counsel during         court tantamount to an order forbidding counsel to
  closing argument to refer to Mr. Hess' testimony          object. The record shows that plaintiff failed to ob-
  comparing it and his qualifications with that of          ject to any comments made during closing argu-
  another witness, John Kennedy;                            ment and thus plaintiff has waived his right to com-
                                                            plain on appeal. Bush v. Winn-Dixie of Louisiana,
  4) The trial court qualified Mr. Hess as a “lay ex-
                                                            Inc., 573 So.2d 508 (La.App. 4th Cir.1990), writ
  pert” thus confusing the jury as to the weight of
                                                            denied 578 So.2d 930 (La.1991). Furthermore, even
  Hess' testimony;
                                                            had objections been made, we find nothing improp-
     Louisiana Code of Civil Procedure provides the         er in Tenneco's closing argument.
following grounds for granting a new trial:
                                                                These assignments of error are without merit.
  Article 1972: Peremptory grounds
                                                            TENNECO'S APPEAL:
  A new trial shall be granted, upon contradictory              The issue raised by Tenneco is whether MRO,
  motion of any party, in the following cases:              pursuant to its contract with Tenneco, had an oblig-
                                                            ation to defend Tenneco against plaintiff's exem-
  (1) When the verdict or judgment appears clearly          plary damage claims and therefore must reimburse
  contrary to the law and the evidence.                     Tenneco for its litigation expenses in that regard.

  (2) When the party has discovered, since the trial,            [9] The duty to defend is to be determined by
  evidence important to the cause, which he could           an examination of the language of the agreement
  not, with due diligence, have obtained before or          between the parties and the allegations of the peti-
  during the trial.                                         tion. American Home Ins. Co. v. Czarniecki, 255
                                                            La. 251, 230 So.2d 253 (La.1969); *1096Micelotti
  (3) When the jury was bribed or has behaved im-           v. Karno, 542 So.2d 734 (La.App. 4th Cir.1989).
  properly so that impartial justice has not been           FN6
  done.
                                                                    FN6. We recognize that both of these cases
  Article 1973: Discretionary grounds                               deal with the insurer's duty to defend,
                                                                    however we believe the determination of a
  A new trial may be granted in any case if there is
                                                                    duty to defend under an indemnification
  good ground therefor, except as otherwise
                                                                    agreement is the same.
  provided by law.
                                                                [10] The applicable portions of the indemnity
     Plaintiff has produced no evidence to support
                                                            agreement between MRO and Tenneco read as fol-
the granting of a new trial. Plaintiff's complaints re-           FN7
                                                            lows:
lative to Mr. Hess' testimony are without merit.
Plaintiff's complaints regarding closing argument                   FN7. These provisions are found in Exhibit
are equally without merit.                                          A-2 attached to the construction contract.

     At the motion for a new trial, the trial court ex-       “4. Reciprocal Indemnification for Claims of Em-
plained what he said at trial; “I generally do not            ployees-Notwithstanding any other provision of
like objections during the closing argument ... The           this Agreement, OWNER and CONTRACTOR
only time I ask that you would voice an objection is          agree to the following indemnification obliga-
if you think it is something critical to your case, ...       tions for all losses, costs, and expenses (including




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  but not limited to all defense costs and attorney's         ling or transportation of hazardous or toxic sub-
  fees) of alleged or actual legal liabilities and ne-        stances.” (emphasis added)
  gotiated settlements for personal injuries, ill-
  nesses, or deaths sustained by employees, includ-              While the contract of indemnity clearly extends
  ing liabilities and settlements based on occur-           a reciprocal defense obligation for employees' in-
  rences caused or alleged to be caused by the oth-         juries caused or alleged to be caused by either
  er party's sole negligence or gross negligence, or        party's negligence, it excludes those situations in
  involving the concurrent negligence of the other          which the injuries are “intentionally caused by will-
  party: (emphasis in original)                             ful misconduct of employees” of either party.

    ******                                                       MRO argues that the term “willful misconduct”
                                                            as used in the exclusion clause of the indemnity
  PROVIDED, HOWEVER, that these indemnity                   agreement is the operative language to be con-
  obligations shall not apply in cases of injuries,         sidered. It equates that language with the “wanton
  illnesses, or deaths intentionally caused by willful      and reckless” allegations in plaintiff's petition and
  misconduct of employees of either party to this           thus argues there should be no indemnity obliga-
  Agreement. (emphasis added)                               tion. We disagree.

    ******                                                       When faced with Tenneco's exception of no
                                                            cause of action to the claim for exemplary damages,
  6. Defense-Each party to this Agreement agrees            this Court held that the terms “willful” “wanton”
  to investigate, handle, respond to, provide de-           and “reckless” apply to fault which lies between in-
  fense for, and defend any claim or other potential        tent to do wrong and the reasonable risk of harm as-
  legal liability for which it is responsible under         sociated with mere negligence. Griffin v. Tenneco,
  this Agreement's indemnification provisions at its        531 So.2d 498 (La.App. 4th Cir.1988). In Bour-
  sole expense, and agrees to bear all other related        geois v. State Farm Mutual Automobile, 562 So.2d
  costs and expenses, even if such claim, etc., is          1177 (La.App. 4th Cir.1990), writ denied 567 So.2d
  groundless, false or fraudulent.”                         611 (La.1990) we defined the term “wanton and
                                                                                                            FN8
                                                            reckless” as used in Civil Code Article 2315.4
    In his third supplemental and amended petition,
                                                            to mean conduct somewhere between an intent to
plaintiff added the following allegation:
                                                            do wrong and mere negligence.
  “Petitioner, Steven Christopher Griffin, was in-
                                                                     FN8. Civil Code Article 2315.4 provides
  jured in this explosion due to the wanton and
                                                                     for exemplary damages where injuries are
  reckless disregard for his safety and the safety of
                                                                     sustained by the wanton or reckless disreg-
  the public in the storage, handling and transporta-
                                                                     ard of the safety of others by an intoxic-
  tion of this hazardous substance that ignited, and
                                                                     ated driver.
  due to the wanton and reckless disregard for the
  safety of Steven Christopher Griffin, he is en-                An intentional tort has been defined by our Su-
  titled to exemplary damages in the sum of FIVE            preme Court as being one where the actor *1097
  MILLION AND NO/100 ($5,000,000.00) DOL-                   consciously desires the physical result of his act or
  LARS, said damages should be awarded as the               knows that that result is substantially certain to fol-
  authority of LSA-C.C. Art. 2315.3 which                   low from his conduct, whatever his desire may be
  provides for the award of exemplary damages for           as to the result. Bazley v. Tortorich, 397 So.2d 475
  the wanton and reckless disregard of the defend-          (La.1981). This is the conduct which we conclude
  ant herein for public safety in the storage, hand-        is excluded from the indemnity agreement.




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     In order to reach this conclusion, it is necessary     misconduct” as MRO suggests. In our opinion, and
that the entirety of the indemnity provisions be con-       within the context of the agreement before us, death
sidered together. C.C. Art. 2059. The general in-           or injury “intentionally caused by willful miscon-
                                         FN9
demnity provisions in paragraph 17.1           provides     duct” means an intentional act as defined in Bazley,
that Tenneco will be indemnified by MRO for all             supra, and not the exemplary damage allegations of
claims brought as a result of MRO's contract work.          plaintiff's petition. Any other interpretation would
There is no doubt that this includes claims based on        result in a conflict with the other indemnity provi-
negligence and gross negligence. The reciprocal in-         sions of the contract. All claims resulting from neg-
demnity provision in paragraph 4, cited supra, for          ligence and/or gross negligence are included. It
employees' claims specifically includes claims              seems reasonable that the injuries resulting from in-
based on negligence or gross negligence. Thus be-           tentional acts was intended to be excluded.
cause all forms of negligence are subject to indem-         Plaintiff's claim is not one for intentional acts, but
nification, it logically follows that to give the ex-       for punitive damages for conduct falling some-
clusionary clause a sensible meaning, it must be in-        where between simple negligence and intentional
terpreted as excluding intentional acts by the em-          wrong doing. Although it did not specifically say
ployees of either party.                                    so, it is highly probable that the legislature meant
                                                            that conduct to be gross negligence, which is spe-
         FN9. Paragraph 17.1 is found in Exhibit            cifically included in the indemnity provisions.
         “A” to the contract. It provides:
                                                                MRO also argues that because a claim for ex-
           “The CONTRACTOR agrees to protect,               emplary damages is not specifically described in
           indemnify and hold the OWNER free                the indemnity provisions, there can be no implied
           and harmless from and against any and                                  FN10
                                                            intent to include it.      We disagree.
           all claims, liens, demands, and causes of
           action of every kind and character, in-                   FN10. MRO cites Polozola v. Garlock,
           cluding the amounts of judgments, pen-                    Inc., 343 So.2d 1000 (La.1977) in support
           alties, interest, court costs and legal fees              of its assertion that if exemplary damages
           incurred by the OWNER in defense of                       are not expressly included in an indemnity
           same arising in favor of governmental                     agreement, they must be found to be ex-
           agencies or third parties (including em-                  cluded. We disagree. Polozola does not ap-
           ployees of the CONTRACTOR or sub-                         ply. Exemplary damages were not the sub-
           contractor) on account of taxes, claims,                  ject matter of Polozola. Rather, the Court
           liens, debts, personal injuries, death, or                found that a contract of indemnity will not
           damages to rented equipment or other                      be construed to include losses resulting
           property, and without limitation by enu-                  from one's own negligence unless such in-
           meration, all other claims or demands of                  tention was expressed in unequivocal
           every character occurring or in anywise                   terms.
           incident to, in connection with or arising
           out of the work to be performed by the                As we previously noted, paragraph 17.1
           CONTRACTOR hereunder, except inso-               provides indemnity for any and all claims and
           far as responsibility may be expressly           causes of action of any kind. The language of the
           assumed by the OWNER under the provi-            agreement is clear and without ambiguity. The all
           sions of this Contract.” (emphasis added)        inclusive language satisfies us of the parties intent
                                                            to include every type of claim except a claim result-
     In determining what constitutes an excluded in-        ing from an employee's intentional act.
tentional act, we cannot isolate the phrase “willful




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     Accordingly, the judgment of the trial court in
favor of Tenneco and against plaintiff is affirmed.
The judgment in favor of MRO is reversed and
summary judgment is granted in favor of Tenneco
on its third party indemnity claim for defense costs.

    The matter is remanded for further proceed-
ings.

   AFFIRMED IN PART; REVERSED IN
PART; REMANDED.

La.App. 4 Cir.,1993.
Griffin v. Tenneco Oil Co.
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